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Case 8:22-cv-02597-DKC  [agesedtside Allied 10/30/23
Future Alternative 13C Peak Period Volumes

i]

(MATCH P. 26,

Weave Ramps
‘SB (WEY NB (EB)

Of Toll | On Toll | Gn Toll | Of Toll
a20 680
50 605
740 675
8a0 540

Ramp 6

Ramp 7 |

Ranp & Alice Ave

D 414 at John Hansen Ln

Page 1 of 188

MD 414 at Alice AveiRamps 982
NBL | NBT | NER
a6 130 65 18 280
175 | 140 7180 35 300
110 70 | 160 8 300
55 78 70 60 280

Std Hv

0 605
6,080 | 740| 6,600 | 5.600 | 676 |

4926

Ramp &
Brinkley Fd [ Ramp 4 |
MD 414 at RPMp @/Spur trom Brinkley Rd

SBL SBT | S6R | NBR | WEL | wet | EBT | ESR
55 15 50 7e0 175 B65 o20 5
60 145. 80 745 176 935, iyo 10
45 145 os | 660 | 225 | 1.030 [1,015 5
45 _ 1 120 420 210 1,060 aro 10

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25/25

Case 8:22-cv-02597-DKC  [agesedtside Allied 10/30/23

Future Alternative 13C Peak Period Volumes

END OF NETWo

MOA

a
246
7,966

5200 |
o

6.74,

MGM National Ave

Page 2 of 188

MD 474/Bald Eagle Rd
SBR EBRIRG
MB 265
255 5
280 30
160 30
<a Rm
,
Rap
Ramp ®
+. Ramp,
Monument Ave

$2 ‘dH

| aa | a70

TO

MD 414 at Monument Ave

g

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Case 8:22-cv-02597-DKC |.2Ro@unagat Wes4 Sidéilgd 10/30/23 Page 3 of 188
Future Alternative 13C Peak Period Volumes

END OF NET\
3-4P
4-5P
5-6P
6-7P

MATCH P.2

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2/25 Case 8:22-cv-02597-DKC |.2R@@unagat Wes4 Sidéilgd 10/30/23 Page 4 of 188
Future Alternative 13C Peak Period Volumes

MD 109

MD 121

1
Eh
MATCH P.3. Hae) 1907

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3/25 Case 8:22-cv-02597-DKC |. 2Rogunagat West sidéilaq 10/30/23
Future Alternative 13C Peak Period Volumes

MATCH P.3

Page 5 of 188

Father Hurley Bivd
CEB
a 1H MD 118
5-6P [ais]
6-7P OFS Ra

34P [3,84

45P 2

5-6P

6-7P MATCHP.4

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4/25 Case 8:22-cv-02597-DKC |.2Po@unagat Wes4 Sidéilgd 10/30/23 Page 6 of 188
Future Alternative 13C Peak Period Volumes

MATC

MATCH P.5

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Case 8:22-cv-02597-DKC |.2Po@unagat Wes4 Sidéilgd 10/30/23 Page 7 of 188
Future Alternative 13C Peak Period Volumes

(WEL TWER[ SET [ SBR | NE
ps0 125 | 35 | 105 | 75 |

“ys ross 12.090)6

RTLRE [RITA] RSF
U BO i

G30 [4035 dose | 208s 905

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6/25 Case 8:22-cv-02597-DKC |. 2Rogunagat West sidéilaq 10/30/23
Future Alternative 13C Peak Period Volumes

— MATCH B.6
a 1 \

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Page 8 of 188

meas Baa

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|
|
aan a

oe

9 90] 73,550/4-5P
| 7,385 [70,750 [ 73,040 |5.6P
| 1,465 [9,450 [12.315 ]6-7P

MD 28

ist |S - [MATCH P.7

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7/25 Case 8:22-cv-02597-DKC |.2R@@unagat Wes4 Sidéilgd 10/30/23 Page 9 of 188
Future Alternative 13C Peak Period Volumes

|MATC!

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Par [ae |

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Park Exit

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8/25 Case 8:22-cv-02597-DKC |.d79cqumags West sidelpayl0/30/23 Page 10 of 188
Future Alternative 13C Peak Period Volumes

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SM £270 =x
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a
3 Pre 3-4P
5 tt Sep
re 0} a'neo | 4.060 |6-7P
3-4P
4-5P
5-6P
6-7P

ee
V2

Westlake Terrace sot

rari

MATCH P.1

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— itil

MATCH P.10

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9/25 Case 8:22-cv-02597-DKC |.d79cqmags West siddleayl0/30/23 Page 11 of 188
Future Alternative 13C Peak Period Volumes

ee Tot Main [Tor] MATCH P.
3-4p [40,485] 7,940 2.545) 42 || of
5.0P [10,3157 745 | 2570)
6-7P  [GSS0T 7,235] 2,955.
eA pee RTT R2 TRS Ra TRS R7 ROL RSTROLR
4 bi E G65 | 260 | 255 | 7.365) 750
i 7 1410 ro
S40 | 195 | aie
MD 190
Clara Barton Pkwy
MATCH P.11

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Case 8:22-cv-02597-DKC |.d7ocqumags West side! pay 0/30/23
Future Alternative 13C Peak Period Volumes

MATCH P.14

| El A ee ee WE
25 5 0 i

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ts ol

END OF NETWORK

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00037113
11/25 Case 8:22-cv-02597-DKC |.d79cqqumags West siddlpayl0/30/23 Page 13 of 188
Future Alternative 13C Peak Period Volumes

TCH Pf

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Rockedge Blvd
(MD 1878)

Raa 3

COE ee cee
ga5[-255 | 135] 180 | 110] 695 | 570] 700]

MATCH P.12

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Case 8:22-cv-02597-DKC |.d7ocqumags West side! pay 0/30/23
Future Alternative 13C Peak Period Volumes

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MATCH P.1

S00. 5 3-4P

[7.850] Sno F510 S180
"e580 2180-8, 100 [70.770 2850] 770]6-7

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Case 8:22-cv-02597-DKC Dpggspnetipside Pied 10/30/23
Future Alternative 13C Peak Period Volumes

1-495
EB GP | EB Toll EB WB WB Toll | WB GP
8,050 2,500 10,550 | 10,900 3,050 7,850 |3-4P
7,950 2,700 10,650 | 11,320 3,280 8,040 |4-5P
7,450 2,550 10,000 | 11,510 3,180 8,330 |5-6P
6,550 2,150 8,700 10,770 2,850 7,920 |6-7P
MATCH P.12 MD 185
SB NB
3-4p | 1,510 | 2,025
4-5P 1,575 2,330
5-6P 1,540 2,380
< 6-7P 1,135 2,130
o
o
<
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Exit 33
Ramp 1 | Ramp2 | Ramp3 | Ramp4 | Ramp5 | Ramp6 | Ramp7 | Ramp 6
960 380 325 1,520 360 575 775 455
685 440 360 1,540 315 605 645 405
905 460 475 1,615 280 695 825 335
870 290 505 1,590 215 585 785 380

Ramp 2 | Ramp7
, i

Page 15 of 188

MD 185
SB NB
3-4P 2,045 3,800
4-5P 2,305 3,955
5-6P 2,445 3,965
6-7P 41,910 3,795

Exit 34
Ramp 1 | Ramp 2 | Ramp3 | Ramp4 | Ramp5 | Ramp6 | Ramp7 | Ramps
980 560 295 620 640 630 555 415
1,005 640 300 635 645 690 645 435
1,045 640 310 600 655 830 660 380
1,420 570 435 575 650 810 525 385
MD 97
SB NB
3-4P 1,880 3,100
4-5P | 2,225 3,595
5-6P 2,415 3,645
6-7P | 2,230 3,440
1-495
EB GP | EB Toll EB WB WE Toll | WB GP
344P | 9,030 2,500 | 11,530 | 10,640 | 3,050 7,590
4-5P 8,840 2,700 411,540 | 11,315 3,280 8,035
5-6P | 8,175 2,550 | 10,725 | 11,555 | 3,180 8,375
6-7P 7,265 2,150 9,415 10,595 2,850 7,745

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Case 8:22-cv-02597-DKC Dpggspnetipside Pied 10/30/23

Future Alternative 13C Peak Period Volumes

MATCHIP.15

3-4P
4-5P
5-6P
6-7P

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Exit 29
Ramp 1 | Ramp2 | Ramp4 | Ramp 5 | Ramp6 | Ramp7
Ti T2 T3 T4 T5 Té TT Ts 575 505 530 495 980 310
190 330 740 735 325 140 395 680 810 605 550 500 940 320
220 350 880 720 3415 155 405 690 860 650 485 490 655 430
260 355 880 730 290 155 345 680 820 555 445 510 615 375
250 340 870 670 285 130 390 770
US 29 MD 193
Exit 30 SEB NB SB NB
Ramp 1 | Ramp 3 | Ramp4 | Ramp6 | Ramp7 | Ramps 3-4P 2,115 2,765 3-4P 1,395 1,850
230 480 405 445 110 365 4-5P 2,315 3,120 4-5P 1,505 1,965
295 475 495 285 195 380 5-6P | 2,455 3,305 5-6P | 1,540 41,660
330 500 500 230 240 510 6-7P 2,325 3,340 6-7P 1,460 41,930
290 500 370 320 415
Rm 7 WBIRm 2 WBR Rm1NBR
T y /
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\ / /
\ / /
wa
ON“
of A 3-4P
95 “3
EB GP | EB Toll EB WB | WB Toll | WB GP 5-6P
9,365 2,500 11,865 | 10,360 3,050 7,310 6-7P
9,130 2,700 | 11,830 | 11,160 | 3,280 7,880
6,290 2,550 10,840 | 11,430 3,180 8,250
7,245 2,150 9,395 | 10,185 | 2,850 7,335
US 29 1-495. MD 193
SB NB EB GP | EB Toll EB WB | WBToll | WB GP SB NB
3-4P 1,835 2,775 8,845 2,680 41,525 9,730 2,905 6,825 |3-4P 2,190 2,450 |3-4P
45P | 1,970 3,145 8,865 2,700 | 11,565 | 10,525 | 3,125 7,400 |4-5P 2,265 2,720 |4-5P
5-6P 1,945 3,390 8,060 2,535 10,595 | 10,590 2,940 7,650 |5-6P 2,335, 2,355 |5-6P
6-7P | 1,700 3,210 6,795 2,105 8,900 9,195 2,560 6,635 \e-7P 1,940 2,640 |6-7P

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1-495,
EB GP | EB Toll EB WB | WE Toll | WB GP
8,890 2,680 | 11,570 | 3,970 2,905 7,065
8,975 2,700 11,675 | 10,640 3,125 7,515
8,180 2,535 | 10,715 | 10,810 | 2,940 7,870
7,135 2,105 9,240 9,305 2,560 6,745

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15/25 Case 8:22-cv-02597-DKC Dpggpnetipside Pmied 10/30/23 Page 17 of 188
Future Alternative 13C Peak Period Volumes
SB NB
6,710 8,635 |3-4P
7,030 | 8,720 |4-5P
6,020 8,650 |5-6P
6,655 | 8,170 |6-7P
Ramp 3
4,675
4795 | Ramp from F495 to -95 NB
4,760 ah Total Toll GP
4,660 N i 3,960 | 945 | 3,015
3,925 41,045. 2,880
i 3,890 | 905 | 2,985
se 3,510 920 2,590
480 Ramp from 1-95 to -495 EB
520 Total Toll GP
490 |\ 2,125 | 770 | 1,355
350 \ 2,255 810 1,445
\ 2,590 | 760 1,830
MD 650 MD 650/Elton Rd Toll Ramp Ramp 8 2,000 725 1,275
SB NB WBL | WBR | NBT | NBR | SBL SBT 4,930 4,105 #
2,630 2,255 |3-4P 350 100 2,155 355 30 41,890 1,990 -. 4,255 |. Ramp 7
2,820 | 2,600 |4-5P 375 105 | 2,495 | 335 30 2,110 2,215 By 4940 | ° 15
Exit 28 2,895 2,485 |5-6P 350 60 2,405 395 30 2,110 41,755. 4,305 40
2,595 | 2,455 |6-7P 300 70 2,385 | 340 35 1,875 Ramp 5 15
310 Me 20
Ramp7?|] [Ramps 380 |, ; 7
925 710 (|S 390 ‘|\ f af
875 | 680 \ 335_—| | Z
840 “755 ‘ Ramp 2 lat go he, \
© 860 685 Elton Rd 705 ge, = Ramps to US 1]
= > “| AS \ oF i 1,925
z ee 800 i 185 yh 7,700
e 695 450 “\ a 1,750
= Ramp 6 ‘ 115 ~ ie 1,630
=e + AS + [Ramp 4 ~__ [fell Rama
555 100 ~~] 2,025
525 ‘} Ramp 3 | 95 2,030
435 Ramp 5 | \ PS 2,620 | \ Ramp 1 75 2,050
635 Ramp 1 Ramp 4 2,735 \ 80 30 41,895
650 | 530 875 495 2,680 \ 50
580 Ramp 3 530 890 EBGP | EBToll| EB WB | WB Toll | WB GP 2,750 \ 35
560 440 590 885 9,455 | 2,680 | 12,135 | 10,360 | 2,905 | 7,455 |3-4P ae [ S95X-ATPaR | 15
510 515 895. 9,450 2,700 12,150 41,020 3,125 7,895 |4-5P Ramp 6 30
410 8710 | 2,535 | 14,245 | 11,105 | 2940 | 8,165 |5-6P 25 | 30
390 7,765 | 2,105 | 9,870 | 9,660 | 2,560 | 7,100 |6-7P 25 Rest Stop 30
25 210 15
MD 650 25 175
SB NB 140
3-4P 3,035 2,770 60
4-5P | 3,265 | 3,025
5-6P | 3,245 | 3,065
67p | 2910 | 3,050

F495
EB GP | EB Toll EB WB | WE Toll | WB GP
6,550 1,425 7,975 | 10,150 | 1,920 8,230
6,815 1,480 8,295 10,650 2,180 6,470
6,475 1,245 7,720 | 10,035 | 1,630 8,405
4,970 935 5,905 8,870 4,725 7,145

MATCH P.17

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Case 8:22-cv-02597-DKC

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Future Alternative 13C Peak Period Volumes

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USs1
1-495 SB NB
EB GP Toll EB WB WB Toll | WB GP 3-4P 1,520 1,645
6,550 1,425 7,975 | 10,150 1,920 8,230 |3-4P 4-5P 4,670 1,745 US 1/Ramp 7/IKEA
6815 | 1480 | 8295 | 10,650 | 2180 | 8470 |4-5P sep | 1,850 | 1,965 SBT | SBR [| NBT | NBR | Wet | WeT | WBR | EBR
6,475 1,245 7,720 | 10,035 1,630 8,405 |5-6P 6-7P 1,780 4,375 1,490 30 1,055 815 480 380 590 165
4970 935 §,905 8870 | 1,725 7,145 |6-7P 1,645 25 1,125 830 440 45 620 150
MATCH P. 1,820 30 1,430 955 335 60 535 135
1,765 15 810 855 440 45 565 95
6 [Ramp] IKEA
a \ [Ramp 4]
Ramp 10 er \ =
2,025 —| Ramp 7
4,795
1,825
1,660 [Rampé]
~~ | Ramp 4
EBGP | EBToll| EB
Exit 25 Edgewood Rd 8,200 1,425 9,625 9,810 1,920 7,890
Ramp 1 | Ramp 3 | Ramp4 | Ramp 5 | Ramp6 | Ramp7 | Ramps 8,205 1,480 9,685 | 10,265 | 2,180 8,085
815 545 655 485 970 4,150 675 7,910 1,245 9,155 9,425 1,630 7,795
830 590 675 525 1,015 1,105 660 6,825 935 7,760 8,475 1,725 6,750
955 600 725 485 1,000 980 635 US 1/Ramp 6/Edgewood Rd
855 375 715 535 680 1,050 590 SBU SBL SBT NBT NBR WBL WER EBL EBT EBR
5 95 875 1,645 85 95 305 25 135 810
10 90 950 1,740 80 80 235 55 145 815
10 $0 1,120 2,130 100 75 275 95 125 730
15 125 1,035 1,705 80 95 260 25 140 515
uUs1
SB NB
1,780 1,730 |3-4P #
1,845 1,820 |4-5P 490
1,975 2,230 |5-6P 550
1,645 1,785 |6-7P 575
520

Ti 72 T3 T4
90 210 220 485
485
535
485
1-495
EB Toll EB We WB Toll | WB GP
1,820 | 9,770 | 9,700 | 1,930 | 7,770
1,865 | 9,745 | 10,055 | 2,195 | 7,860
1,675 | 9,230 | 9,205 | 1,645 | 7,560
1,325 | 7,835 | 8,255 | 1,740 | 6,515
P18

00037119
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Case 8:22-cv-02597-DKC
Future Alternative 13C Peak Period Volumes

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MATCHR.1 MD 204
$B NB
aap | 1,355 4,360
4-5P | 1,705 4,405
sep | 1,940 | 1,580
e7p | 1,690 | 1,200
\ MD 201/Ramp 2
ssT | NBT | WBL | WBR
1,150 945 630 415
Exit 23 1495 | 1,100 650 305
Ramp 1 | Ramp2 | Ramp3 | Ramp4 | Ramp 5 | Ramp6 | Ramp 8 sg 1,655 4,210 495 370
855 1,045 | 405 830 645 | 1,010 | 205 1445 [815 525 385
925 955 390 860 705 | 1,045 | 210
915 865 345 810 705 | 1,065 | 285
950 910 255 740 690 950 245 ~—{ Ramp 7 |
[Ramp 3 ]
[Ramee] "Team
i 1-495
if EBGP | EBToll| EB WB | WE Toll | WE GP
f 010 | 1,820 | 9,830 | 9,685 | 1,930 | 7,755 |3-4P
goi0 | 1.865 | 9875 | 9,875 | 2,195 | 7,680 |4-5P
7,660 | 1,675 | 9,335 | 8,870 | 1,645 | 7,225 |5-6P
6,735 1,325 8,060 7,970 1,740 6,230 |6-7P
MD 204
SB NB
2,145 | 2,225
2,485 | 2,495 MD 295
2,510 | 2,590 SB NB
2,230 | 2,250 955 4925 | 3,275 |s4P
4,085 TR2| 5,035 3,615 |4-5P
4,070 | [Ramp 1 | Ramp 2 4,380 3,990 |5-6P
4,160 Se. \ j ] 3395 | 3.815 |6-7P
} | |
Exit 22 Ramp 10). | | |
Ramp 1| Ramp2| Ramp3 | Ramp4 | RampS| Rampé| Ramp7 | Ramp’ | Ramp 9 | Ramp 10 -
40 715 | 1,230 | 1,150 | 280 20 1,240 | 1,380 | 245 345 !
30 790 | 1,455 | 1310 | 405 1s | i465 | 1640 | 220 440 [mee] Vf
30 785 1,240 1,340 395 15 4,050 1,680 210 500 AN. TRS
35 605 1,015 1,435 365 15 95 1,580 305 310
[Ramp7]
TRi | TR2 | TR3 | TR4 | TRS | TRE | TR? | TRe
20 160 160 295 80 20 630 20
15 175 175 335 85 15 615 115 Ramp 8 |—__
10 180 165 340 95 10 580 110 :
15 145 160 325 90 15 560 110 {1,100
4,195
4,210
/ | 4,415
[ Ramp 5 | [ Ramp 6 |
MD 295
SB NB
sap [ 3,780 | 3,195
asp [ 4,150 | 3,475
5-6P 3,685 3,590
6-7P 3,465 3,130 1-495
SBGP | SBToll| SB NB | NB Toll | NBGP
34p | 6035 | 2,310 | 10,345 | 9,035 1,925 7,110
asp | 7,700 | 2,295 | 9,995 | 9,030 | 2,195 | 6,835
sep | 7,260 | 2,060 | 9,320 | 8270 | 1,650 | 6,620
e7P | 6120 | 1,700 | 7,820 | 7,980 | 1,775 | 6,205

MATCH ‘

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Case 8:22-cv-02597-DKC

MATCH R.19
Exit 20
Ramp 8 | Ramps | Ramp 6 | Ramp7
340 505 430 830
325 480 415 865
315 465 410 920
170 315 450 885
MD 450
WB EB
3-4P | 1,850 2,070
4-5P | 1,970 2,350
5-6P | 1,840 2,580
6-7P 1,750 2,320
1,635
4,750
1,440
1,335
TR4 TR2 TR3 TR4 TRS TRE TR7 TRE
30 340 195 1,175 380 35 820 110
30 350 185 1,250 405 35 855. 415
35 345 165 1,260 410 40 920 105
35 330 165 985 335 30 930 100
Us 50
WB EB
3—4P | 2,675 §,510
4-5P | 2,780 5,855
5-6P | 3,155 6,185
6-7P | 2,905 5,720

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Future Alternative 13C Peak Period Volumes

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MD 450
WB EB
Ramp 1 2,300 | 2,805 |3-4P
2,485 | 3,155 |4.5P
| Ramp 2 | 2,540 | 3,400 |5-6P
/ 2,380 | 2,685 |6-7P
Exit 20
Re Ramp 1 | Ramp 2 | Ramp 3 | Ramp 4
Me 375 335 395 1,055
[Ramp 3 | 380 355 440 [1,180
355 450 410 1,175
___—[ Ramp 4 | 470 385 390 390
495
SB GP | SB Toll SB NB NB Toll | NB GP
8450 | 2,310 | 10,760 | 9,735 | 1,925 | 7,810 |3-4P
ai75 | 2,295 | 10,470 | 9,795 | 2,195 | 7,600 |4-5P
7,810 | 2,060 | 9,870 | 8,940 | 1,650 | 7,290 |5-eP
6970 | 1,700 | 8670 | 8565 | 1,775 | 6790 |6-7P
; ee [ Ramp 9 Exit 19
| | Ramp 1| Ramp2| Ramp3| Ramp4| Ramp5 | Rampé | Ramp? | Ramp 8 | Ramp 9 | Ramp 10| Ramp 11
| | 2,035 615 1,240 990 2,230 | 1,740 | 1,215 550 285 75 105 230
| 1,965 625 1,280 870 2,190 | 1,990 | 4,155 585 310 420 240 220
1,865 710 1,255 775 4,925 | 1,805 | 1,290 685 240 200 365 190
1,735 735 1,110 790 1775 | 1,655 | 1,310 685 255 135 320 145
405
a.
325 : f MD 704
300 Sy Ramp 1
SK
\ 3 | Ramp 7 * Us-50
\, off = we EB
\ TRa_ TR2 d % 4140 | 7,620 |3-4P
‘ mc es | \ 4,375 8,380 |4-5P
on \ \ 4880 | 8,220 |5-6P
TR? |_ Exits 4520 | 7,355 |6-7P
TRI - \ Ramp 9 | Ramp 10
SS \ 200 430
[Ramps] TRE res | a8
PIS 195 500
a TR4 200 350
Ramp 6 7
sae 1,055
1,765 | 940
4,740 665
1,975 790
7,995
|ATCH P.20
1-495
SB GP | SB Toll SB NB NB Toll | NBGP
3-4p | 8,175 | 2675 | 10,850 | 10,040 | 2595 | 7,445
45p | 7,750 | 2,665 | 10,415 | 10,140 | 2,940 | 7,200
5-eP | 8020 | 2,505 | 10,525 | 9.235 | 2,435 | 6,800
e-7p | 7,330 | 2,225 | 9,555 | 8,880 | 2300 | 6,580

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Case 8:22-cv-02597-DKC  Dqcmppeds6Side piled 10/30/23

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Future Alternative 13C Peak Period Volumes

MATCH P.20
Exit 17 MD 202/NB Ramps
Ramp 5 | Ramp6 | Ramp7 | Ramps NBL NBR WBT WBR EBL EBT
930 710 260 425 730 225 1,260 4,035 415 2,085
995 730 235 425 850 265 1,370 41,150 10 2,440
4,010 795 335 305 4,020 260 1,450 4,150 20 2,520
735 795 400 1,445 865 15 2,205
Exit 17
Ramp 2 | Ramp 3 | Ramp 4 | Ramp 9 | Ramp 10
MD 202 1,035 260 275 15 955
EB WB 1,150 225 235 40 4,145
3-4P 2,140 2,155 1,150 170 245 20 1,280
4-5P 2,410 2,410 865 4165 250 45 1,020
5-6P 2,495 2,440
6-7P 2,445 2,090
MD 202
SB NB
2,585 2,295 |3-4P
2,940 2,520 |4-5P
3,025 2,600 |5-6P
2,665 2,310 |6-7P
1-495
SBGP | SB Toll SB NB NB Toll | NB GP
7,790 2,675 10,465 9,960 2,595 7,365
7,295 2,665 9,960 | 10,105 | 2,940 7.165
7,835 2,505 10,340 9,420 2,435 6,985
7,555 2,225 9,780 9,105 2,300 6,805
Exit 16
Ramp 1 | Ramp 2 | Ramp 4 | Ramp6 | Ramps’
140 470 270 475 505
155 490 285 605 760
4160 455 325 670 910
165 415 250 435 530
MD 2144/NB Ramps
NBL NBT NBR WBT WBR EBL EBT
Arena Dr 4140 0 270 665 255 215 685
EB 4155 0 285 710 250 240 880
3-4P 795 150 10 325 765 225 220 985
4-5P 940 160 5 250 615 185 225 665
5-6P 985
6-7P 730
Arena Dr
MD 214/SB Ramps EB WB
SBL SBT SBR WBL WET EBT EBR 955 920 |3-4P
325 5 175 250 555 575 220 1,165 960 [4-5P
430 420 210 235 630 690 250 4,340 990 |5-6P
490 150 270 250 665 715 270 915 800 \6-7P
360 25 145 210 565 530 200
1-495
SB Toll SB NB NB Toll | NB GP
2,675 10,435 9,900 2,595 7,305 |3-4P
2,665 9,805 | 10,055 | 2,940 7,115 |4-5P
2,505 10,100 9,450 2,435 7,015 |5-6P
2,225 9,685 9,105 2,300 6,805 |6-7P

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Case 8:22-cv-02597-DKC  Dqcmppeds6Side piled 10/30/23

Future Alternative 13C Peak Period Volumes

MATCH P.21
Exit 15
Ramp 1 | Ramp 2 | Ramp3 | Ramp 4 | Ramp 5 | Ramp6 | Ramp8 | Ramp J | Ramp 10
515 445 880 1,195 560 305 440 280 345
810 450 875 41,345 620 460 390 310 340
770 370 880 1,410 680 420 380 225 430
770 335 830 1,205 770 425 370 220 275
MD 214/SB Ramps
SBR | WEL | WET | EBT | EBR
280 515 1,550 2,015 305 \
310 810 4,480 | 2,350 460 \
225 770 1,565 2,600 420 ;
220 770 4,215 | 2,275 425 | Ramp 8 |
\
er 7
MD 214 Ramp 6 | Ramp 1
EB WB /
3-4P 2150 1960 Kingdom /
4-5P | 2,630 | 1,890 Square
5-6P | 2,790 1,845
6-7P 2,520 1,455
MD 214/Kingdom Square
NBR WEL WBT EBT EBR
285 310 1,520 2,035 4115
290 290 4,500 | 2,520 410
355 325 1,465 2,665 125
295 350 1,085 | 2,405 115
1-495
SB GP | SB Toll SB NB NEB Toll | NB GP
3-4P 7,300 2,675 9,975 10,085 2,595 7,490
4-5P | 7,090 2,665 | 9,755 | 10,415 | 2,940 7,475
5-6P 7,500 2,505 10,005 | 10,040 2,435 7,605
6-7P | 7,295 2,225 | 9,520 9,420 2,300 7,120

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MD 214
EB WB
| 2,890 | 2,195 |3-4P
3,440 2,400 |4-5P
3,810 | 2,275 |5-6P
3,420 | 2,045 |6-7P
“ = — Ramp 4 |
\ MD 214/NB Ramps
% NBL NBR WET | WBR EBT
* 315 1,195 | 1,750 445 1,695
340 1,345 | 1,950 450 2,095
430 1,410 | 1,905 370 2,400
275 41,205 41,710 335 2,215

MATCH P.22

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Future Alternative 13C Peak Period Volumes

1,650 1,730 |3-4P
2,030 41,715 |4-5P
2,200 1,695 |5-6P
1,895 1,645 |6-7P

Ramp 8 MATCH P.22

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SBR

1,050

1,095

EBL EBR WEL WBR NBL NBR SBL SBR
350 70 55 445 80 55 260 435
360 30 70 505 75 55 245 450
300 95 65 325 60 55 245 435
320 90 60 305 55 50 240 425

950

915

MD 224A/SB Ramps
EBT EBR WBL
4,180 470 505
41,335 695 740
4,360 840 755
4,090 805 655

MD 221A/NB Ramps

|MATCH P.23

EBT WBT WBR
1,380 595 565
1,465 915 595
1,480 990 400
1,205 930 490

MD 221A
EB WB
1,805 1,160 |3-4P
1,965 1,510 |4-5P
2,035 1,390 |5-6P
1,670 1,420 |6-7P

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22/25

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Future Alternative 13C Peak Period Volumes

MD4
SE NB
2,325 1,760
2,665 1,885
2,715 1,865
2,540 1,660

SB GP | SB Toll SB NB NB Toll | NB GP
5,900 2,105 8,005 9,025 4,935 7,090
6,475 2,130 8,605 8,995 2,205 6,790
6,920 1,985 8,905 9,075 1,925 7,150
6,920 1,710 8,630 8,140 1,780 6,360

Exit 11
Ramp 2 | Ramp 3| Ramp 4 | Ramp 5 | Ramp6 | Ramp7 | Ramps
1,355. 885 4,025 1,145 540 685 765
1,355 | 965 820 1,095 | 780 800 790
1,170 950 800 1,025. 640 665 830
1,060 | 1,025 | 715 905 820 645 830
MD 4
SB NB

3,070 | 2,325 |3-4P

2,835 2,470 |4-5P

2,950 | 2,140 |5-6P

2,315 1,830 |6-7P

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23/25 Case 8:22-cv-02597-DKC Dpoggmsgeabitdside Fated 10/30/23 Page 25 of 188
Future Alternative 13C Peak Period Volumes

1495
Ne ‘all

Forestville RelRamp 7 9025 | 18 7,00

Eel | EBT O55 | 2208 | 6750

5 6 a0 6 3,076 | 1,925 | 7,160

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6-7P

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Future Alternative 13C Peak Period Volumes

Exit 4
Ramp.¥ | Ramp 2 | Ramp 3 | [Ramp 6 | Ramp @ | Ramp 7 | Ramp 8 | Ramp 9 [Ramp 10
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| Ramp 4 [Rar
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WAN at Alice AveRampsg82——~—~S~S~S«
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85 4b ‘60 45 60 6 1.226
56 95 70 4 80 126 1,600
66 & | 70 40 Tis | 1408
ios [es a6 130 | 7.300

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Future Alternative 13C Peak Period Volumes

END O1

3.4P

4.7P

MD 210 at Ramp 7/Baid Eagle Ro MD 210
S8T SBR NBL NBL NBT NBR WEL EBL EBR $8 NB
te TOS 2 S ee | eee | Oe 4 Ae 4,200 | 7a6
1430 | 126 § a 645 a 10 1.606 | 1035
Lato 420 & 4 S65 a 10 1,630 930
1,208 | 105 a a 620 5 5 THO | 6
x3 Rimi
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Ramp 2
Ramp 3 |

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4,335 545 |4-5P
1,140 605 [5-6P
4440 | 700 |6-7P : id at Monument =
MOD 414 at MGM National Ave 16 576 270 180 TiO 20 6 16 0
NBR WEU WEL WET WER eal EBT EBR 30 690 280 170 720 26 a 16 30
| 10 5 145_(| 180 30 245 700 770 2 | 64 | Ho 450 | ae | eC is | oo
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5 5 140_| (110 a6 | 235 30 76
a 5 120 a0 m0 | 200 76 o35

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TRAFFIC ANALYSIS TECHNICAL REPORT BIS, Pence

Appendix B:
MWCOG User Guide

May 2020

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>) National Capital Region
Yy, Transportation Planning Board

Metropolitan Washington Council of Governments (COG)
National Capital Region Transportation Planning Board (TPB)

User's Guide for the COG/TPB Travel
Demand Forecasting Model,
Version 2.3.75

Volume 1 of 2: Main Report and Appendix A (Flowcharts)

December 5, 2018

777 NORTH CAPITOL STREET NE, SUITE 300, WASHINGTON, DC 20002
MWCOG.ORG/TPB (202) 962-3200

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User’s Guide for the COG/TPB Travel Demand Forecasting Model, Version 2.3.75: Volume 1 of 2
December 5, 2018

About the TPB

The National Capital Region Transportation Planning Board (TPB) is the federally designated
metropolitan planning organization (MPO) for metropolitan Washington. It is responsible for developing
and carrying out a continuing, cooperative, and comprehensive transportation planning process in the
metropolitan area. Members of the TPB include representatives of the transportation agencies of the
states of Maryland and Virginia and the District of Columbia, 23 local governments, the Washington
Metropolitan Area Transit Authority, the Maryland and Virginia General Assemblies, and nonvoting
members from the Metropolitan Washington Airports Authority and federal agencies. The TPB is staffed
by the Department of Transportation Planning at the Metropolitan Washington Council of Governments
(COG).

About COG

The Metropolitan Washington Council of Governments (COG) is an independent, nonprofit association
that brings area leaders together to address major regional issues in the District of Columbia, suburban
Maryland, and Northern Virginia. COG’s membership is comprised of 300 elected officials from 23 local

governments, the Maryland and Virginia state legislatures, and U.S. Congress.
Credits

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Director, Travel Forecasting and Emissions Analysis Program, DTP: Ronald Milone (retired Oct. 2018)
Report Authors:

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Oversight: COG/TPB Travel Forecasting Subcommittee

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pleito relacionado al Titulo VI, u obtener informacion en otro idioma, visite www.mwcog.org/nondiscrimination o llame al (202)
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Colophon

This report was created using Microsoft Word 2016 and Visio 2016, and was converted to a PDF file using Adobe Acrobat DC.
This report consists of two sections: the main report and the appendices. The files for these two sections can be found ina
folder on COG’s internal file server (I:\ateam\docum\fy19\tpb_tdfm_gen2\ver2.3\travel_model_user_guide).

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1 Introduction

The National Capital Region Transportation Planning Board (NCRTPB or simply TPB) is the federally
designated Metropolitan Planning Organization (MPO) for the Washington, D.C. metropolitan area and
is also one of several policy boards that operate at the Metropolitan Washington Council of
Governments (MWCOG or simply COG). The TPB is staffed by COG’s Department of Transportation
Planning (DTP). The COG/TPB staff develops and maintains, with consultant assistance, a series of
regional travel demand forecasting models that are used for the regional transportation planning
process in the Washington, D.C. area. These regional travel demand models are developed under the
guidance of the Travel Forecasting Subcommittee (TFS), a subcommittee of TPB’s Technical Committee.
At any given time, the COG/TPB staff maintains at least two regional travel demand models: an adopted,
production-use model and a developmental model. The production-use model is the one that is used in
planning studies conducted by COG/TPB and is made available to outside parties.1 The developmental
model is the one that is currently under development by COG/TPB staff, and is generally not made

available to outside parties, since it is not yet considered a finished product.

This report explains how to setup and run the TPB Travel Demand Forecasting Model, Version 2.3.75,
which is the latest in a series of adopted, regional, production-use travel demand models, within the
‘Version 2.3” model family, developed by the COG/TPB staff for regional transportation planning work
in the Washington, D.C. metropolitan area. The previous adopted, regional, production-use travel
demand model was the Ver. 2.3.70 model. All the model versions in the Version 2.3 model family are

aggregate, trip-based, four-step travel demand models.

Between 2008 and 2011, the TPB Version 2.3 travel model was calibrated to year-2007 conditions and
this work was documented in a calibration report dated January 20, 2012.* In 2013, the Version 2.3
Travel Model was validated to year-2010 conditions,’ with an emphasis on validating the model’s
highway assignment results. Updates to the model resulting from this validation work were part of Build
52 of the Version 2.3 Travel Model (a.k.a., Ver. 2.3.52). Although the model was validated to year-2010
conditions, it was not recalibrated, so the January 20, 2012 calibration report remains the latest
documentation for calibration work. The previous model version, Ver. 2.3.70, is documented in a two-

volume user’s guide.* This current user’s guide is derived from the previous user’s guide.

' The procedures for requesting the model can be found on the “Data Requests” webpage
(https://www.mweog.org/transportation/data-and-tools/modeling/data-requests/).

? Ronald Milone et al., “Calibration Report for the TPB Travel Forecasting Model, Version 2.3, on the 3,722-Zone
Area System,” Final Report (Washington, D.C.: Metropolitan Washington Council of Governments, National
Capital Region Transportation Planning Board, January 20, 2012), https:/Avww.mwcog.org/transportation/data-and-
tools/modeling/model-documentation/.

* Ronald Milone to Files, “2010 Validation of the Version 2.3 Travel Demand Model,” Memorandum, June 30,
2013.

4 Mark Moran, Ron Milone, and Meseret Seifu, “User’s Guide for the COG/TPB Travel Demand Forecasting
Model, Version 2.3.70. Volume | of 2: Main Report and Appendix A (Flowcharts)” (Washington, D.C.:
Metropolitan Washington Council of Governments, National Capital Region Transportation Planning Board,
November 28, 2017), https://www.mwceog.org/transportation/data-and-tools/modeling/model-documentation/; Mark

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1.1 Adoption of the regional travel demand forecasting model by the TPB

The TPB does not explicitly adopt a specific version of the regional travel demand model. Instead, the
adoption is made implicitly when the TPB adopts both 1) a given version of its Long-Range
Transportation Plan (LRTP) and Transportation Improvement Program (TIP); and 2) the findings from an
air quality conformity (AQC) analysis of the financially constrained element of the LRTP and the
associated TIP. The latest version of the LRTP is known as Visualize 2045, which was finalized in 2018
and has an out year of 2045. Visualize 2045 has both a financially constrained element and an
aspirational element. The constrained element is what used to be called the Constrained Long-Range
Plan (CLRP). The purpose of the AQC analysis is to determine whether the air pollution created by motor
vehicles (“mobile emissions”) traveling on the transportation network represented in the constrained
element of the LRTP (in this case, Visualize 2045) is consistent with (conforms to) the state air quality
implementation plans (SIPs). The implicit adoption of a specific model version occurs by virtue of the fact
that that model version was the one used for the analysis presented to the TPB. Consequently, the Ver.
2.3.75 TPB Travel Demand Forecasting Model (TDFM) became the adopted, production-use madel on
Oct. 17, 2018, when the TPB adopted the following three resolutions:

e R4-2019: Resolution finding that the Constrained Element of the Long-Range Transportation
Plan (Visualize 2045) and the FY 2019-2024 TIP conform with the requirements of the Clean Air
Act Amendments of 1990

e R5-2019: Resolution approving the Visualize 2045 Long-Range Transportation Plan for the
National Capital Region

e R6-2019: Resolution approving the FY 2019-2024 TIP

1.2 History of the Version 2.3 Travel Model

The Version 2.3 travel model is a series or family of model versions. The first iteration of the Version 2.3
model became the adopted regional travel model for the Washington, D.C. metropolitan area on
November 16, 2011. In 2012, a newer version of the model, known as Build 39 of the Version 2.3 Travel
Model, or Ver. 2.3.39, was used for the air quality conformity analysis of the 2012 Constrained Long-
Range Plan and the FY 2013-2018 Transportation Improvement Plan. In 2013, Build 52 of the model was
used for the air quality conformity analysis of the 2013 CLRP and FY 2013-2018 TIP. In 2015, Build 57a of
the Version 2.3 model (Ver. 2.3.57a) became the production-use model. In 2016, the Ver. 2.3.66 model
became the production-use model. In 2017, the Ver. 2.3.70 model became the adopted model. Most
recently, in 2018, the Ver 2.3.75 model became the adopted, production-use regional travel demand
model. Below is a list of milestones in the development of the TPB regional travel demand model from
2008 to the present:

Moran, Ron Milone, and Meseret Seifu, “User’s Guide for the COG/TPB Travel Demand Forecasting Model,
Version 2.3.70: Volume 2 of 2: Appendices B (Batch Files), C (Cube Voyager Scripts), and D (AEMS Fortran
Control Files)” (Washington, D.C.: Metropolitan Washington Council of Governments, National Capital Region
Transportation Planning Board, November 28, 2017).

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e March 1, 2008: TPB Version 2.2 Travel Model was released.®
o The Version 2.2 travel model was developed on the 2,191-TAZ area system and most of
its component models were estimated and calibrated with data from the COG/TPB 1994
Household Travel Survey (HTS), which included about 4,800 households.
e June 30, 2008: Draft TPB Version 2.3 Travel Model was released.°®
© At the time when the Version 2.2 Travel Model was released, a parallel effort was also
underway to combine a nested-logit mode choice (NL MC) model and revised truck
models into the Version 2.2 framework. This development effort proved to be viable
and resulted in a release of what was then called the “draft Version 2.3 travel model” in
June of 2008. The draft Version 2.3 model, like Version 2.2, was developed on the 2,191-
TAZ area system.
© The draft Version 2.3 model was not brought into production given that two related
events were in motion during 2008. First, a new round of travel data collection was
underway, including a major regional household travel survey (the COG/TPB 2007/2008
Household Travel Survey, which included about 11,000 households) and two transit on-
board surveys (a bus on-board survey and a Metrorail passenger survey). Second, a new
TAZ system was in development. The new zone system was envisioned to be developed
over the same geographic area as the 2,191-TAZ system (6,800 square miles), but with
smaller average zone sizes. TPB staff ultimately decided that the draft Version 2.3 Travel
Model should not become the approved regional travel model until it incorporated the
new zone system and the new data from the 2007/2008 Household Travel Survey (HTS)
and the on-board transit surveys.
e February 28, 2011: TPB Version 2.3 Travel Model, Build 9, was released.’
o From 2008 to 2012, TPB staff conducted the following activities:
# Compiling and cleaning new survey data.
# Preparing calibration files based on the new 3,722 TAZ system
# Estimating and calibrating various sub-models in the regional travel model.
e November 11, 2011: TPB Version 2.3 Travel Model, Build 36, was released.® This is the model
that became the adopted regional travel model for the for the Washington, D.C. metropolitan
area on November 16, 2011.

5 Ronald Milone et al., TPB Travel Forecasting Model, Version 2.2: Specification, Validation, and User’s Guide
(Washington, D.C.: Metropolitan Washington Council of Governments, National Capital Region Transportation
Planning Board, March 1, 2008), http:/AWwww.mwcog.org/transportation/activities/models/documentation.asp.

§ Ronald Milone et al., “TPB Travel Forecasting Model, Version 2.3: Specification, Validation, and User’s Guide,”
Draft Report (Washington, D.C.: Metropolitan Washington Council of Governments, National Capital Region
Transportation Planning Board, June 30, 2008).

T Ronald Milone et al., “TPB Version 2.3 Travel Forecasting Model for the 3,722-Zone Area System: Calibration
Report,” Draft report (Washington, D.C.: National Capital Region Transportation Planning Board, February 28,
2011).

§ Ronald Milone et al., “Calibration Report for the TPB Travel Forecasting Model, Version 2.3.36, on the 3,722-
Zone Area System,” Draft report (Washington, D.C.: National Capital Region Transportation Planning Board,
November 18, 2011), http://www.mweog.org/uploads/committee-documents/aF 1fV1xW20111118131827. pdf.

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e December 21, 2011: TPB Version 2.3 Travel Model, Build 38, was released. This model was
documented in January 2012.°

e July 17, 2013: TPB Version 2.3 Travel Model, Build 52 became the production-use travel model.

@ October 15, 2014: The TPB Version 2.3.57 model became the production-use travel model.

@ October 21, 2015: The TPB Version 2.3.57a model became the production-use travel model.
e November 16, 2016: The TPB Version 2.3.66 model became the production-use travel model.
® October 18, 2017: The TPB Version 2.3.70 model became the production-use travel model.

@ October 17, 2018: The TPB Version 2.3.75 model became the production-use travel model.

1.3. Recent changes to the model: From Ver. 2.3.70 to Ver. 2.3.75

There have been only four updates to the regional travel demand model since the previously adopted
model (Ver. 2.3.70). The updates are listed Table 1 and are described in more detail later in this report.
The four model updates cover three types of updates:

e Bug fixes (1 update)
e New/enhanced features (3 updates)

Bug fixes are the most important type of update and have the highest priority. Software bugs can be
found by either internal or external users of the travel demand model code. New/enhanced features

bring improvement to the model or make it easier to use. Documentation relates to comments or

annotations within scripts or batch files that explain what is occurring in the software code. As explained

later, the bug fix did not cause a change in the modeled results, and only two among three updates

caused a change in the modeled results.

Three of four updates can also be found in a recent internal memo.”° It should be noted that the memo
was written before the TPB’s decision to modify the model so that it no longer implemented the

Metrorail constraint to and through the regional core.

° Ronald Milone et al., “User’s Guide for the TPB Travel Forecasting Model, Version 2.3, Build 38, on the 3,722-
Zone Area System,” Final Report (Washington, D.C.: National Capital Region Transportation Planning Board,
January 20, 2012), http://www.mwcog.org/transportation/activities/models/documentation.asp.

0 Ray Ngo to Mark Moran, Ronald Milone, and Dusan Vuksan, “Updates to the TPB Travel Demand Forecasting
Model, Generation 2, Version 2.3.70 for Visualize 2045,” Memorandum, March 30, 2018.

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Table 1 Updates made to the TPB travel demand model Version 2.3.75 (compared to Ver. 2.3.70)

Effect on model

Description Type of update Further details and benefit(s) results?
Streamlined the way that HOT-lane New/improved Due to the low benefits and drawbacks associated with Yes
facilities are modeled by removing the | feature the HSR procedure, the process was eliminated. The
High-Occupancy Vehicle (HOV) elimination helps reduce model run times. For example,
Highway Skim Replacement (HSR) in model application (after toll setting has already been
procedure from the model accomplished), the model no longer needs two runs per
alternative/year (i.e., “base” and “final’”). Now, only one
run per alternative/year is needed (i.e., “final”).
Added a check to report the active New/improved This feature reports the inaccessible stations whose No
transit stations with “zero” drive- feature drive-access skims are all zeros, typically due to a
access skim values network coding issue.
Updated unbuild_net.s with the latest Bug fix This tool to unbuild a highway network was updated to No
version of the travel model and its work with the latest model network inputs.
associated networks
Removed the Metrorail constraint to New/improved TPB approved the removal of Metrorail constraint from Yes

and through the regional core, as pera
policy change by the Washington
Metropolitan Area Transit Authority
(WMATA), resulting from new
dedicated funding for transit

feature

the model on May 16, 2018. Therefore, the model runs
for the scenarios after 2020 will no longer require the
transit constraint information from the 2020 model run.
More details about the history and rationale behind the
Metrorail constraint can be found in this report.

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1.3.1 Update 1: Removed the HOV Highway Skim Replacement (HSR) procedure
1.3.1.1 Update type

New/improved feature
1.3.1.2 Effects on the model results?

This update had a small impact on the model output at the regional level. A sensitivity test was

conducted for year-2040 conditions using the Ver. 2.3.70 Travel Model with network inputs from the

Off-Cycle Update of the 2016 CLRP and land use inputs from the Cooperative Forecasts, Round 9.0. After

the update, at the regional level, the total number of vehicles assigned increased by 1,505 (less than
one-tenth a percent relative to the baseline), total Vehicle Miles of Traveled (VMT) decreased by only
105,796 or 0.1%, and total transit increased by 3,679 or 0.3%. Those changes at regional level were
considered negligible. At the jurisdictional level and link level, the changes were more noticeable,
discussed below, as documented in an internal memo, entitled “Evaluating the Modeling Effects of

Eliminating the ‘HOV Skim Replacement’ Process”: ©

At the jurisdictional level, moderate shifts away from HOV3+ travel are observed in the Northern
Virginia jurisdictions with HOT-lane operations in 2040, but this impact is very confined. At the

link level, changes to HOV3+ traffic volume are marginal across the regional roadway network.

Noticeable increases in AM speeds are observed on some of the I-66 and I-95 HOT-lane segments

in peak direction, mainly due to higher tolls and lower volumes resulting from the toll setting
process, but these changes are in the favorable direction in terms of accommodating VDOT’s
policy to maintain HOV3+ traffic conditions on HOT lanes. (p. 10)

More details on the effects of the update to the model results can be found in the cited memo.
1.3.1.3 Description

With the implementation of High-Occupancy Toll (HOT) facilities in Northern Virginia, the Virginia
Department of Transportation (VDOT) required that the toll paying traffic in the HOT lanes should not
cause the operating characteristics of the facilities to become degraded, as per federal guidance.” To
accommodate the VDOT/federal guidance, starting from the Ver. 2.1D#50 model (through the Ver
2.3.70 model), COG/TPB staff developed a modeling procedure often called HOV3+ Skim Replacement
(HSR). The procedure required two model runs, a “base run” and a “final run”, for one modeled
scenario, application mode (which is used by most external users), given the estimated toll as a model
input. The “base run” captured the unimpeded flow of HOV traffic on HOT lanes. The “final run” of the

travel model allowed all HOT facilities to function as true HOT lanes by using the HOV skims from the

" Feng Xie and Dusan Vuksan to Files, “Evaluating the Modeling Effects of Eliminating the ‘HOV Skim
Replacement’ Process,” Memorandum, March 7, 2018.

2 “Federal-Aid Highway Program Guidance on High Occupancy Vehicle (HOV) Lanes,” U.S. Department of
Transportation, Federal Highway Administration, November 2012,

http://ops. fhwa.dot.gov/freewaymgmt/hovguidance/chapter3.htm.

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“base run” and all other (non-HOV) skims from the “final run”. Section 2.4.1 provides a further detailed
description of the process from the Version 2.2 Travel Model documentation.”

in the Ver. 2.3.75 model, COG staff decided to eliminate the HSR procedure based on the following
motivations: “

While TPB’s travel demand model has transformed itself with two major upgrades {i.e., Version
2.2 and Version 2.3) in the past decade, the HSR procedure developed based on the now
outdated Version 2.1D#50 model remains unchanged. In recent years, both internal and external
model users have suggested that this ad hoc process may have become less pertinent, as TPB’s
newer generations of travel demand models may have already addressed VDOT’s policy
requirements related to HOT lanes in an inherent way with new modeling capabilities that were

not available when HSR was initially developed.

Another major challenge to the HSR process comes from the Maryland side of this region. The
Maryland Department of Transportation has announced the Traffic Relief Plan (TRP) in
September 2017, which, in the current draft form, entails the addition of two express / toll lanes
per direction to 1-495, MD-295 and |-270. Different from the HOT lanes in Virginia, the proposed
toll lanes in Maryland will not need to comply with the federal requirements regarding HOV
facilities, as they will likely operate as Express Toll Lanes (ETLs), which do not exempt HOV
vehicles from paying tolls. As TPB is looking to incorporate parts of Maryland's TRP into its
upcoming long-range plan “Visualize 2045”, the modeling staff has made an assessment that it
would be extremely challenging to model two different types of dynamically priced toll lanes
with the current HSR process that is only applicable to the Virginia HOT lanes.

Furthermore, as TPB’s travel demand model will soon undergo a major upgrade to Version 2.5,
TPB staff is facing the challenge of tackling significantly increased model run times due to
increased model complexity. It thus becomes especially appealing to revisit the multi-run HSR
process, which is both complex and long, and to look for ways to improve it or eliminate it. (pp.
2-3)

The application of HSR requires a multi-run process, which is both complex and time-consuming
(a complete three-run process can take over a week).

© Ronald Milone et al., “TPB Travel Forecasting Model, Version 2.2: Specification, Validation, and User’s Guide”
(Washington, D.C.: Metropolitan Washington Council of Governments, National Capital Region Transportation
Planning Board, March 1, 2008), 1-10 to 1-12.

Feng Xie and Dusan Vuksan to Files, “Evaluating the Modeling Effects of Eliminating the ‘HOV Skim
Replacement’ Process.”

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Importing skims from different base runs could introduce a bias (“noise”) to “alternatives
analysis”, which involves comparing final run results between different alternatives for scenario
planning and project planning activities.

Since the HSR procedure was designed with a “HOT-Lane-Only” world in mind, the application of
this procedure would become extremely challenging when other types of dynamically priced toll
lanes (such as ETLs) are modeled along with HOT lanes. (pp. 4-5)

The HSR procedure elimination resulted in the following changes to the model’s components:

Table 2 Affected model's components due to Update 1

File name Changes
run_Model_[year]_base.bat Removed
run_ModelSteps_[year]_base.bat
run_ModelSteps_[year].bat Revised

HSR_Highway_Skims_2017HOV2.bat Removed
HSR_Highway_Skims.bat
Joinskims.s Revised

where [year] is the modeling year/scenario, for example 2019 or 2045.

Changes made to run_ModelSteps_[year].bat

Figure 1 to Figure 2 below show the changes made to the run_ModelSteps_2019.bat, an example of

run_ModelSteps_[year].bat. The red and lines indicate the lines before and after changes. The far-
left column shows the line numbers of the scripts before the change and the next column shows the line
numbers of the scripts after the change. If a =n line is blank, the line is deleted from the batch file.

For example, the original lines 20 and 21:

1: Location of substitute HOV3+ skims
set _HOV3PATH_=..\2019_ base

are removed and become blank in line 19 in the updated batch file.

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:; Version 2.3 TPB Travel Model on 3722 TAZ System

8 set _year_=2019

set _alt_=Ver2.3.7@_2019 Final
9 set _alt_=Ver2.3.75_2019 Final
10 16 :: Maximum number of user equilibrium iterations used in traffic assignment
AT 11 :: User should not need to change this. Instead, change _relGap_ (below)
12 12 set _maxUeIter_=1000

14 14 :: Set transit constraint path and files
15 15 :: Current year used to set the constraint = 2020

18 17 set _tcpath_=

23 21 :; UE relative gap threshold: Progressive (10*°-2 for pp-i2, 10*-3 for i3, & 10*°-4 for 14)
24 22 :: Set the value below

39 37 call PP_Auto_Drivers.bat AA

40 38 call Time-of-Day.bat %1

41 39 call Highway_Assignment_Parallel.bat %1
Liss R es

a3

Figure 1 Changes made to run_ModelSteps_[year].bat after the elimination of the HSR procedure

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55 52 call Auto Driver .bat
; e-of-Day. bat ?
j 1 call Highway_Assignment_Parallel.bat
58 rem call Highway_Skims.bat 1
59 call HSR_Highway_Skims_2017HOV2.bat %1
55 call Highway_Skims.bat fel

72 68 call Time-of-Day.bat
73 69 Highway_Assignment_Parallel.bat
74 iQ ca Average Link _Speeds.bat

rem call Highway Skims.bat we
call HSR_Highway_Skims_2017HOV2.bat %1
‘1 call Highway_Skims.bat %1
85 call Time-of-Day.bat

91 86 cz Highway_Assignment_Parallel.bat
1? 87 Average Link _Speeds.bat

93 rem call Highway Skims.bat ‘1
94 call HSR_Highway Skims_2@17HOV2.bat %1
88 call Highway_Skims.bat w1

102 ime-of-Day.bat

ac 103 cé Highway_Assignment_Parallel.bat
110 104 call Average_Link_Speeds.bat

111 rem call Highway _Skims.bat %1
11? call HSR_Highway_Skims_2@17HOV2.bat Rol
105 call Highway_Skims.bat %o1

Starting Transit Assignment Step

Figure 2 Changes made to run_ModelSteps_[year].bat after the elimination of the HSR procedure

As shown above, the HSR procedure elimination replaced the HSR_Highway_Skim.bat (or
HSR_Highway_Skim_2017HOV2. bat) with the Highway_Skim.bat process.

Changes made to joinskims.s

The comment regarding the environment variable HOV3Path_ in the script joinskims.s is removed, as
shown in Figure 3, to reflect the HSR procedure elimination. Obviously, a change in code comments has

no effect on the model output.

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. distance (1/10s of mi),

3 tolls ( cts) of any FIXED price facility, such as Dulles toll road.

3; .HOV3Path_ environment variable is used to override HOV3 Skims from another Subdirectory
5

pageheight 3 Preclude header breaks

Figure 3 Changes made to Joinskims.s after the elimination of the HSR procedure

1.3.2 Update 2: Reported active transit stations with zero skim values

1.3.2.1 Update type
New/improved feature

1.3.2.2 Effect on model results?
No

1.3.2.3 Description

This update was to address an issue reported by a consultant that travel matrices (“skims”) associated
with the West Falls Church Station’s centroid (5054) were all zeroes. He suspected that it was because
the link connecting this node to the network (34939-34938) was marked with a limit code of “9” (which
does not get processed in the Autoacc5.s step). The limit codes of “9” resulted in default values (dist =
50, speed = 25) when processing this station’s drive-access connectors — without qualifying the actual
distances and speeds from TAZs.**

COG staff proposed a simple check in the travel model to stop the model run and report the issue if the

model encounters an active station in the station file which has “zero” skim values.

The proposed update resulted in two changes of the model’s components:

Table 3 Affected model's components due to Update 2

File name Changes
CheckStationAccess.s Added
PP_Highway_Skims.bat Revised

'S Mark S. Moran to Ronald Milone, “Possible Updates to the TPB Travel Demand Forecasting Model, Generation
2, Version 2.3.70,” Memorandum, February 8, 2018.

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Added CheckStationAccess.s

The new script, CheckStationAccess.s, shown in Figure 4, is added to the model.

| *del voya*.prn

25
3 5; CheckStationAccess.s
4 5; Purpose: To check whether transit stations are accessible

5 3 RM, RN
; Date: 2018-03-36

12 RUN PGM=MATRIX

i4 ZONES=8000
15 FILEI LOOKUPI[1] = ‘inputs\node. dbf"
16 FILEI MATI[1] = *% iter % am sov_mod.skm’

18 LOOKUP LOOKUPT = 1, NAME = NODES, LOOKUP[1] = N, RESULT = N, INTERPOLATE = N, FAIL = @,0,0, LIST = Y
29 MW[1] = ME.1.1
21 TIMESUM = ROWSUM(1)
22 IF (I = 5000 - 8060)
NODEVAL = NODES(1, T)
IF (NODEVAL>® && TIMESUM = 9)

PRINT LIST = “STATION NUMBER ", NODEVAL(5), " HAS: NO SKIM BUILT TO IT"
ABORT MSG = STATION CENTROIDS WITHOUT SKIMS. PLEASE CHECK THE NETWORK.
2 ENDIF
28 ENDIF
30 ENDRUN

Figure 4 CheckStationAccess.s, new script to report the active transit stations with zero skim values

The script searches the node.dbf file for cases where there are no drive-access skim values for nodes
5000 to 8000, which corresponds to the Metrorail PNR centroids (5000-5999), commuter rail PNR
centroids (6000-6999), and light rail/BRT PNR centroids (7000-7999). If the program files a station that is
disconnected from the highway network, it creates a listing file with the station number and a note that
the station “has no skim built to it.” The model results were not affected by the new script.

Changes made to PP_Highway_Skims.bat

Figure 5 shows the changes made to PP_Highway_Skims.bat. The crcen lines are newly added to the

batch file. There are no changes to the model’s outputs.

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:: 2018-03-30 RN Add lines to execute a check on whether transit stations are accessible

4 t _iterOrder_-=

error

42 if exist voya*.prn py voya*.prn %_iter_%_%_iterOrder_X_Highway_Skims_Mod_am.rpt /y

44 3; Check whether transit stations are accessible

45 if exist voya*.* del voya*.*

46 if exist %_iter_% % iterOrder_% CheckStationAccess.rpt del %_iter_X%_4%_iterOrder_% CheckStationAccess.rpt
4? start /w Voyager.exe ..\scripts\CheckStationAccess.s /start -Pvoya -S..\%1

18 if errorlevel 2 (echo STATION CENTROIDS WITHOUT SKIMS. PLEASE CHECK THE NETWORK && goto stationerr)

49 if errorlevel 3 (echo STATION CENTROIDS WITHOUT SKIMS. PLEASE CHECK THE NETWORK && goto stationerr)

S0 if exist voya*.prn copy voya*.prn CheckStationAccess.rpt /y

:error

t voya*.* | voya*.*
‘_iter_%_%_iterOrder_*% Highway _Skims_modomd.rpt cel %_iter_%_%_iterOrder_%_Highway_Skims_mod_md.rpt
+ /w Voyager.exe ..\scripts\Highway Skims mod_md.s /start -Pvoya -S..\3
end
:stationerr
PAUSEREXIT

Figure 5 Changes made to PP_Highway_Skims.bat to report the active transit stations with zero skim values

1.3.3. Update 3: Updated unbuild_net.s to work with the latest version of the travel model

1.3.3.1 Update type

Bug fix

1.3.3.2 Effect on model results?
No

1.3.3.3 Description

Unbuild_net.s is a utility script, which is used to unbuild a highway network file from a Citilabs NET
format to a link and a node file in dbf format. The script needed to be updated so that it would be in
sync with recent changes that had been made to network attributes. This update did not change the
modeled outputs. As one example of the changes, “spdc(7)” was changed to “spdclass(7)”.

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Changes made to unbuild_net.s

22 linko= @basepath®\eout_link

format-DBF,
includeza(5),b(5) ,distance(7.2),spdc(7), capc(7), jur(7),Screen(5), ftype(7), toll(9), tollgroup(5),

amlane(3), amlimit(3),pmlane(3),pmlimit(2),oplane(3),oplimit(3) ,edgeid(19) , linkid(16),Networkyear(8),Shape_Length(7.2),
include=a(5),b(5),distance(7.2),spdclass(7),capclass(7),jur(7),Screen(5) ,ftype(7) ,toll(9), tollerp(5),

amlane(3), amlimit(3) ,pmlane(3),pmlimit(3),oplane(3},oplimit(3),edgeid(1e), linkid(18),netyear(38), Shape_Leng({7.2),

Write out node file

Figure 6 Changes made to Unbuild_net.s to work with the latest version

1.3.4 Update 4: Removed Metrorail constraint procedure

1.3.4.1 Update type
New/improved feature (in response to recent changes in WMATA policy)
1.3.4.2 Effect on model results?

Removing the modeling procedure that implements the Metrorail constraint to/through the regional
core did not affect model results for the years up through 2020. However, the update did change model
results for the forecast scenarios after 2020. A sensitivity test of the update to the Ver. 2.3.70 Travel
Model was made for a network representing year-2040 conditions (i.e., 2040_base and 2040_final). At
the regional level, the changes in modeled results were considerable. For example, after the update, the
2040_final scenario saw an increase of the total number of regional transit person trips by 3%, a drop in
auto person trips by 0.2%, and a decrease in total vehicle-miles of travel (VMT) by 0.1%. The removal of
the Metrorail constraint resulted in increases of more than 5% for both regional Metrorail and Metrobus
trips, which were mainly shifted from auto trips and commuter rail trips. The walk trips to Metrorail and
Metrobus both gained about 5% after the update. At the sub-regional level, the update caused a similar
impact. Specifically, the Metrorail trips coming from the regional non-core area destined to the regional
core jumped 7%, which makes sense, since the Metrorail system has more capacity after the constraint
removal. Since Metrorail is more attractive, the trips of commuter rail, a competitive mode, coming

from the regional non-core area destined to core area fell 3%.
1.3.4.3. Description

The Metrorail constraint through the regional core (sometimes referred to as the “transit constraint
through the regional core”) is a technical adjustment to the trip tables coming out of the mode choice
process designed to reflect a WMATA policy assumption that, during peak periods, the Metrorail system
may have insufficient capacity to serve all the demand traveling to and through the regional core.
Typically, it is assumed that the Metrorail system will be able to handle all of the peak-period demand to

and through the regional core in the near term, but, since demand has historically grown over the long

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run,'® the system might not be able to handle all the peak-period demand at some future time,
depending on the amount of growth in demand and the number of rail cars available in a given year. The
assumed year at which the Metrorail system will be at its peak capacity during the peak periods to and
through the regional core is known as the “binding year.” For years beyond the binding year, it is
assumed that any growth in peak-period Metrorail demand to and through the regional core will be
forced to switch to other travel modes (specifically, auto person trips). The Metrorail constraint was
initiated by WMATA in 2000 to address funding shortfalls restricting the expansion of the rail fleet.?”
WMATA policy sets the binding year, which was set at 2020 in previous versions of COG/TPB Travel
Model. This means that, for any forecast year past 2020, the Metrorail constraint was applied, i.e., any
forecasted peak-period Metrorail trips that exceeded the 2020 demand to and through the regional core
were shifted to other travel modes (specifically, auto person trips). Details about the Metrorail
constraint through the regional core, including a definition of the extent of the regional core can be
found in section 21.2 on page 159, which is part of the “mode choice” section of this report.

The recent legislation establishing stable long-term funding of $500 million a year for Metro will now
support WMATA’s plans to implement all 8-car trains during peak periods in the Visualize 2045 Plan.?®
Consequently, TPB approved the removal of the Metrorail constraint from the travel model process at
the TPB meeting on May 16, 2018.

The transit constraint removal update changed the following components of the model:
Table 4 Affected model's components due to Update 4

File name Changes
run_ModelSteps_[year]_Final.bat Revised
Mode_Choice_TC_V23 Parallel.bat © Removed

‘6 Tn the shorter term, Metrorail ridership has decreased slightly between 2009 and 2017.

'T Ronald Milone, “TPB Version 2.3 Travel Model on the 3,722-TAZ area system: Status report” (presented at the
September 23, 2011 meeting of the Travel Forecasting Subcommittee of the Technical Committee of the National
Capital Region Transportation Planning Board, held at the Metropolitan Washington Council of Governments,
Washington, D.C., September 23, 2011).

'8 Jane Posey, “Amendments to the Visualize 2045 Air Quality Conformity Scope of Work,” Memorandum, May
16, 2018.

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Updates to run_ModelSteps_[year]_Final.bat

:: Set transit constraint path and files

: Current year used to set the constraint = 2020

:: For years before constraint year: set _tcpath_=<blank>

:: For years after constraint year: set _tcepath_=..\2020 final
set _tcpath_=..\2020 final

1 Not set transit constraint path and files

set _tcpath_=

li Transit_Fare.bat

| Trip_Generation. bat

all Trip_Distribution.bat ?

call Mode_Choice_TC_V23_Parallel.bat %1

5@ call Mode_Choice Parallel.bat %1

l Auto | Driver.bat
all >-of -Day .bat 7
il Highway _Assignment_Parallel. bat

|| Transit_Fare. bat

ll Trip_Generation.bat

call Trip_Distribution.bat %

call Mode_Choice_TC_V23_Parallel.bat fol

call Mode_Choice_Parallel .bat %l

311 Auto | Driver .bat
ill Time-of-Day.bat 2
l Higheay _Assignment_| Parallel. ‘bat

ll Transit_Fare.bat
call Trip_Generation.bat
call Trip _Distribution.bat
call Mode_Choice_TC_V23_Parallel.bat %1
call Mode_Choice Parallel.bat %L
call Auto_Driver.bat 1
ime-of -Day.bat %
11 Highway_Assignment_ Parallel. Gat

a

il Transit_Fare.bat

11 Trip_Generation. bat

call Trip_Distribution.bat

call Mode_Choice_TC_V23_Parallel.bat tol

2 call Mode_Choice_Parallel.bat %1

all Auto_Driver.bat
call Time-of-Day.bat

Figure 7 Changes made to run_ModelSteps_[year]_Final.bat to remove Metrorail Constraint procedure

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2 Overview ofthe model
The TPB Version 2.3 family of travel models is a classic, aggregate, “four-step,” trip-based, regional

travel demand model. The four steps in a classic travel demand model are

e Trip generation
e §=Trip distribution
e Mode choice

e Traffic assignment”

The first three steps deal with estimating current-year or future-year demand for travel. The last step,
traffic assignment, is where the demand for travel is assigned to a transportation network. This final
step represents an equilibration between the transportation demand and the transportation supply. In
many models, traffic assignment includes only a highway assignment, where private-use motor vehicles
are assigned to a roadway network. In larger urban areas with extensive transit systems, there is often
also a transit assignment, in addition to the highway assignment. The TPB travel model includes both a
highway assignment and a transit assignment. So-called “four-step” models are trip based, meaning that
trips are the basic unit of analysis, and are also “aggregate,” meaning that the model represents
aggregate person flows and aggregate vehicle flaws between transportation analysis zones (TAZs). In
other words, these models do not model trips that happen within an individual TAZ (intra-zonal trips)
and they do not simulate the movement of individual people or individual vehicles.

A highway assignment can be conducted at one of three different scales: microscopic, mesoscopic, or
macroscopic. The TPB Version 2.3 Travel Model highway assignment is a macroscopic, static traffic
assignment. This is the standard practice for almost every four-step model used in the United States. To
better understand the meaning of a macroscopic traffic assignment, it is useful to understand the two
other scales of assignment: microscopic and mesoscopic. In a microscopic traffic assignment, individual
vehicles are modeled, using a small time-step, such as every second. In a mesoscopic traffic assignment,
platoons of vehicles are modeled, with a demand that varies though the assignment period (e.g., the AM
peak hour demand is higher than the demand found in the shoulder hours of the AM peak period). By
contrast, ina macroscopic traffic assignment, all traffic moving from one zone to another zone is
modeled, but demand does not vary within the assignment period (e.g., a constant demand is assumed
for all three hours in the AM peak period). Although it would seem appealing to use a microscopic or
mesoscopic assignment in a regional travel demand model, these fine-grained assignments are almost
never used in regional travel demand models since they would take too long to run and would require,
at the regional level, too much input data (e.g., information about the traffic control devices and signal
timings at every intersection). Thus, a macroscopic traffic assignment is usually the norm for regional

travel demand models. As noted in a recent TRB report, “While there is much ongoing research into the

' The Version 2.3 family of travel models actually has six major steps. The two additional steps are “demographic
sub-models” and the “time-of-day model.” All six of these steps are described in section 2.3 of this report,
beginning on page 6.

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use of dynamic assignment and traffic simulation procedures, the state of the practice for regional travel

models remains static equilibrium assignment.” ”°

2.1 Model inputs
The major inputs and outputs of the regional travel demand model are shown in Figure 8.The travel
model requires three major inputs:

e Zone-level land activity forecasts for year/scenario X;
e Transportation networks (both highway and transit) for year/scenario X; and
e Transportation policy assumptions for year/scenario X.

From Mode Choice

Zone-to-zone trips by
travel mode

Summarized and validated to jurisdiction level

Modes*

Zone-level land ¢ Three auto modes: 1) Drive alone; 2) Shared ride 2-

activity forecast for person; 3) Shared ride 3+person;
year/scenario X ¢ Four transit modes: 1} Commuter rail: 2) All bus; 3) All
Metrorail; 4) Combined bus/Metrorail
* Three modes of access to transit: 1} Park and ride: 2)
Kiss and ride; 3) Walk
Transportation
network (highway 7 ,| Regional Travel |_|
ee 7 Demand Model From Traffic Assignment
Vehicle trips/volumes on
highway network
Transportation

policy assumptions
Summarized and validated to jurisdictions and
screenlines

From Transit Assignment

* 3 Person trips/volumes on
Note about modes from the mode choice model: irangit network

Although light-rail transit (LRT), bus rapid transit (BRT), and
streetcar are not explicit travel modes in the mode choice

model, the model has, nonetheless, been designed to deal with All transit trips are assigned to the transit network, but
these three special transit modes we currently validate only Metrorail trips (by station
groups)

Figure 8 Major inputs and outputs of the TPB Version 2.3 Travel Model

Ref: travel_model_flowchart_overview_v3.vsd

*” Cambridge Systematics, Inc. et al., NCHRP Report 716: Travel Demand Forecasting: Parameters and
Techniques, National Cooperative Highway Research Program (Washington, D.C.: Transportation Research Board
of the National Academies, 2012), 74, http:/Avww.trb.org/Main/Blurbs/167055.aspx.

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The zone-level land activity forecasts are developed by COG’s Cooperative Forecasting Program, working
through its Cooperative Forecasting and Data Subcommittee.” COG does not use a formal land use
model. In the early 1970s, COG tried using a land use model called EMPIRIC,“ but COG staff was not
satisfied with its performance, and later abandoned its use.” Instead of a land use model, like many
MPOs and regional planning agencies, COG uses a process, often known as a “modified Delphi process,”
which involves reconciling top-down and bottom-up land activity forecasts.“ The top-down forecasts
are regional econometric projections of employment, population, and households. The bottom-up
forecasts are also projections of employment, population, and households, but made at the zone level
and are based on information from the local governments. These bottom-up forecasts are derived from
both building permits (providing short-term information) and comprehensive land use plans (providing
long-term information). Each update of the zone-level, land activity forecasts in the Cooperative
Forecasting program is called a “round” and the latest update is Round 9.1.

Before the zone-level land activity data can be used as an input to the travel model, it must undergo an
adjustment process, known as the CTPP-based employment adjustment, which ensures that a consistent
employment definition is used by all counties and jurisdictions in the modeled area. The reason for this
adjustment is that different jurisdictions in the modeled area, which covers DC, Maryland, Virginia, and
one county in West Virginia, use different definitions of employment. For example, jurisdictions in the
Baltimore region and several other Maryland jurisdictions develop their base-year employment
estimates using data from Bureau of Economic Analysis (BEA). By contrast, most of the jurisdictions in
the Washington region develop their base-year employment estimates using data from the Quarterly
Census of Employment and Wages (QCEW) collected by the Bureau of Labor Statistics (BLS).> The
QCEW is a joint federal/state cooperative arrangement between the BLS and state employment security
agencies (ESAs). According to Spear, “in lieu of using the publicly available QCEW database, some state
DOTs (and even some MPOs) have entered into formal agreements with their state ESAs to obtain
access to the enhanced QCEW microdata files that are used by BLS to develop the QCEW... [The QCEW
files] are more commonly known in the transportation community as ES-202 data, but this terminology

21 “Cooperative Forecasting and Data Subcommittee,” Metropolitan Washington Council of Governments, 2018,
https://Awww.mwcog.org/committees/cooperative-forecasting-and-data-subcommittee/.

22 Peat, Marwick, Mitchell and Company, “EMPIRIC Activity Allocation Model: Application to the Washington
Metropolitan Region” (Metropolitan Washington Council of Governments, 1972).

3 Reid Ewing and Keith Bartholomew, “Comparing Land Use Forecasting Methods: Expert Panel Versus Spatial
Interaction Model,” Journal of the American Planning Association 75, no. 3 (2009): 347.

4 Paul DesJardin, “Round 8.4 Cooperative Forecasts” (March 18, 2015),

hitps://www.mwcog.org/file.aspx? &A=OtImE2Q Wj | BOODeQmbp6QUDbSwY 6PXK%2fzbRb%2bkg WDGhw%3d.
5 Robert E. Griffiths to Ronald Milone, “Travel Model Employment Data Adjustment Factors for Round 7.0,”
Memorandum, August 10, 2005, 1.

2. Overview of the model 19

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is no longer used by BLS.” The most recent CTPP-based employment adjustment was conducted on
Round 9.1 land activity data.”

As for the transportation networks, COG/TPB staff develops a series of highway and transit networks for
the air quality conformity analysis, and these networks are often used as the starting point for other
planning studies. The highway network consists of all freeways, expressways, and major arterials in the
modeled area. It also includes many minor arterials and some collectors, but almost no local roads
(centroid connectors represent local roads, but one centroid connector may represent many local roads,
so there is not a one-to-one representation like one finds for other link types in the highway network).
The highway network forms the base layer for the transit network, since buses mostly make use of the
highway network. In addition to the highway network, the transit network includes the following

elements:

e Transit infrastructure: Transit-only links
e Transfer links
e Transit service

e Transit fares
The latest full-scale documentation of the transportation networks was done in 2018.”
Transportation policy assumptions include the following:

e Assumptions about how transportation costs will increase over time, e.g.,
o Will transit fares rise at the same rate as inflation or a different rate?
o How will auto operating costs change over time?
e Cost of parking;
© For drive-access transit trips, the cost of parking is stored in the station file. For park-
and-ride (PNR)-to-station transfer links, the walk time is a function of parking capacity
and parking cost,*® but parking cost is not used as part of the transit path-building.
© For driving trips not involving transit, a parking cost model is used, where parking cost is
a function of employment density (see section 21.7.1 “Non-transit-related parking

costs”).

6 Bruce D. Spear, “NCHRP 08-36, Task 098: Improving Employment Data for Transportation Planning”
(Washington, D.C.: American Association of State Highway and Transportation Officials (AASHTO), Standing
Committee on Planning, September 2011), ES-7, http://onlinepubs.trb.org/onlinepubs/nchrp/docs/NCHRP08-
36(98) FR.pdf.

27 Hamid Humeida and Ray Ngo to Mark Moran et al., “Developing Land Use Input Files for the Version 2.3 Travel
Model Using Round 9.1 Cooperative Forecasts and the CTPP-Based Employment Adjustment Factors,”
Memorandum, October 25, 2018.

28 Meseret Seifu, Ron Milone, and Mark Moran, “Highway and Transit Networks from the VDOT and MDOT Off-
Cycle Amendment to the 2016 CLRP (TPB Version 2.3.70 Travel Model),” Draft report, June 15, 2018.

? Manish Jain to Ronald Milone and Mark Moran, “MWCOG Network Coding Guide for Nested Logit Model (First
Draft: September 20, 2007; Updated February 2008 and October 2010),” Memorandum, October 2010, 6.

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e Amount of in-commuting from areas outside the modeled cordon.

2.2 Model outputs

The travel model produces a large number of outputs. Each model run produces about 25 GB of output
files. Since many of these are intermediate files, a clean-up process has been added to the model that
moves these intermediate/temporary files to a folder where they can be easily deleted. Once these are
deleted, the amount of output files per model run is about 10 GB. As stated earlier, the travel model is
an “aggregate” model meaning that the model represents aggregate person flows and aggregate vehicle
flows between transportation analysis zones (TAZs). Nonetheless, the model produces many fine-
grained outputs. These include link-level outputs, such as the number of vehicles traveling on a
particular link in the AM peak period, and zone-interchange-level outputs, such as the number of bus
person trips traveling from TAZ X to TAZ Y. However, although the model produces these fine-grained
outputs, the model has not been validated to these fine-grained levels, so it is not recommended that
one use these fine-grained outputs from the travel model. A general rule is that, before using or
reporting any model outputs, they should be summarized or aggregated to the same, or a higher, level
as was used in model validation. For example, although the model produces link-level traffic volumes,
this information should be aggregated to the screenline level, jurisdiction level, or regional level, before
it is used or reported. Despite this rule, these fine-grained outputs are sometimes used in corridor-level
or project-level planning studies, but typically only after the outputs have undergone post-processing
(see, for example the classic report NCHRP 255,7° or its recent update, NCHRP 765°"), Given the regional
nature of most of the transportation planning studies conducted for the TPB, the COG/TPB staff rarely
conducts this type of post-processing work (it is more commonly conducted by consultants working for
local governments or state DOTs). In conclusion, when using outputs of the regional travel demand
model, one should generally use outputs that have been aggregated or summarized to the following

levels:

e Region level, e.g.,

o The modeled area,

o The TPB planning area,

o The metropolitan statistical area (MSA), or

o One of the air quality non-attainment areas, which can vary by pollutant.*”
e Jurisdiction level
e = Jurisdiction-to-jurisdiction level

e For highway assignments: Regional screenlines

°° Neil J. Pedersen and D. R. Samdahl, NCHRP Report 255: Highway Traffic Data for Urbanized Area Project
Planning and Design, National Cooperative Highway Research Program (NCHRP) (Transportation Research Board,
National Research Council, 1982), http://trid.trb.org/view/1982/M/188432.

31 CDM Smith et al, NCHRP Report 765: Analytical Travel Forecasting Approaches for Project-Level Planning
and Design, National Cooperative Highway Research Program (NCHRP) (Transportation Research Board of the
National Academies, 2014).

*2 The modeled area is the largest of these regional areas.

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e Fortransit assignments: Metrorail station groups

Figure 8 shows the three major outputs of the travel model, listing both the disaggregate-level output
and the more aggregate-level output that is recommended for use. Table 5 adds some detail to the

information found in Figure 8.

Table 5 Outputs of the travel model: Disaggregate-level output that is not validated versus aggregate-level output that is
validated

Model producing the Disaggregate-level output Aggregate-level output (recommended for use)
output (Produced by the model, but
not recommended for use)
Mode choice Zone-to-zone trips by travel e = Jurisdiction-to-jurisdiction flows
mode ®  Jurisdiction-level mode spits
e = Region-level mode splits
Traffic assignment Vehicle trips/volumes on the ®  Jurisdiction-level metrics, such as VMT by
road links jurisdiction

e Screenline-level metrics, such as total
number of vehicles crossing screenline

Transit assignment Transit person trips/volumes Although all transit person trips are assigned to the
on transit links transit network, we currently validate only
Metrorail trips, and these are validated only by
station groups (generally three to four stations per

group).

2.3 Modeling steps and the speed feedback loop

The major steps of the Version 2.3 Travel Model, including major inputs and outputs, can be found in
Figure 9. As mentioned earlier, the major inputs are the transportation networks, the zonal land use
data, and the transportation policy assumptions. The model itself, which is delineated in Figure 9 by a
gray, dashed-line forming a box, begins with demographic models and ends with traffic assignment and
transit assignment. Each of the steps of the travel model is discussed in subsequent chapters of the
user’s guide.

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aren Peak-period transit :
r WP accacaiiy to whe |_f ys! Demographic models
External travel ©=_—— > Trip generation

I
I
I
!
!
I
I
!
1 [ v
: _- p> Peak-period composite (
top highway and transit times nee
1 = Trip distribution
I |___ pp, Off-Peak-per. composite
: ' highway and transit times i
i ' Y

1
Io Zone-to-zone
rf Mode choice trips by travel
1 4 Te ps by
14 j mode
1 |
i | [ Y |
toy Residual vehicle . j
I if. Y
: travel by time penod ( TNE oti MOG |

I
| i t
it I
1 ( Vehicle volumes
I : TT" Traffic assignment on highway
: | \ network
I | I
tot
1 | |
: i { l Are travel speeds output from traffic
a i a a a a a i a Convergence? | assignment (TA) equal to travel
Speed Feedback (SFB) Loop: i No speeds input to TD, MC, and TA?
Congested times from the AM and f 1
midday time periods |

| Transit person
( Transit assignment volumes on
| transit network

es iit

Figure 9 Major steps of the Version 2.3 Travel Model

Ref: six_step_model_ver2.3_v3.vsd

As can be seen in Figure 9, the Version 2.3 Travel Model uses a speed feedback (SFB) loop to ensure that
the travel times (and hence speeds) coming out of traffic assignment are consistent with those used as
inputs to trip distribution and mode choice. In theory, at the end of each SFB loop, the model would
have a test to determine whether convergence has been met. In other words, one could continue

running iterations of the speed feedback loop until a convergence stopping criterion has been met.

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Currently, however, we do not use a convergence-based stopping criterion. Instead, based on past tests
with the regional model, we have determined that the model is sufficiently converged after four SFB
iterations,** so we simply use a fixed number of SFB loop iterations (five iterations, including the
initialization iteration, known as the “pump prime” iteration). In the future, we may use a more formal
convergence-based stopping criterion for the SFB loop, such as the percent root-mean-square error
(%RMSE) of the travel skims.** Nonetheless, in 2011, Cambridge Systematics was unable to find any
MPOs that used a formal stopping criterion for the SFB loop.*° The SFB loop and the volume averaging
method used in the SFB loop are discussed in more detail later in this section.

Traffic assignment is discussed both here and in its own chapter (Chapter 23). Like most travel models in
the U.S., the Version 2.3 Travel Model uses a user-equilibrium (UE) traffic assignment, which is the
generally accepted method for static traffic assignments. Furthermore, the assignment process is a
multi-class UE assignment, meaning that separate user classes can be assigned at the same time. The
Version 2.3 model includes six user classes:

Single-occupant vehicle (SOV)

High-occupant vehicle with two persons (HOV2)
High-occupant vehicle with three+ persons (HOV3+)
Medium and heavy trucks

Commercial vehicles

Au PWN bP

Airport passengers traveling to/from the three commercial airports
Additionally, the Version 2.3 model includes four time-of-day periods for traffic assignment:

e AM peak period (3 hours: 6:00 AM to 9:00 AM)

e Midday period (6 hours: 9:00 AM to 3:00 PM)

e PM peak period (4 hours: 3:00 PM to 7:00 PM)

e Night/early morning period (11 hours: 7:00 PM to 6:00 AM)

Most MPOs use a UE traffic assignment that relies on an optimization algorithm known as the Frank-
Wolfe (FW) algorithm.*° The FW algorithm is essentially a series of all-or-nothing traffic assignments
where flows are combined using weights from an optimization process whose goal is to minimize an
objective function. The process stops when a stopping criterion is met. Previously, the Version 2.3 Travel

33 Ron Milone, “TPB Models Development Status Report,” (January 23, 2009),

hitps://www.mwcog.org/file.aspx? &A=%2fTnLbhikP7J4dc5 BCvLqxHQz0%2bq9 WHN4K %2bDGCm64j8s%3d.
4 See, for example, Caliper Corporation, “Traffic Assignment and Feedback Research to Support Improved Travel
Forecasting,” Final Report (Washington, D.C.: Federal Transit Administration, Office of Planning and Environment,
July 31, 2015), pages 3-2 and 3-4, http://www. fta.dot.gov/documents/traffic-assignment-and-feedback-research-to-
support-improved-travel-forecasting.pdf.

35 Cambridge Systematics, Inc., “Fiscal Year 2010 Task Reports,” Final Report (Washington, D.C.: National Capital
Region Transportation Planning Board, November 16, 2010), 1-20 to 1-21,
http://www.mweog.org/transportation/activities/models/review.asp.

36 Marguerite Frank and Philip Wolfe, “An Algorithm for Quadratic Programming,” Naval Research Logistics
Quarterly 3, no. 1-2 (1956): 95-110, https://dot.org/10.1002/nav.3800030109.

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Model used the following UE stopping criterion: When the relative gap < 10° OR the number of UE
iterations > 300. The relative gap threshold was always intended to be the primary stopping criterion,
with the number of UE iterations functioning as a backup criterion. Now, however, we have moved to
what we call a “progressive” relative gap stopping criterion. The idea is that, in the early SFB iterations,
the UE closure criterion will be relatively loose, but, in the later SFB iterations, the UE closure criterion
will tighten, as shown in Table 6.

Table 6 User equilibrium closure criterion (relative gap) varies by speed feedback iteration

Speed feedback | Primary closure criterion for UE traffic | Secondary closure criteria for UE traffic
iteration assignment assignment

Pump prime Relative gap < 10° (i.e., 0.01) Number of UE iterations = 1000

1 Relative gap < 10° (i.e., 0.01) Number of UE iterations => 1000

2 Relative gap < 10° (i.e., 0.01) Number of UE iterations = 1000

3 Relative gap < 10° (i.e., 0.001) Number of UE iterations => 1000

4 Relative gap < 10% (i.e., 0.0001) Number of UE iterations = 1000

By using the higher value for UE iterations (1000 vs. 300), we were able to ensure that this secondary
criterion is unlikely to be used as the stopping criterion. Based on a series of sensitivity tests,*” we found
that the new progressive relative gap scheme results in a relatively converged traffic assignment,
without the extremely lengthy model run times that would be needed if one were to use a high
threshold (e.g., 10 relative gap) for each of the five SFB iterations. The Version 2.3 Travel Model uses a
slight variation of the FW algorithm, called the b/-conjugate Frank-Wolfe algorithm, which converges

marginally faster than the classic FW algorithm.

Regarding data inputs, the zonal land use data that is input to the travel model (Figure 9) includes

information about average household wealth, in the form of an average household income index. This
index is the ratio of the zonal median household income to the regional median household income, in
year-2007 dollars. So-called “residual vehicle” or exogenous trips are added to the modeling stream at

the time-of-day model stage. These trips include

e Through trips (auto and truck);

e Taxi trips;

@ School trips;

e Visitor/tourist trips;

e Airport passenger trips (i.e., trips by air passengers destined to the three commercial airports in

the region).

Figure 10 is another view of the Version 2.3 Travel Model, but with an emphasis on which steps occur

before the speed feedback (SFB) loop and which steps occur within the SFB loop. Before the loop is

37 Mark S. Moran and Ronald Milone, “Status Report on the Version 2.3 Travel Model: Updates to the Model and
Year-2010 Validation” (March 22, 2013), 7-11.

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begun, there is an initialization phase, known as the “pump-prime” iteration. In the pump prime
iteration, a first pass of the travel model is performed using initial AM and off-peak highway speeds, and
initial mode choice percentages (i.e., the mode choice model is not executed in the pump prime
iteration). The “skimmed” highway times are used to develop drive-access-to-transit (zone-to-PNR-lot)
links as part of the transit network. After the transit network is built and skimmed, trip generation and
trip distribution are executed. The resulting person trips are converted to vehicle trips on the basis of
default zone-level mode choice and car occupancy percentages, and these are assigned to the highway
network.

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Initial (“pump-prime”) application of Standard application of the travel
the travel model within the speed model within the speed feedback loop
feedback loop (SFB iteration = PP) (SFB iterations 1 to 4)

Build/Skim highway network

y

Develop auto-access-to- Update auto-access-to-
transit links i transit links
with initial hwy speeds — > with restricted hwy speeds
network

y

Develop transit fares

_
|

Bistid /Skin transit network | Re-build/Skim transit
|
|
|

SFB iterations 1-4 y

Trip generation
Trip distribution

Trip generation
Trip distribution

Mode choice Mode choice
(asserted modal percents) full nested-logit model
Time of day Time of day

v v

|
|
Traffic assignment : Traffic assignment
|
|

Skim loaded highway L _ _ Skim loaded highway
network network
(No Transit Assignment) Transit assignment

(SFB iter 4 only)

Figure 10 Application process of the Version 2.3 Travel Model
Ref: pumpPrime_vs_other_sfb_iter_v5.vsd

The next series of “standard” SFB iterations (1 through 4) involve the execution of the complete travel
model which includes: 1) a mode choice madel execution and 2) the use of recycled traffic assignment-
based speeds as input. The AM peak and off-peak restrained highway times are used to update the
zone-to-PNR link speeds, and the transit network is re-built and skimmed. The highway and transit time
skims are used as inputs to the mode choice model. The auto driver trips produced from the mode
choice model are processed through the time-of-day model, which apportions the auto drivers among

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four time-of-day periods: the AM peak period (6 - 9 AM), the midday period (9 AM - 3 PM), the PM peak
period (3 - 7 PM), and the night/early morning period (7 PM - 6 AM). The four time-of-day trip tables are
subsequently loaded onto the highway network in separate traffic assignment procedures. The loaded-
link volumes are successively averaged using the method of successive averages (MSA) to facilitate the
convergence of the final link speeds. The averaging occurs individually for each of the four time-of-day
periods at the link level, as follows:

e The “final” first iteration link volumes are equal to the “raw” assigned link volumes from the
pump-prime iteration.

e =6The “final” second iteration link volume equals one half of the first iteration link volume plus
one half of the second iteration assigned link volume.

e The “final” third iteration link volume equals 2/3 of the “final” second iteration link volume plus
1/3 of the third iteration assigned volume.

e The “final” fourth iteration volume is not averaged -- it is the direct assignment output.

In both the Version 2.2 and 2.3 travel models, a fixed number of speed-feedback (SFB) iterations is used.
The Version 2.2 model used six speed feedback iterations (in addition to the pump prime iteration). By
contrast, the Version 2.3 model uses four speed feedback iterations (in addition to the pump prime
iteration). The Version 2.3 model produces two final loaded network files called i4_Assign_Output.net
and i4_HWY.NET (not i6hwy.net, as was the case with the Version 2.2 Travel Model). The first file
(i4_Assign_Output.net) is based on the direct trip table output, while i4_HWY.NET is based on volume
averaging. TPB staff use i4_Assign_Output.net to compute the emissions as a part of air quality
conformity and work for the state air quality implementation plans (SIPs).

As shown in both Figure 9 and Figure 10, transit assignment is not conducted within each speed
feedback loop, but is instead conducted once, after the final feedback iteration is complete. Transit
assignment is conducted for two time-of-day periods (peak and off-peak) using trip tables in
production/attraction (P/A) format (not origin/destination format, as is the case for highway
assignment) and, unlike highway assignment, transit assignment is not capacity constrained. Although
both these aspects of transit assignment may seem like shortcomings, the state of the practice for
regional transit assignments is P/A assignment without capacity constraint.*®

2.4 Special modeling procedures used in earlier versions of the travel model
Historically, there have been two transportation phenomena that have required specialized modeling
procedures. The two phenomena were 1) Limited capacity on the Metrorail system to handle the
demand for travel to and through the regional core and 2) High Occupancy/Toll (HOT) lanes.

The first phenomenon, a limit on Metrorail’s peak-period capacity, was modeled using a procedure
called the Metrorail constraint to and through the regional core. This modeling technique was used from
about 2001 to 2018. In 2018, however, WMATA received new dedicated funding from the District,

Northern Virginia, and suburban Maryland, which meant that the transit authority would likely have the

38 See, for example, Cambridge Systematics, Inc. et al., NCHRP 716, 77.

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funds to handle its peak volumes to/through the regional core. Thus, in 2018, WMATA requested that

this procedure stop being used. The last model to use this procedure was the Ver. 2.3.70 Model.

The second phenomenon, HOT-lanes, is still in effect and will be for the foreseeable future, but the
technique for modeling it has been changed in the Ver. 2.3.75 Model. In the Ver. 2.3.70 Model, and
older model versions, a special procedure was used, known as the HOV3+ highway skim replacement

(HSR) procedure or the multi-run traffic assignment procedure.

As discussed in Section 1.3, starting with the Ver 2.3.75 Model, both the Metrorail constraint and the
HSR procedure have been eliminated. Nonetheless, the Ver. 2.3.75 model still includes two special
modeling procedures, which are not used for general application of the model, but can be used when
the need arises. One is estimating toll values on HOT-lane facilities. The other is for performing select-

link analyses. Both special procedures are described below.

2.4.1 Toll estimation for high occupancy/toll (HOT) lanes

According to a recent FHWA report, “ ‘Managed lanes’ are defined as highway facilities or a set of lanes
where operational strategies are proactively implemented and managed in response to changing
conditions....Examples of operating managed lane projects include high-occupancy vehicle (HOV) lanes,
value priced lanes, high-occupancy toll (HOT) lanes, or exclusive or special use lanes.”*? Most HOT lane
facilities exist on freeways which include one or more adjacent general purpose (GP) lanes that are not

managed.
2.4.1.1 HOT lanes which allow free use with 3+ occupants per vehicle

On Nov. 17, 2012, HOT lanes, known as the I-495 Express Lanes, opened on 1-495 in Virginia. On this
facility, vehicles with three or more occupants (HOV3+) may use the facility for free, but single-occupant
vehicles (SOVs) and two-occupant vehicles (HOV2) must pay a toll to use the facility. The toll is
dynamically set, every six minutes or so, based on congestion levels. The toll is set such that the HOT
lanes will remain free flowing. In December 2014, HOT lanes, known as the I-95 Express Lanes, opened
on I-95. This second facility also had the same HOV restriction (HOV3+), so both facilities are HOT3+.

Given the advantageous treatments in favor of HOV3+ traffic, such as the fact that HOV3+ vehicles are
not charged tolls like non-HOV3+ (in both mode choice and traffic assignment), staff decided to
eliminated the HSR procedure.” Obviously, a central modeling objective in representing HOT lanes is to
specify detailed toll rates that will result in demand levels that do not degrade the prevailing speed on
the HOT facility. To achieve this objective, the following three steps (reduced from four steps in previous

model versions when HSR procedure was used) are implemented in the Ver. 2.3.75 model on a year-by-

year basis to perform toll setting (i.e., estimate toll values) on HOT lanes. Note that the toll-setting

°° FHWA, “Managed Lanes: A Primer” (Washington, D.C.: U.S. Department of Transportation, Federal Highway
Administration, 2008), 5,

http://www.ops.fhwa.dot.gov/publications/managelanes_primer/managed_ lanes _primer.pdf.

“ Feng Xie and Dusan Vuksan to Files, “Evaluating the Modeling Effects of Eliminating the ‘HOV Skim
Replacement’ Process.”

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procedure is conducted by TPB staff. Thus, many users of the TPB model never perform this step (since
the estimated toll values for future-year networks are provided as part of the model transmittal
package). For those with an interest in the current toll-setting procedure, please consult the 2018 memo

cited here and earlier.
2.4.1.2 HOT lanes which allow free use with 2+ occupants per vehicle

VDOT is recommending managing the I-66 HOT lanes inside the Beltway as a HOT2+ facility beginning in
2017 and continuing through 2020. Before this point, the only HOT lane facilities in the region were
HOT3+. The Air Quality Conformity Analysis for Visualize 2045 includes six analysis years: 2019, 2021,
2025, 2030, 2040, and 2045. Among those years, only 2019 contains the HOT2+ facility of |-66 HOT lanes
inside the Beltway. Since the HSR procedure has been removed, the similar three steps discussed in
section 2.4.1.1 are implemented in Ver 2.3.75 for year-2019 to simulate HOT lanes. The only difference
is that HOV2+ traffic is free to operate on HOT2+ facility, thus HOV2+ skims developed in Step 2 will be
used in Step 3.

Please also see the discussion of the treatment of airport passenger auto driver trips on HOV- and HOT-
lane facilities in section 23.3.8 (p. 204).

2.4.2 Select-link analyses

A select-link analysis (SLA) and a select-link assignment are common procedures in travel demand
modeling, but these are not part of our standard modeling procedures. There are theoretical reasons
why SLAs should not be performed,** but we often get requests for help with running SLAs. COG/TPB
staff has developed some SLA procedures* for the Ver. 2.3 travel model, which may be requested by
outside parties in the normal fashion (see https://www.mwcog.org/transportation/data-and-

tools/modeling/data-requests/).

4! Feng Xie and Dusan Vuksan to Files, “Evaluating the Modeling Effects of Eliminating the ‘HOV Skim
Replacement’ Process,” Memorandum, March 7, 2018.

*? See, for example, Hillel Bar-Gera and Amos Luzon, “Non-Unique Solutions of User-Equilibrium Assignments
and Their Practical Implications,” in Compendium of Papers CD-ROM (Transportation Research Board 86th Annual
Meeting, held January 21-25, 2007, Washington, D.C., 2007).

* Feng Xie to Files, “Select Link Analysis for TPB’s Version 2.3.70 Travel Demand Model,” Memorandum,
September 14, 2018.

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3 Hardware and software requirements

This section of the report describes the hardware and software requirements for running the Version 2.3

family of travel models, with an emphasis on the Ver. 2.3.75 model. It also includes a section discussing

the hardware used for modeling at COG. In addition to requirements, this section of the report also

discusses any recommendations regarding hardware and software.

3.1 Hardware

e Processor/central processing unit (CPU)/chip:
o Intel or Intel-like processor, e.g., Intel, AMD, with 64-bit architecture (“x64”).

o Number of cores: The Version 2.3.75 Travel Model has been designed to run some steps

in parallel, using Cube Cluster.

During the highway assignment step, there can be up to 8 concurrent program
threads running at once, which means that it is recommended that you have a
computer with 8 or more cores. Nonetheless, you can run the regional travel
model on a computer with only 4 or 2 cores (see instructions found in Table 19
on p. 84), however, due to rounding issues in Cube Cluster, running with fewer
than the recommended 8 cores may result in slight differences in modeled
results.

The two biggest chip manufacturers are Intel and AMD. Some Intel chips feature
a technology known as Hyper-Threading. When Hyper-Threading technology is
enabled on the chip, the operating system sees double the number of cores. So,
if your computer has four cores and Hyper-Threading is enabled, the operating
system will see eight virtual cores, thus doubling your CPU capacity. See the
section 8.2.1 for more details. COG/TPB staff has executed the Version 2.3
family of travel models on only computers running Intel chips, but the model
should run equally well on computers running AMD chips.

o Chip/CPU speed: While there is no minimum chip speed, we have found that model run

time scales inversely with chip speed, so a faster chip/CPU is always preferred. We

recommend a chip speed of around 3 GHz.

e Memory: 64-bit versions of Windows can a large amount of memory (e.g., from 128 GB on
Windows 10 Home to 2 TB on Windows 10 Pro). However, based on experience, running the
Ver. 2.3 model runs is not memory intensive, so 3 to 4 GB of RAM should suffice. Some of our

current travel mode servers have 32 GB of RAM, but, again, this does not seem to be needed for

the current, trip-based model.

e Storage space: We recommend you have at least 500 GB of free space on your computer
storage -- hard disk drive (HDD) or solid-state drive (SSD). One modeling scenario/year
generates about 25 GB of files (1,600 files) before the clean-up procedure is run, and about 10

GB of files after the clean-up procedure is run. A solid-state drive (SSD) could provide shorter

model run times, but in one test we performed on a new travel model server, the SSD

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performed no better than the hard drive.” This result was unexpected, since one would
generally expect an SSD to out-perform an HDD. In this test, the data drive was an SSD and the
operating system (O/S) drive was a HDD. We did not, however, have time to test the case where
both the data drive and the O/S drive were SSDs.

3.2 Software

Operating system: Microsoft Windows (64-bit version), such as Windows 10, Windows Server
2008, or Windows Server 2012. To our knowledge, the Ver. 2.3.75 model has not been tested at
COG using Windows 10, but it should work.

The Version 2.3.75 Travel Model: This is provided for free to those who request it. The
procedures for requesting the model can be found on the “Data Requests” webpage

(https://www.mweog.org/transportation/data-and-tools/modeling/data-requests/). In short,

one needs to send an e-mail or a signed letter to Ronald Milone, Director of Travel Forecasting
and Emissions Analysis, in COG’s Department of Transportation Planning. The e-mail/letter
should indicate how you intend to use the model, naming the specific study or research project,
if applicable. When someone is given the TPB travel model, this includes the model inputs
(principally transportation networks and land use data), batch files, Cube Voyager scripts, and
the Fortran program used to run the mode choice model. Although Cube Voyager scripts are
part of the model transmittal package, you cannot run these scripts without having a copy of
Cube Voyager software (see below). Please note that the COG/TPB staff does not have the
resources to staff a “help desk” for the regional travel model, so it is expected that individuals
who request the travel model will have the knowledge and skills to use the model with minimal
assistance from COG/TPB staff.

Citilabs Cube software: The TPB Version 2.3.75 Travel Model is implemented using Citilabs Cube
software, a proprietary software package, which is produced, licensed, and marketed by Citilabs,
Inc. Thus, to run the regional travel model, you will need to purchase the Cube software from
Citilabs (www.citilabs.com). COG/TPB staff cannot provide copies of the Citilabs Cube software.

o Cube Base: Cube Base is the graphical user interface (GUI) for editing transportation
networks, matrices, and scripts. In theory, Cube Base can also be used for managing
network scenarios (Scenario Manager) and running travel models (Application
Manager), but that is not how the Version 2.3 family of travel model have been
implemented. Instead, the Version 2.3 model is implemented using a command-line
interface (CLI), as described later in this report. Note that Cube Base is 32-bit software
(Cube Voyager is 64 bit).

o Cube Voyager: Cube Voyager is the numerical engine that powers the Cube suite of
software and includes its own proprietary scripting language. The Version 2.3.75 Travel
Model has been developed and applied by COG/TPB staff using Cube versions 6.4.1, so
it is recommended you use Cube 6.4.1 with the Ver. 2.3.75 Model. As noted above,

“* Dzung Ngo and Mark S. Moran to Ronald Milone et al., “Benchmark Tests on Travel Model Server #7 (Tms7) to
Determine the Configuration for the Server’s Hard Drives and the Potential Use of Cube’s 64-Bit Version,”
Memorandum, February 2, 2016, 8.

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Cube Voyager is 64-bit software. In the past, we noted that Cube Voyager 6.4.2 was less
stable when running the ArcPy transit walkshed process. ® For the transmittal version of
the Ver. 2.3.75 model, we plan to “comment out” the automated ArcPy transit walkshed
process as we did in Ver. 2.3.70,** since most users do not need to re-run this step (the
output file from this process, areawalk.txt, is delivered with the model transmittal
package). From our past experience, the automated ArcPy transit walkshed process is
the modeling step that is most likely to result in the model run stopping prematurely. If
a model user wants to make changes to the transit network, then they are
recommended to uncomment the statement that calls this procedure, allowing the
procedure to run as one of the first steps of the model.

o Cube Cluster: Cube Cluster is Citilabs’ implementation of distributed processing, which
is a technique for distributing computing jobs across multiple computers or processors,
thus reducing model run times by allowing two or more processes to run in parallel.
Strictly speaking, Cube Cluster is not required to run the Version 2.3 Travel Model. But it
is strongly recommended, in order to keep model run times to a minimum, and, if you
choose not to use it, you will have to modify the model setups that are supplied by
COG/TPB staff (this is described later in this report).

e ArcGIS Engine Runtime 10.1 or 10.3.1 or ArcGIS 10.1. ArcGIS Engine Runtime 10.3.1 comes with
Cube 6.4.1. When installing Cube, the software installation process will check to see if ArcGIS
has already been installed on your computer. See Table 20 on p. 98 for more information. The
easiest setup would be to install Cube on a computer that does not have ArcGIS.

e Atext editor (optional but recommended): The choice of which text editor to use is a personal
one. Cube Base includes its own text editor, optimized, obviously, for editing Cube Voyager
scripts. In addition to the Cube Base built-in text editor, COG staff uses one or more of the of the
following: Notepad++ (free and open source), PSPad (free, but not open source), KEDIT (for
purchase, though the software may no longer be supported by the vendor).

e Software for comparing or diffing text files (not required but recommended). COG staff uses
both WinDiff, which is older, and WinMerge, which is newer and has more functionality. Both
are available for free.

e Cygwin (optional, http://www.cygwin.com/) is a Linux-like environment for Windows that

provides a series of Unix-like command-line tools, such as head, tail, and which. This free and
open source software is no longer part of the model stream, so users no longer need to install
this (though some users may still choose to install this software to get access to its suite of Unix-

like utility commands).

“5 Mark Moran, Ron Milone, and Meseret Seifu, “User’s Guide for the COG/ TPB Travel Demand Forecasting
Model, Version 2.3.70. Volume | of 2: Main Report and Appendix A (Flowcharts),” November 28, 2017,
https://www.mwcog.org/assets/1/6/mwcog_tpb_travel_model_v2.3.70_user_guide_v7_appA_flowch.pdf.

“6 Tn the run ModelSteps_*.bat batch file, the line “call ArcPy_Walkshed_ Process. bat %1” should have “REM” at
the beginning of the line to comment out this step.

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3.3 Examples of computer hardware used at COG for modeling

COG/TPB staff performs most modeling runs on computer servers that are dedicated for this task,
though one can also run the travel model on a standard, desktop computer. COG/TPB staff typically
accesses a travel model server (TMS) using a Remote Desktop Connection. We currently have five travel
model servers, named tms4, tms5, tms6, tms7, and tms8. Tms8 is the most recent travel model server at
COG. Currently, COG’s Models Applications Group makes use of tms4, tms6, and tms7 and COG’s

Models Development Group makes use of tms5 and tms8.

Table 7 compares the computer specifications (“specs”) of the latest travel model servers used by the
Models Development Group (tms8) and the Models Applications Group (tms7). Both computers are
running 64-bit versions of Windows Server 2012 R2 Standard.

Table 7 Comparison of computer specs between tms7 and tms8

Host Name: Tms7 Tms8

OS Name: MS Windows Server 2012 MS Windows Server 2012
R2 Standard R2 Standard

OS Version: 6.3.9600 Build 9600 6.3.9600 Build 9600

System Manufacturer: HP HP

System Model: ProLiant DL380 Gen9 ProLiant DL380 Gen10

System Type: 64-bit 64-bit

Number of processors: 2 2

Processor name(s):

Intel Xeon E5-2687W V3

Intel Xeon Gold 6146

Clock speed of processor (GHz):

3.10

3.20

No. of cores/processor: 10 12

No. of threads/processor: 20 24

Total number of cores: 20 24

Total number of threads: 40 48
Hyper-Threading Technology: Yes Yes

Total Physical Memory (MB): 32,640 MB 65,196 MB

Hard drives for data storage:

Total 6 disks for drives C &
F

Local Disk (C:), 1 TB, RAID

Local Disk (C:), 325 GB,

1 (2 disks) RAID 10
Data (E:), 3.277B, RAIDS | Data (F:), 4.04 TB, RAID 10
(4 disks)

SSD (F:), 186 GB, RAID O
(for testing)

Ref: "I:\ateam\decum\fy19\memos\travel_model_server_tms_specs_2018. xlsx"

On a 64-bit computer with a 64-bit version of windows, some applications are 32-bit applications
whereas others are native 64-bit applications, and each type of application has its own installation

folder, as shown below:

e Installation location for 64-bit applications: “C:\Program Files”

o Example: Cube Voyager

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e Installation location for 32-bit applications: “C:\Program Files (x86)”
o Examples: Cube Base, WinMerge

Although both tms7 and tms8 have two processors, tms7 has 10 cores per processor, resulting in a total
of 20 physical cores. By contrast, tms8 has 12 cores per processor, resulting in a total of 24 physical
cores. Because of Intel’s Hyper Threading Technology, each server appears (to the operating system) to
have double the number of cores. Thus, tms7 appears to the operating system as 40 virtual cores (which
can handle 40 threads of instruction) and tms8 appears to the operating system as 48 virtual cores
(which can handle 48 threads of instruction). The processor clock speeds for tms7 and tms8 are 3.1 GHz
and 3.2 GHz, respectively. Regarding total physical memory, tms8 has 64 GB of RAM, double the size of
tms7’s RAM.

One can use the total number of cores in a computer to determine the maximum number of concurrent
model runs that can be conducted. Since the Version 2.3.75 model is set up to use a maximum of 8
threads/cores, three concurrent model runs require the simultaneous use of 24 (= 3 x 8) cores. Four
concurrent model runs could require up to 32 (= 4 x 8) cores. In tests conducted on tms6, which has 32
virtual cores (“threads”), TPB staff found that we could run four concurrent model runs of the Ver.
2.3.57 model (the results should apply to the Ver. 2.3.75 model as well). However, In the past, using
Cube 6.1 SP1, we had found that, if two or more users tried to launch concurrent model runs, even if
there were only two users, each with one model run, then one of the two model runs would often
crash.” However, under Cube 6.4.1, we found that two or three users can submit concurrent model
runs.*® This is one improvement of Cube 6.4.1. For users who are running the automated ArcPy transit
walkshed process, it is still necessary to use a 45-minute offset for launching model runs, so that only
one instance of ArcGIS is running at a time. Also, based on recent communications with Citilabs
(personal communication, 2/6/17), it is better not to overload the processor, so, although a 32-core
computer should be able to run 4 concurrent model runs (4 x 8 = 32), it would be better to limit this
computer to 3 concurrent model runs. It is hoped that further information about this issue will be added
to future Cube documentation.

Travel model servers often have two logical disk drives: one containing the software, usually called “C:”,
and one used to store data, such as the model runs. Each one of these logical disks could actually be one
or more disks, storage arrays, or, conceivably, solid state drives. The data drives associated with the
travel model servers at COG are shown in Table 8.

“7 Mark S. Moran and Dzung Ngo to Ronald Milone et al., “Stress Tests of Travel Model Server #6 (Tms6) to
Determine the Maximum Number of Model Runs That Can Run Concurrently,” Memorandum, October 29, 2014.

48 Dzung Ngo to Mark S. Moran et al., “Testing the COG/TPB Travel Model Servers: 1) Need for Admin Privileges;
2) Ability to Run Two or More Concurrent Model Runs by Two or More Users; 3) Experience with Malware,”
Memorandum, June 6, 2017, 5.

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Table 8 Computer storage drives used for travel demand modeling

Mapped

Drive Drive
Server UNC Path Letter Size Setup
nas \\nas\TMSARCHIVE\MODELAPP N: 13.9TB RAIDS
nas \\nas\TMSARCHIVE\MODELDEV O: 13.9TB RAIDS
sas \\sas\dtp_sas$ S: 649GB VM. Gets storage from the SAN.
tms4 \\tms4\D Y: 2.41TB RAIDS5
tms5 \\tms5\E x: 45TB RAIDS
tms6 \\tms6\ateam L: 2TB RAIDO
tms6 \\tms6\bteam P: 2TB RAIDO
tms6 \\tms6\ateamarray T: 10TB RAIDS DAS
tms6 \\tms6\bteamarray V: 10TB RAIDS DAS
tms7 \\tms7\Data M: 3.3TB RAID 5 (4 disks)
tms8 \\tms8\F Z: 4TB RAID 10

Ref: " |:\ateam\docum\fy19\tpb_tdfm_gen2\ver2.3\travel_model_user_guide\mapped_drives_cog_2018.xlsx"

For example, tms4 has one data drive with a capacity of 2.4 TB. This drive is mapped as the D drive when

logged on to tms4 and is mapped to the Y drive when not logged on to the server. By contrast, tms6 has

four data drives. The UNC path for each data drive indicates both the server name (e.g., tms6) and the

share name (e.g., ateam). Logical drives that are made of storage arrays consist of multiple physical disk

drives, which can be configured in different ways to allow redundancy (using RAID, which stands for

Redundant Array of Inexpensive Disks or Redundant Array of Independent Disks). RAID 0 provides no

redundancy, but it can often be the fastest configuration. For example, ateamarray and bteamarray

have been set up with RAID 5, so they have redundancy in the case of a hard drive crash.

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4 Mechanics of the model application process

The Version 2.3 family of travel models, including Ver. 2.3.75, is applied using a command-line interface
(CLI), not a graphical user interface (GUI). The model is launched via a single command that is typed or
pasted in a single command window (this is covered in the section about running the model). The
Version 2.3 Travel Model makes use of the following:

e Aseries of pre-established batch files, which are used to call a series of Cube Voyager scripts
(*.s) and Fortran programs (*.exe);

e Astandardized subdirectory system, in which input files, output files, Cube Voyager scripts, and
other files are organized; and

e The use of generically named input and output files, which are stored in designated locations in

the subdirectory system.

An example subdirectory structure for applying the Version 2.3 model is shown in Figure 11. The “root”
subdirectory appears at the top of the structure. The root subdirectory may exist anywhere on the
computer hard drive and may be arbitrarily named by the analyst, but it is recommended that the name
of the root subdirectory include information about both the travel model being used (e.g. Ver2.3.75)
and the modeling project being undertaken. For example, an analyst performing model runs to support
the Air Quality Conformity (AQC) analysis of the Constrained Element of Visualize 2045, the TPB’s Long-

Range Transportation Plan (CE LRTP) might name the root subdirectory as follows:
C:\ modelRuns\fy18\Ver2.3.75_aqc_Vis2045

Note that the root subdirectory need not be located directly off the root of the C drive (or D drive, etc.).
In the example above, the root subdirectory is below the “fy18” subdirectory. On the left side of Figure

11, there are five specially designated subdirectories under the root that are established:

e SOFTWARE: Fortran executable files and dynamic-link library (DLL) files

e CONTROLS: Control files that are required by the Fortran programs

e SCRIPTS: Cube Voyager scripts

@ SUPPORT: General parameter files used by the scripts or other programs, such as AEMS

(Fortran) and LineSum (C++)

e SUMMARY: Summary scripts, which are used to summarize the model run

The first four subdirectories are required, but the fifth subdirectory is optional. The SUPPORT
subdirectory is reserved for parameter files that generally do not change by modeled scenario such as K-
factors, F-factors, and the like. The four required subdirectories must exist under the root, and must be

named as shown, although the names are not case sensitive. The optional summary subdirectory may

be given any name. Furthermore, the files residing in these four required subdirectories should generally

not be altered or renamed.

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“Root” or project subdirectory

Ver2.3.75_aqe_Vis2045

Batch Files
“Model Output Subdirectories” by
Year / Alternative
SOFTWARE
Fortran Executable Files & DLLs — 2019 Final
CONTROLS INPUTS |
Fortran Control Files
SCRIPTS
Cube Voyager Script Files TRANSUM
SUPPORT 2021_ Final
Model Parameter Files
(that do not vary by scenario)
| INPUTS
SUMMARY
Summary Scripts (optional)
TRANSUM
etc.

Figure 11 Subdirectory structure for executing the Version 2.3 Travel Model
Ref: "I:\ateam\docum\fy19\tpb_tdfim_gen2\ver2.3\travel_model_user_guide\directoryStruct_v2.3.75_model_v2.vsd"

The right side of Figure 11 shows two subdirectories, named “2019 Final” and “2021 _Final.”*° These
two subdirectories are the output subdirectories (a.k.a. the scenario subdirectories). The user is free to
choose any name for output subdirectories. Since travel demand models are best used in a comparative

# As of the Ver. 2.3.75 Model, we no longer require two runs of the travel model (“base” and “final”) for each
scenario modeled. However, some modelers continue to use the name “final” (e.g., 2021 final), even though there is
only one run per scenario.

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manner, a travel demand modeling project would typically have two or more scenarios or alternatives.
Each alternative would get its own output subdirectory for scenario-specific outputs from the travel
model.

Under each scenario-specific subdirectory that exists, there need to be two subdirectories, one named
“inputs” and the other named “transum.” These exact names must be used, but, as stated previously,
names are case insensitive. The “transum” subdirectory is for storing summary information about the
transit assignment summary. At the beginning of the model run, the “transum” subdirectory will be
completely empty, but, at the end of the run, the subdirectory will contain reports from the process
(LineSum) that summarizes the transit assignment. The “inputs” subdirectory is where one stores all
necessary model inputs that area specific to a modeled scenario (see Table 9). Note that some “inputs”
that are common to all modeled scenarios are stored in the “support” subdirectory (see Table 9, which
also includes input files stored in the CONTROLS subdirectory). Input files in the “inputs” folder are
named generically (e.g., land use data is stored in a file named zone.dbf; network link data is stored in a
file named link.dbf, etc.}. The user may establish an unlimited number of output subdirectories, as long
as each one contains one “inputs” subdirectory and one “transum” subdirectory. Neither the inputs nor
transum subdirectories can be shared among more than one alternative. After a model has been run, if
the automated transit walkshed process was run with the model, then the “inputs” folder will contain a
new subfolder called “Transit_Walksheds_ GIS.” In the default setup found with the model transmittal
package, the automated transit walkshed process is not run (it is commented out). Note that the
primary output file from the automated transit walkshed process (areawalk.txt) is now supplied in the
inputs folder as part of the model transmittal package, so users need not re-run the process (it is
commented out by default) unless users plan to make changes to the transit network, in which case it is

recommended that the process be run.

The actual structure of the folders/subdirectories storing the travel model, its input files, and output
folders, will be a function of the years/scenarios analyzed, but the list below is representative:

+---2019 final
|  +---Inputs
J = \---transum
+---2021 final
|  +---Inputs
| = \---transum
+---Controls
+---Docs
+---Scripts
+---Software
+---Summary
+---Support

if one is running multiple scenarios, it is recommended that the analyst set up an electronic
spreadsheet to keep track of metadata associated with each model run. The metadata of importance
will vary from study to study, but might contain items such as:

e Run number/ID (a unique sequence number to quickly name a model run)

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e Parent run number/ID (indicates the run number of the run that formed the basis for the
current run). Useful in figuring which run was derived from which other runs.

e Subdirectory name {i.e., the name of the root folder/subdirectory)

e Key modeling assumption parameters, such as the network year, land use year, land use round
(e.g., Round 9.1), WMATA tariff number, etc.

e Key modeling output parameters, such as model run time, regional VMT, total transit, etc.

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Table 9 Input files needed to run the Version 2.3 Travel Model, stored in the CONTROLS, INPUTS, and SUPPORT folders

Transit/
Non-
File Transit
No. Folder Filename Description Type Category Modeling step where file is used Modets)
1 controls HBO NL MC.ctl HBO nested-logit mode chaice mode control file Text Model Mode choice (MC_Purp.bat & AEMS.EXE)
2 controls HBS NL MC.ctl HBS nested-logit mode choice mode control file Text Model Mode choice (MC_Purp.bat & AEMS.EXE)
3 controls HBW NL MC.ctl HBW nested-logit mode choice mode control file Text Model Mode choice (MC_Purp.bat & AEMS.EXE)
4 controls lineSum MR_access.ctl Summary of Metrorail riders by access mode Text Summary LineSum.exe
5 controls lineSum_MR line.ctl Summary of Metrorail boardings, alightings, and ridership Text Summary LineSum.exe
6 controls LineSum_Volume.ctl Consolidate peak & off-peak vols from transit assignment Text Summary LineSum.exe
7 controls NHO NL MC.ctl NHO nested-logit mode choice mode control file Text Model Mode choice (MC_Purp.bat & AEMS.EXE)
B controls NHW ONL MC .ctl NHW nested-logit mode choice mode control file Text Model Mode choice (MC_Purp.bat & AEMS.EXE)
9 controls station names.dbf ‘Contains rail station names (derived from station.dbf) DBF Metadata Created by set_factors.s; Used by LineSum
1 inputs airpax.adr Air Passenger Auto Driver Trips Binary 4 ions Miscell. time of day
2 inputs AM_Tfac.dbf AM Toll Factors by Vehicle Type DBF Assumptions. Highway skimming and assignment
3 inputs areadef3722.prn Input TAZ-Mode choice district equivalence Text Assumptions Transit fare development (prefarv23.s)
4 inputs AreaWalk.txt Optional. This file is now generated/re-generated by model Text Transit network Generated by automated ArcPy process.
5 inputs AT override. TXT ‘Cases where zones have area-type override values Text Assumptions AreaType_File.s
6 inputs Bus Factor File.dbf Local Bus Time Degradation Factors DBF Assumptions transit_skims_??.s.
7 inputs bus pnrn.th Bus PNR lots Text Transit network transit_skims_??.s 12,69
& inputs BUSFARAM.ASC AM Bus Fare matrix (Bus fares zones ‘1" to '21') Text Assumptions mfare2.s
9 inputs BUSFAROP.ASC OP Bus Fare matrix (Bus fares zones '1" to ‘21') Text Assumptions mfare2.s
10 inputs com_bus.th Transfer link (walk) between commuter rail station and bus & LRT stop Text Transit network transit_skims_??.s. 12
11 inputs com_link.tb ‘Commuter rail links Text Transit network transit_skims_ 4
12 inputs com_node.tb Commuter rail stations Text Transit network transit_skims_ 4
13 inputs Commuter rail PNR lots Text Transit network transit_skims_??. 4
14 inputs Assumed rate of inflation, based on historical CPI Text Assumptions Set_CPl.s.
15 inputs External Productions and Attractions DBF Observed data trip_generation.s
16 inputs GIS variables used to calculate non-motorized trips DBF Observed data trip_generation.s
17 inputs HBO _NL_MC .MTT Pre-existing mode choice model! output Binary Assumptions. Pp_auto_drivers.s
18 inputs HBS_NL MC .MTT Pre-existing mode choice model output Binary Assumptions pp_auto_drivers.s
19 inputs HEW_NL MC .MTT Pre-existing mode choice model output Binary Assumptions pp_auto_drivers.s
20 inputs Jur .dbt Equiv. between juris and river superdistricts: Disallows river crossings for PNR DBF Land use AutoaccS.s
21 inputs Link. dbf Highway network links DBF Highway network V2.3_Highway_Build.s
22 inputs irt_bus.tb Transfer link (walk) between LRT station and bus stop Text Transit network transit_skims_??.s. 12
23 inputs irt link, tb LRT links Text Transit network transit_skims_??.s 5
24 inputs irt node.tbh LRT stations/stops Text Transit network transit_skims_??.s 5
25 inputs irt_pnrn.th LRT PNR lots Text Transit network transit_skims_??.s 5
26 inputs MD_Tfac.dbf MD Toll Factors by Vehicle Type DBF Assumptions Highway skimming and assignment
27 inputs met bus.tb Transfer link (walk) between Metrorail station and bus stop Text Transit network transit_skims_??.s 12
28 inputs met link.tb Metrorail links Text Transit network transit_skims_??.s 3
29 inputs met_node.th Metrorail stations Text Transit network transit_skims_??.s 3
30 inputs met _pnrn.th Metrorail PNR lots Text Transit network transit_skims_??.s. 3
31 inputs metinkml.tb Metrorail Links Text Transit network metrorail_skims.s
32 inputs metnodml.tb Metrorail Nodes Text Transit network metrorail_skims.s
33 inputs mfarel.al Metrorail Sta X¥s scaled to 1/100ths of miles Text Transit network mfarel.s
34 inputs mfarel Sta Dise. Asc Metrorail Sta fare discount array in cents Text Assumptions. mfare1,s
35 inputs . MODE1OAM. tb AM Transit Line Files Text Transit network transit_skims_??.s
36. inputs . MODE1O0P. tb ‘OP Transit Line Files Text Transit network transit_skims_??.s
37 inputs new_bus.tb Transfer link (walk) between BRT/streetcar stop and bus stap Text Transit network transit_skims_??.s 12
38 inputs new_link.tb BRT/'streetcar links Text Transit network transit_skims_??.s. 10
a9 inputs new _node.tb BRT/streetcar stations/stops Text Transit network transit_skims_??.s 10
40 inputs new_pnrn.tb BRT/streetcar PNR lots Text Transit network transit_skims_??.s 10
41 inputs NHO_NL MC .MTT Pre-existing mode choice model output Binary Assumptions pp_auto_drivers.s
42 inputs NHW_NL MC .MTT Pre-existing mode choice model output Binary Assumptions pp_auto_drivers.s
43 inputs Node. dbf XY coordinates of nodes in highway network DBF Highway network AreaType_File.s
44 inputs NT Tfac.dbf NT Toll Factors by Vehicle Type DBF Assumptions. Highway skimming and assignment
45 inputs Pen. dbf List of TAZs considered to be in the "slugging™ shed of the Pentagon DBF Assumptions. Autoaccs.s
46 inputs PM_Tfac.dbf PM Toll Factors by Vehicle Type DBF Assumptions highway_assignment.s
47 inputs schl.adr School Auto Driver Trips Binary Assumptions. misc_time-of-day.s

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Transit/
Non-
File Transit
No. Folder Description Type Category Modeling step where file is used Mode{s)}
48 inputs Lookup table: Maximum drive-access-to-transit distances DBF Assumptions Autoacc5.s
49 inputs Station file: Metrorail, commuter rail, LRT stations/PNR lots and bus PNR lots DBF Transit network parker.s
50 inputs WMATA tariff policy Text Assumptions mfarel.s
51 inputs Taxi Auto Driver Trips Binary Assumptions misc_time-of-day.s
52 inputs tazfirzn.ase Fare Zone File Text Assumptions prefarv23.s
53 inputs Toll_Esc.dbf Toll escalation assumptions: Highway tolls & deflators DBF Assumptions V2.3_Highway_Build.s
54 inputs trnpen.dat Turn Penalty file to ensure correct Metrorail fares Text Assumptions metrorail_skims.s
55 inputs visi.adr Visitor Auto Driver Trips Binary Assumptions misc_time-of-day.s
56 inputs xtrawalk Extra walk links that the analyst wishes to include DBF Transit network walkacc.s 13
57 inputs xxaut. Auto Driver Through Trips Binary Assumptions misc_time-of-day.s
58 inputs XXCVT vt Com/Mtk/Htk through Trips Binary Calculated data misc_time-of-day.s
59 inputs Zone .dbf Land use/land activity data at zonal level, 3722 TAZ DBF Larid use AreaType_File.s
1 support AM_SPD_LKP.txt Initial lookup speeds used for highway links, AM period Text Highway network V2.3_Highway_Build.s
2 support AttrRates.dbf Trip Attractions DBF Calculated data trip_generation.s
3 support 3 Calibration matrix, or "delta table" for commercial vehicles Binary Assumptions misc_time-of-day.s
4 support Equivalent minutes (min/'07S) by period & income level Text Assumptions trip_distribution.s
5 support HB Income Shares DBF Calculated data trip_generation.s
6 support hwy_assign _capSpeedLookup. FT x AT Speed & Capacity lookup Text Highway network highway_assignment.s
7 support y_assign Conical VDF.s Volume Delay Functions file Text Highway network highway_assignment.s
8 support MD_SPD_LKP.txt Initial lookup speeds used for highway links, midday Text Highway network V2.3_Highway_Build.s
9 support NMArates.dbf Non-motorized Trip Attractions DBF Calculated data trip_generation.s
10 support NMPrates.dbf Non-motorized Trip Productions DBF Calculated data trip_generation.s
a1 support TAZ3722_to_7Mrkts.txt Equivalency between TAZs and mode choice superdistricts Text Assumptions PP_Auto_Drivers.s
12 support tkdeita_3722.trp Calibration matrix, or "delta table" for med and hvy truck Binary Assumptions misc_time-of-day.s
13 support Time of day model/factors Binary Assumptions time-of-day.s
14 support Toll minutes equivalence file by Vehicle Type Text Assumptions Highway_skims.s
a5 support Jurisdictional boundaries SHP Network Network editing with Cube Base
16 support uck_Com_Trip_Rates.dbf Truck and Commercial Vehicle Trip Rates DBF Calculated data truck_com_trip_generation.s
17 support ue Shape 2040 Nov20.shp Used to display highway network with True Shape SHP Highway network Network editing with Cube Base
18 support Ver23_f factors.dbf F-factors for trip distribution DBF Calculated data trip_distribution.s
19 support weighted trip rates.dbf Trip Productions DBF Calculated data trip_generation.s

* This file is created automatically by set_factors.s from the station.dbf file.

Ref:

v2.3.75_inputs_vi.xlsx

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Pre-established “parent” and “child” batch files for executing the model reside in the root subdirectory.
Typically, “parent” batch files are edited to correspond to each modeled scenario, while “child” batch
files remain unaltered. The parent batch files can be named as the user likes. The two main parent batch

files are the “wrapper” batch file and the “run model steps” batch file (the latter file used to be called

the “run all” batch file}. Details about these two files can be found in section 6.2 (“Parent batch files”) on
page 57. The child batch files are the ones that actually execute individual modeling steps, such as the
trip generation step (e.g., Trip_ Generation.bat) or the traffic assignment step (e.g.,
Highway_Assignment_Parallel.bat). Child batch files generally call the Cube Voyager scripts and/or
Fortran programs. The child batch files also assign names to report files that result from each model
step. Listing files are typically assigned file extensions of RPT or TAB. The former refers to Cube Voyager
report or listing files, while the latter refers to a subset tabulation of the report file containing only trip
table totals or jurisdictional summaries. Parent batch files are used to string child batch files together so
that the entire model execution can be initiated with a single command or batch file. The parent batch
files also establish Windows environment variables that are used in the child batch files and Cube
Voyager scripts, such as the iteration number, the model year, and the model description.

aed

As stated earlier, all the input files located in the “inputs,” “controls,” and “support” folders are listed in
Table 9. It is the user’s responsibility to make sure that the generically named files are appropriate for
the modeled scenario and are in the prescribed format (described later). Additionally, almost all the files
shown in Table 9 must exist for the model run to complete successfully, with the exception of some files
such as the shapefiles used for displaying a highway network in True Shape mode
(True_Shape_2040_Nov20.shp). The advantage of using generic filenames is that the input and output
filenames referenced in each Cube Voyager script and control file do not need to be tailored to match
the different scenarios that are run. The disadvantage of using generic filenames is that, when moving or
sharing files, two files with the same name could be quite different (e.g., zone.dbf for the year 2019 has
the same name as zone.dbf for the year 2045). Thus, the metadata that describes the scenario name is

stored in the name of the output subdirectory (e.g., “2019 Final”), not in the filenames themselves.

The SOFTWARE folder contains two Fortran executable programs (AEMS.exe and extrtab.exe}), one C++
executable program (LineSum.exe},°° and several dynamic-link library (DLL) files, as shown in Table 10.

°° Tn the future, if we replace AEMS with TRANSIMS ModeChoice, this folder will also include the C++ mode
choice application program ModeChoice.exe.

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Table 10 Fortran and C++ executable files and dynamic-link library files required for running the Version 2.3 travel model

Executable Ver Date Size | Program Function Requires a
Name (bytes) control file?
AEMS.exe 2/13/2012 195,900 | Mode choice application program (Fortran, 32-bit) yes
cw3240.dll 2/13/2012 827,392 | Dynamic-link library file associated w/ AEMS.exe no
DFORMD.dll 2/13/2012 425,984 | Dynamic-link library file associated w/ AEMS.exe no
extrtab.exe 2/13/2012 464,559 | Extracts sections from Cube Voyager report files no
(Fortran, 32-bit)
Linesum.exe 6.0.2 3/26/2014 697,344 | Creates reports summarizing transit loaded link files yes
(C++, 32-bit)

Note: There are two Cube DLL files needed for running AEMS.exe: Tppdlibx.dll and Tputlibc.dll.°? These
two files come with Cube. These are not stored in the software folder, but when AEMSS runs, it needs to
“see” these two files. This can be accomplished by either 1) placing a copy of these two files in the folder
where AEMS runs (the SOFTWARE folder under the root folder of the model run); OR 2) setting the
Windows PATH environment variable to point to the location where these DLL files exist. It has been
found that the second option is generally the best one. One complicating factor is the fact that Cube
Base is 32-bit and Cube Voyager is 64-bit, and each comes with a version of these two files (see Table
11). AEMS needs the 32-bit version (which is stored here: C:\Program Files (x86)\Citilabs\CubeVoyager).
For more information about setting the Windows PATH environment variable, see section 5.1 (“Software

installation”).

Table 11 Location for Cube DLL files

Cube DLL File Location for 32-bit version Location for 64-bit version
TPPDLIBX.DLL C:\Program Files (x86)\Citilabs\Cube\ none

C:\Program Files (x86)\Citilabs\CubeVoyager\ C:\Program Files\Citilabs\CubeVoyager\
TPUTLIBC.DLL C:\Program Files (x86)\Citilabs\Cube\, none

C:\Program Files (x86)\Citilabs\CubeVoyager\ C:\Program Files\Citilabs\CubeVoyager\

A listing of child batch files is provided in Table 12. The table also indicates the programs and/or Cube
Voyager scripts that are invoked and the purpose of each batch file. Given the iterative application
process of the model, most of the batch files are called multiple times during a model run. The sequence
of batch file applications, by iteration, is shown in Table 13. The table indicates that there are 48 batch
file steps called during a standard application of the model. Some of the batch files are called once,
while others (e.g., Trip_Generation.bat) are called during the pump-prime and all four standard
iterations. A parent batch file (“run_ModelSteps*.bat’) is used to string each of the child batch files
together during a typical model execution. The parent batch files, like child batch files, reside in the root
subdirectory. Two parent batch files are typically prepared for each individual model run. The process
for executing a model is addressed in the next section. The remaining chapters address the specific

details of each modeling step.

7),

*! Tn earlier versions of Cube, the filename of the second file omitted the letter “c”: Tputlib.dll

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Table 12 Child batch files used to run the Version 2.3 Travel Model

Batch File

Scripts/Programs

Purpose

set_up_model_run_folders.bat

None

Not used in the running of the mode,
but can be used to set up folders for a
new model run.

ArcPy_Walkshed_Process.bat

MWCOG_Prepare_Inputs_to_Walkshed_Proce
ss_PT.s
MWCOG_Prepare_Inputs_to_Walkshed_Proce
ss TRNBUILD.s

Run the automated/integrated
ArcPy/Python transit walkshed process

Set_CPl.bat

Set_CPl.s
Set_Factors.s

Create highway and transit cost
deflators.

Create K factors and time penalties.
Create station_names.dbf file from
station.dbf file.

PP_Highway_Build.bat

AreaType_File.s
V2.3_higway_build.s

Build highway networks.

PP_Highway_Skims.bat
{see also Highway_Skims.bat)

Highway_skims_am.s
Highway_skims_md.s
Modnet.s
CheckStationAccess.s
Highway_skims_mod_am.s
Highway_skims_mod_md.s

Create AM/off-peak highway skims.
Check whether stations are accessible

transit_Accessibility.s
Transit_Skim_LineHaul_Parallel.bat
Transit_Skims_AB.s
Transit_Skims_BM.s
Transit_Skims_CR.s
Transit_Skims_MR.s

Joinskims.s
Remove _PP_Speed.s

Transit_Skim_All_Modes_ Parallel. | parker.s Create the transit network:

bat walkacc.s e = Create transit access links
autoaccS.s e Create transit network

e = Skim the four transit
submodes
Also runs the transit accessibility
process.

Transit_Fare.bat

prefarV23.s
Metrorail_skims.s
MFARE11.s

MFARE2.s
Assemble_Skims_MR.s
Assemble_Skims_BM.s
Assemble_Skims_AB.s
Assemble_Skims_CR.s

Create transit fares for the current
speed feedback iteration.

Trip_Generation.bat

Demo_Models.s
Trip_Generation.s
Trip_Generation_Summary.s
Truck_Com_Trip_Generation.s

Execute daily trip generation.

Trip_Distribution.bat

Prepare_Ext_Auto_Ends.s
Prepare_Ext_ComTruck_Ends.s
Trip_Distribution_External.s
Prepare_Internal_Ends.s
Trip_Distribution_Internal.s

Execute daily trip distribution.

Mode_Choice_Parallel.bat

MC_purp.bat => AEMS.EXE
mc_NL_summary.s

Execute the daily mode choice model
(in P/A format).

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Batch File

Scripts/Programs

Purpose

copyBaseMC_to_final_inputs.bat

None

Not currently called as part of a model
run. Could potentially be used by
modeler to copy pre-existing NL mode
choice model output into the input
folder for new run.

Auto_Driver.bat

mc_Auto_Drivers.s

Generate initial auto driver trips after
mode choice.

PP_Auto_Drivers.bat

PP_Auto_Drivers.s

Generate initial auto driver trips
without the use of the mode choice
model.

Time-of-Day.bat

Time-of-Day.s
Misc_Time-of-Day.s
Prepare _Trip_Tables for Assignment.s

Convert daily modeled trips to AM, PM,
midday, and night. Convert trip tables
from P/A format to O/D format.

Highway_Assignment_Parallel.bat

Highway_Assignment_Parallel.s

Execute user equilibrium highway
assignment for four time-of-day periods

Average_Link_Speeds.bat

Average_Link_Speeds.s

Compute average link speeds. Run for
only speed feedback iterations 2-4

Highway_Skims.bat

Highway_Skims_am.s
Highway_Skims_md.s
modnet.s
Highway_Skims_mod_am.s
Highway_Skims_mod_md.s
joinskims.s

Build zone-to-zone paths on the
highway network and skim the times
and costs on each path. Store the

skimmed times and paths in matrix files.

Transit_Assignment_Parallel.bat

Combine_Tables For _TrAssign_Parallel.s
Transit_Assignment_LineHaul_Parallel.bat
Transit_Assignment_AB.s
Transit_Assignment_BM.s
Transit_Assignment_CR.s
Transit_Assignment_MR.s

Execute the transit assignment (P/A
format} for peak and off-peak periods

TranSum.bat

LineSum_*.ctl (such as
LineSum_Volume.ctl, or
lineSum_MR_access.ctl}

Summarize the transit assignment

dateName.bat

None (used by searchForErrs.bat)

searchForErrs.bat

None

Searches through log and print files for
possible error codes

move_temp_files_v6.bat None Moves temporary files to a location
where they can be later deleted manual
by the modeler.

updating tpp_dil_files.bat None Not used for a model run. In the past,

this batch file could be used to put the
TP+ DLL files in the correct location, but
this file is no longer used.

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Table 13 Sequence of the batch files used to run the Version 2.3 Travel Model

Speed Feedback Iteration

Batch File

Scripts/Programs

PP

1

2

3

4

ArcPy_Walkshed_Process.bat

MWCOG _Prepare_Inputs_to_Walkshed_Process PT.s
MWCOG_Prepare_Inputs_to_Walkshed_Process_TRNBU
ILD.s

1

Set_CPl.bat

Set_CPl.s
Set_Factors.s

PP_Highway_Build.bat

AreaType_File.s
V2.3_higway_build.s

PP_Highway_Skims.bat
{see also Highway_Skims.bat)

Highway_skims_am.s
Highway_skims_md.s
Modnet.s
CheckStationAccess.s
Highway_skims_mod_am.s
Highway_skims_mod_md.s
Joinskims.s
Remove_PP_Speed.s

Transit_Skim_All_Modes_Parallel.bat

parker.s

walkacc.s

autoacc5.s

transit_Accessibility.s
Transit_Skim_LineHaul_Parallel.bat
Transit_Skims_AB.s
Transit_Skims_BM.s
Transit_Skims_CR.s
Transit_Skims_MR.s

12

21

30

39

Transit_Fare.bat

prefarV23.s
Metrorail_skims.s
MFARE1.s

MFARE2.s
Assemble_Skims_MR.s
Assemble_Skims_BM.s
Assemble_Skims_AB.s
Assemble_Skims_CR.s

13

22

31

39

Trip_Generation.bat

Demo_Models.s
Trip_Generation.s
Trip_Generation_Summary.s
Truck_Com_Trip_Generation.s

14

23

32

41

Trip_Distribution.bat

Prepare_Ext_Auto_Ends.s
Prepare _Ext_ComTruck_Ends.s
Trip_Distribution_External.s
Prepare_Internal_Ends.s
Trip_Distribution_Internal.s

15

24

33

42

Mode_Choice_Parallel.bat

MC_purp.bat => AEMS.EXE
mc_NL_summary.s

16

25

34

43

Auto_Driver.bat

mc_Auto_Drivers.s

17

26

35

PP_Auto_Drivers.bat

PP_Auto_Drivers.s

Time-of-Day.bat

Time-of-Day.s
Misc_Time-of-Day.s
Prepare_Trip_Tables_for_Assignment.s

18

27

36

Highway_Assignment_Parallel.bat

Highway_Assignment_Parallel.s

10

19

28

37

46

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Speed Feedback Iteration

Batch File Scripts/Programs PP | 1 2 3 4
Highway_Skims.bat Highway_Skims_am.s 11 | 20 | 29 | 38 | 47
Highway_Skims_md.s
modnet.s

Highway_Skims_mod_am.s
Highway_Skims_mod_md.s
joinskims.s

Transit_Assignment_Parallel.bat Combine_Tables_For_TrAssign_Parallel.s 48
Transit_Assignment_LineHaul_Parallel.bat
Transit_Assignment_AB.s
Transit_Assignment_BM.s
Transit_Assignment_CR.s
Transit_Assignment_MR.s

TranSum.bat LineSum_*.ctl (such as 49
LineSum_Volume.ctl, or
lineSum_MR_access.ctl)

5 Preparing to run the model
Before the travel model can be run, one must install the necessary software, as described in the next
section.

5.1 Software installation and setting the Windows PATH environment
variable

Step 1: Make sure you are logged on to your computer with administrator privileges, so you can install

software (or ask your IT department to perform the installation).

At COG, you will need to be a member of these two groups: “Administrators” and
“SophosAdministrator” (the second group is associated with antivirus software). In other agencies, there
may be other requirements. Additionally, based on testing done at COG, the mode choice application
program (AEMS.EXE) may not work if you are not part of the Administrators group.

Step 2: Verify that your computer is running a 64-bit version of Windows, since this is needed to install
the 64-bit version of Cube Voyager (Cube Base is still 32-bit software).

<Windows key><Pause/Break> will bring up the System Properties window. The “System Type” should
be listed as “64-bit Operating System.” Alternatively, if you prefer using the command prompt, you can

run the command “systeminfo | more”:

e If you are running a 32-bit version of Windows, you will see “System Type: X86-based PC”. This
will not allow you to install the 64-bit version of Cube Voyager, so you will not be able to run the
Ver. 2.3.75 model.

e If you are running a 64-bit version of Windows, you will see “System Type: x64-based PC”.
On 64-bit versions of Windows

e 64-bit software, such as Cube Voyager, is stored here: “C:\Program Files”.

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@ 32-bit software, such as Cube Base, is stored here: “C:\Program Files (x86)”.
Step 3: Determine the number of cores on your computer.

Again, <Windows key><Pause/Break> will bring up the System Properties window. Here you can see the
CPU type (e.g., “Intel Core 15-4590”). You can perform an internet search with this information to find
the number of cores that are contained in your processor.

Also, if you open up the Task Manager (keyboard combination <CTRL><SHIFT><ESC>) and select the
Performance tab, you can see the number of cores that the Windows operating system sees, as well as
the number of logical processors (see Figure 12).

x Task Manager [- [5 ey =

File Options View

OQ cpu

Se eae CPU intelrr) Xeon(R) CPU E5-2687W v3 @ 3.10GHz
% Utilization 100%

© Memory

5.5/31.9 GB (17%)

Ethernet

Net connected

Ethernet

Not connected

© Ethernet A\ oi
S: 24.0 Kbps R: 32.0 Kbps

60 seconds

oe Utilization Speed Maximum speed: 3.10 GHz
ot connectec 8% 3.19 GHz Sockets: 2
Cores: 20
Processes Threads Handles Logical processors: 40
145 21 75 A8964 Virtualization: Enabled
. L1 cache: 1.3 MB
Up time L2 cache: 5.0 MB
48:22:43:31 L3 cache: 50.0 MB

(A) Fewer details ®) Open Resource Monitor

Figure 12 Number of cores and logical processors

In this example, Windows sees 20 cores and 40 logical processors. If the number of logical processors is
double the number of cores, this means that Intel’s Hyper-Threading Technology is turned on. Intel’s

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Hyper-Threading Technology allows each core to handle two threads, so the operating system (OS) will

see twice as logical processors as the actual number of physical cores.

Step 4: Install Citilabs Cube Base and Cube Voyager software, according to the vendor’s instructions. If

you have purchased the license for Cube Cluster, this will also be installed at this point.

Once you have installed Cube Base, you can open it and click on help (“ @ “) and “About...”, which

should bring up a window like the following:

Bee i

Current Version
Version 6.4.1 (Oct 01 2015)

with Report Option
BDE version 5.0.0 (Nov 04 1999)
AM version 6.4.1 (Oct 01 2015)

@ C:\Program Files (x86) \Citilabs \Cube
SM version 6,4, 1 (Oct 01 2015)

@ C:\Program Files (x86) \Citilabs \Cube
GIS version 10.3,4959

Environment

a Platform Microsoft Windows Server 2012...
OS version 6.3.9600
Memory in use 39%
Total physical memory 31.87 GB
Free physical memory 19.21 GB
Processors 10
License
Activation key
Licensed to

Maintenance thru 2/2015

Figure 13 Citilabs Cube 6.4, “About” message window

From this window, we can see that we have installed Cube Base, version 6.4.1. The maintenance license
expires in Feb. 2019. Cube sees 10 processors, even though this is on a computer with 20 cores and 40
logical processors.

If you are running the Ver. 2.3 Travel Model on a computer with fewer than 8 logical processors, you will
need to follow the instructions in Table 19 (p. 84) before running the Ver. 2.3 Travel Model.

Determining if you have Cube Cluster: If you wish to determine whether a given computer includes a
Cube Cluster license, open Cube Voyager and click the “About Voyager” button. If your computer has a

Cube Cluster license, you should see “with Cluster License” (as shown in Figure 14).

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About Voyager
TPMAIN 10/01/2015 [6.4.1 x64]
HWYLOAD 10/01/2015 [6.4.1 x64]
HWYNET 10/01/2015 [6.4.1 x64]
MATRIX 10/01/2015 [6.4.1 x64]
TRNBUILD 10/01/2015 (6.4, 1 x64]
LIBRARY 10/01/2015 [6.4.1 x64)
with : me ! [
: 7. 10/01/2015 [6.4.1 x6-
Cluster License eu t 4
PTPROCESSES 10/01/2015 [6.4.1 x64]
JUNCTION 10/01/2015 [6.4.1 x64]
Citilabs
Licensed to Activation Key:
Maintenance expireson: 02/2019
Platform Microsoft Windows Server 2012 R2 Standard
OS Version 6,3,.9600 Speed Rating 0
Memory in use 39 % Test Speed |
Total Physical Memory 31.87.Gb
Free Physical Memory 19.17 Gb rm +
Processors 10

Figure 14 “About Voyager": Presence of Cube Cluster license

According to Citilabs, the “Test Speed” button is no longer active. This window also shows 10 processors,
even though this computer has 20 cores and 40 logical processors.

Step 5: Make sure that the version of PowerShell is 3.0 or higher. One may check their PowerShell

version by using SPSVersionTable command in Windows PowerShell.

a Windows PowerShell (x86)

Figure 15 Windows PowerShell version

Most computers will likely be running Windows PowerShell 3.0 (or more recent), which comes
preinstalled with Windows operating systems. If the version of PowerShell is 1.0 or 2.0, which may come
with older versions of Windows, such as Windows XP or Windows Server 2008 SP1, the framework
needs an upgrade to a more recent version. The steps to install a more recent Windows PowerShell

version can be found in the Microsoft webpage “https://docs.microsoft.com/en-

us/powershell/scripting/setup/installing-windows-powershell?view=powershell-6”.

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Step 6: If you do not already have one, install the text editor of your choice, such as Notepad++ or
PSPad. Notepad++ is free and open source. PSPad is free but is not open source. Each of these text
editors has it pluses and minuses, in terms of syntax highlighting, code folding, and other features, such
as diffing two text files. Some non-open source text editors may include bloat-ware, which you may not
want, so, when performing the installation, you need to be vigilant and de-select any options you do not
want.

Step 7: (Optional) Install Cygwin (http://www.cygwin.com/). Like Ver. 2.3.70, the Ver. 2.3.75 model
does not need this software. Nonetheless, some users may still choose to install this software, due to its

ability to offer various Unix-like utility commands. This is a free, open source software package that
provides a Linux-like environment for Windows. It provides a series of Unix-like command-line tools,
such as head, tail, and which. Cygwin comes in two versions: a 32-bit version (setup-x86.exe) and a 64-
bit version (setup-x86_64.exe). Normally, we would advise you to install the version that is appropriate
for your computer. However, in the past, we have found that, in the 64-bit version of Cygwin, the head
and tail commands did not seem to work correctly. Consequently, if you choose to install Cygwin, we
recommend that you install the 32-bit version of the software.

1. Download the 32-bit version of Cygwin: setup-x86.exe.
2. Double click the setup file to run. It will install a default set of packages. You can always add

more in the future by rerunning the setup file.

Do not forget where this file is, since you might need to run it in the future to add or remove
components from Cygwin. The recommended location is to place the file is in a folder in your
“downloads” folder (e.g., C:\Users\<username>\downloads\cygwin). Once you have done this, you
should create a shortcut to the setup file on the Windows Desktop so that you can find this file easily in
the future. As an alternative, you can also store the setup file directly on the Windows Desktop. The
disadvantage with this second location is that, during the installation procedure, Cygwin will place a
folder of downloaded files on the Desktop, and this folder may have an odd name, such as
“ftp%3a%2f%2fftp.gtlib.gatech.edu%2fpub%2fcygwin%2f”.

Step 8: Set the Windows PATH environment variable.

Among other files, the 32-bit software folder (C:\Program Files (x86)\Citilabs\CubeVoyager) contains the
following files:

16/01/2015 67:11 AM 3,416,528 CLUSTER. EXE
10/01/2015 07:44 AM 111,056 RUNTPP.EXE
10/01/2015 07:44 AM 415,744 TPPDLIBX.DLL
16/01/2015 67:44 AM 152,576 TPUTLIBC.DLL

By contrast, the 64-bit software folder (C:\Program Files\Citilabs\CubeVoyager) contains the following

files:

10/01/2615 07:11 AM 4,206,544 CLUSTER. EXE

10/01/2015 07:45 AM 15@,48@ RUNTPP.EXE

10/61/2015 07:45 AM 373,712 VOYAGER. EXE

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10/01/2015 07:44 AM 511,488 TPPDLIBX.DLL
16/01/2015 07:44 AM 178,688 TPUTLIBC.DLL

AEMS.EXE requires the use of the two TP DLL files in the 32-bit folder (C:\Program Files
(x86)\Citilabs\CubeVoyager), so the Windows PATH variable should point to that folder. However, the
32-bit folder contains the wrong version of Cluster and does not contain Voyager.exe at all. Luckily,
when Voyager.exe is called using the “start /w” command, Windows knows how to find the correct
version of Voyager (in this case, the only version of Voyager). Thus, as a minimum, you will want to add
the following two paths to your Windows PATH environment variable:

64-bit version of Windows Reason

C:\cygwin\bin Needed to run Cygwin from the command line

C:\Program Files (x86)\Citilabs\CubeVoyager Needed so that AEMS can find the two TP DLL
files (Tppdlibx.dli and Tputlibc. dil)

Additionally, the following paths might also be useful additions to your Windows PATH environment

variable:
64-bit version of Windows Reason
C:\Program Files (x86)\PSPad editor | To be able to open the PSPad text editor from the command

line

C:\Program Files (x86)\WinMerge To be able to open WinMerge from the command line

Here are instructions for updating the Windows PATH environment variable:
Hold down these two keys simultaneously to bring up the Windows System Properties window:

<Windows key><Pause/Break key>

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1 |B > Control Panel » System and Security » System v G| | Search Controt Panel 2 |
Control Panel Home oe
View basic information about your computer
Device Manager Windows edition
® Remote settings Windows Server 2012 R2 Standard
@ Advanced system settings © 2013 Microsoft Corporation. Al rights reserved. Sm Windows Server2012 R2
System
Processor: Intel(R) Xeon(R) CPU E5-2687W v3 @ 3.10GHz 3.10 GHz (2 processors)
Installed memory (RAM): 32.0 GB (31.9 GB usable)
System type: S4-bit Operating System, xt- bared processor
Pen and Touch: No Pen of Touch Input is available for this Display
Com name, domain, and workgroup settings
Computer name: TMS? Change settings

Full computer name: TMS?7.mweog.org

Computer description: Travel Model Server 7

Domain: mweog.org

Windows activation

Windows is activated Read the Microsoft Scftware License Terms

Product ID: 00252-60122-16932-AA613 Change product key
See also
Action Center
Windows Update

Click “Advanced system settings.” Click the “Advanced” tab.

| Computer Name | Hardware | Advanced | Remote _

You must be logged on as an Administrator to make most of these changes.
Peromance
Visual effects, processor scheduling, memory usage, and virtual memory

User Profiles
Desktop settings related to your sign-in

Startup and Recovery

Click the “Environment Variables” button.

The lower half of this window contains “system variables.”

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Cae) Cae) Cee]

Value A
C:\Program Files (x86) \ArcGIS\Engine1... Cl
C:\Windows \system32\and.exe

NO

C:\Program Files (x86)\Intel\MPI-RT\4....

|__ New...

Find the “Path” environment variable in the lower half of this window.

User variables for rngo

Variable Value

TEMP ®QUSERPROFILE%\AppData\Local Temp
TMP %SUSERPROFILE% \AppData \Local Temp

Lew | |_ Gt || Delete |

a eeee- ida othr) hl
-COM;.EXE;.BAT;.CMD;.VBS;.VBE;.JS;.... | |
. AMDE4
.. Intel64 Family 6 Model 63 Stepping 2, G...

| Newer. | Edit...

Click “Edit.”

Add the Windows paths that you want. Add these to the end of the Path variable, using a semicolon (“;”)
as the separator.

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For example, this path:

*SystemRoot%\system32;%SystemRoot%; ~SystemRoot%\System32 \wbem ;%*SYSTEMROOT%\System32\WindowsPow
erShell\v1.0\

Would become this path:

*SystemRoot%\system32 ; %SystemRoot%; *SystemRoots\System32\wbem ;%SYSTEMROOT%\System32\WindowsPow
erShell\v1.0\;C:\Program Files (x86)\Citilabs\CubeVoyager;C:\cygwin\bin

Edit System Variable [x]

Variable name: Path

Click “OK” three times.

To test whether Cygwin is working correctly, open a command window and type a Cygwin command,

such as

which ls

Or

tail --help

To test Cube Voyager, type:
start /w voyager

Or

cluster

Step 9: Useful, but not essential: Install Winmerge and update the PATH environment variable to

include:
C:\Program Files\WinMerge

Step 10: You may want to associate *.net files with Cube.exe. This will allow the file
i4_assign_output.net to be opened in Cube automatically at the completion of a model run. You may
also want to associate *.txt and *.rpt files with your preferred text editor. At the completion of a model
run, the “run model” batch file tries to open several of these files (such as i4_ Highway_Assignment.rpt).
By setting up the desired file association, these files will be opened at the end of the model run using

the desired text editor (versus the default Windows text editor, which is Notepad).

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5.2 Preparing input files and calculating zonal percent-walk-to-transit values
After a person has requested the COG/TPB travel madel from COG/TPB staff
(https://www.mweog.org/transportation/data-and-tools/modeling/data-requests/), he or she will be

sent a transmittal memo and the actual travel model, including its inputs. If the user wants to simply run
the travel model for the years/scenarios that have been supplied by COG/TPB staff, then there is no
need to make any changes to the model inputs (This also pre-supposes that the user has required

hardware and software, as specified in this user’s guide).

In the Ver. 2.3.66 travel model and earlier versions, one of the first steps in the run_modelSteps batch
file was to run the automated transit walkshed process: “call ArcPy_Walkshed_Process.bat %1”. Due to
instabilities with ArcGIS and the ArcGIS runtime engine that is packaged with Cube, the automated
transit walkshed process is one of the model steps that is most likely to fail (premature stop or crash).
This is especially true with the ArcGIS runtime engine that comes with Cube 6.4.2. For this reason, when
we transmit the model to end users, the automated transit walkshed process is turned off (commented
out in the run_modelsteps batch file). This is not a problem for most users, since we provide in the
inputs folder the primary output file (areawalk) from the automated transit walkshed process. If,
however, a user wishes to make changes to the transit network, then we recommend uncommenting
this step to allow the automated transit walkshed process to run. The new transit walkshed process is
discussed in section 11 (“Building transit walksheds and calculating zonal walk percent”) of this report,

beginning on p. 95.

6 Running the model

As noted in the “Hardware and software ” section, the Version 2.3 Travel Model is implemented using
Citilabs Cube software. Cube Base is the graphical user interface (GUI) for the Cube suite of software.
Cube base can be used for editing Cube Voyage scripts, editing transportation networks, viewing matrix
files, managing network scenarios (Scenario Manager), and running travel models (Application
Manager). However, the Version 2.3 Travel Model is not launched using Cube Base’s Application
Manager. Instead, the Version 2.3 Travel Model is implemented using a command-line interface (CLI)
that is initiated from a Windows command window (also called a DOS command window by some,
although DOS no longer exists).

6.1 Updating the Windows PATH environment variable
It is important to update the Windows PATH environment variable, as described in section 5.1
(“Software installation and setting the Windows PATH environment variable”).

The next section describes a simple example of how to run the travel model. Following that are two
sections that describe the wrapper batch file and the “run model steps” batch file in more detail.

6.2 Parent batch files
To run the Version 2.3 Travel Model (including Ver. 2.3.75), the user must edit two batch files and then
run one of the batch files, which, in turn, will call the other file. These two batch files are known as the

parent batch files, since they call a series of other batch files (known as the child batch files). The first

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parent batch file is called the “wrapper” batch file or the “run model” batch file (an example can be seen
in Figure 16). The second parent batch file is called the “run model steps” (formerly “run all”) batch file
(an example can be seen in Figure 17). In computer programming, the term “wrapper function” is used
for a function whose main purpose is to call a second function and set up a computing environment for
that second function. We are using this term in a similar vein, since the main purpose of our wrapper
batch file is to call a second batch file (the “run model steps” batch file) and set up the running
environment for the model run. Once the user has edited the two parent batch files with a text editor,
the user launches the model run by launching the wrapper batch file either directly or within a
command prompt window that is pointing to the root directory. For example, if the root directory is
“C:\modelRuns\fy18\Ver2.3. 75_aqc_Vis2045”, then the user would open a command prompt window
at this location and type the name of the “run model”/wrapper batch file and press Enter to execute
it. This process is described in more detail below, along with some preliminary information needed to
make the model run correctly.

There is typically a “run model” batch file and a “run model steps” batch file for each scenario/year that

is modeled, e.g.,:

run_Model_2@19 Final.bat
run_ModelSteps 2019 Final.bat

run_Model_2@21_Final.bat
run_ModelSteps_ 2021 Final.bat

run_Model_2025 Final.bat
run_ModelSteps 2025 Final.bat

run_Model_203@ Final.bat
run_ModelSteps 2636 Final.bat

run_Model_2@4@ Final.bat
run_ModelSteps 204@ Final.bat

run_Model_2045_Final.bat
run_ModelSteps 2045 Final.bat

To launch a model run, one needs to open a Windows command window that points to the location
where you have placed the parent batch files (the so-called “root” folder). One way to do this is to open
Windows Explorer (File Explore in some versions of Windows) and navigate to the root folder, and then
select the root folder by clicking it once. In earlier versions of Windows, one would select the folder in
the left pane, and then, with nothing selected in the right pane, one would use the mouse to shift-right-
click in the right pane, selecting “Open Command Window Here.” However, in newer versions of
Windows, this action results in the option to “Open PowerShell window here.” Since the model is
currently not run under Windows PowerShell, one should not select this option. Instead, one can do one
of the following:

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oOWUNMNNAN OW bw nN eB Oo

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Either, open a command window using the Windows Start button, and change the directory to
the desired directory by using the change directory (CD) command. One can copy the desired
path from the address bar of the file explorer:

+

a Cut vy FS
# Be. xX =! A
w-| Copy path - . =full
Pinto Quick Copy Paste Move Copy Delete Rename New
access [@] Paste shortcut to to ~ folder
Clipboard Organize

>» ThisPC » Data (\\tms7) (M:) » fy17 » CGV2_3_70_final

Or, one can put the cursor in the address bar and type “cmd”. This will open a command

window whose current path is the path that had been in the address bar of the Windows file

explorer:
< ry XY cut x ¥ GP New item
%. Copy path x #'] Easy acce
into Quick Copy Paste . Move Copy Delete Rename New
access [a] Paste shortcut to to - folder
Clipboard Organize New
€ ~ ft | cmd
es emd
yy Search for "cmd"
Airport TripF

The main drawback to using the second approach is that after one types cmd in the address box,

the address box seems to no longer contain the original path, even though the Windows File
Explorer still seems to show this location and the files stored in this location. Thus, after one

types “cmd” in the address box, when one clicks in the box a second time, one will see this:

(GaN Tiateleratevian ales mJektal sale oc

ft |

Figure 16 “Run model” batch file for 2019_Final

:: File location
:: Version 2.3.75
1 2018-69-11 Tue 16:46 AM

set root=.
set scenar=2019 Final
set runbat=run_ModelSteps_ 2019 Final.bat

: Environment
:: Environment

variables for (multistep) distributed processing:
variables for (intrastep) distributed processing:

set
set

set
set

set

use MDP = t/f (for true or false)

use IDP = t/f (for true or false)

Number of subnodes: 1-3 => 3 subnodes and one main node = 4 nodes in total
useIdp=t
useMdp=t
AMsubnode & MDsubnode are used in highway_assignment_parallel.bat/s
AMsubnode=1-4
MDsubnode=2-4
subnode used in transit fare and transit assignment
We no longer use IDP in transit skimming, since it would require 16 cores
subnode=1-3

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wow nn & ww

NM NM PPP PPP BPP eB
we OUD MN OY ewe eS Oo

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i: This command will

i: 1) time the model run (using timethis.exe and the double quotes)

2 2) redirect standard output and standard error to a file

:: 3) Use the tee command so that stderr & stdout are sent both to the file and the screen

timethis "%runbat% %scenar’" 2>&1 | tee %root%\xscenark\%scenars fulloutput.txt

:: Open up the file containing the stderr and stdout
if exist Sroota\’scenars\4scenar%_fulloutput.txt start Kroots\sscenara’\sscenars fulloutput.txt

:: Look four errors in the reports and output files

call searchForErrs.bat %scenar’

:: Open up the file containing any errors found

if exist Sroot’\sscenara’\sscenars’_searchForErrs.txt start %roots\sscenars’\sscenars’_searchFortrrs.txt

:: Open up other report files

if exist *roots\%scenar%\i4 Highway_Assignment.rpt start %rooth\%scenar%\i4_Highway_Assignment.rpt

if exist %root%\%scenar%\i4_mc_NL_summary.txt start Aroota\Sscenar’\i4_mc_NL_summary.txt

if exist %roota\sscenar%\i4d Assign _Output.net start %root#\sscenar#\i4 Assign Output.net

cd Sscenar’

start powershell.exe -noexit -Command get-content i4_ue*AM_nonHov*txt -tail 1; get-content i4_ue*AM_hov*txt -tail 1;
get-content i4_ue*PM_nonHov*txt -tail 1; get-content i4_ue*PM_hov*txt -tail 1; get-content i4_ue*MD*txt -tail 1;
get-content i4_ue*NT*txt -tail 1

cd...

move_temp_files v6.bat %scenar’

:: Cleanup

set root=

set scenar=
set runbat=
set useldp=
set useMdp=
set AMsubnode=
set MDsubnode=
set subnode=

Figure 17 “Run model steps” batch file for 2019_Final

2: Version 2.3.75
:: 2018-09-11
:: Version 2.3 TPB Travel Model on 3722 TAZ System

set _year_=2019

set _alt_=Ver2.3.75_2019_Final

:: Maximum number of user equilibrium iterations used in traffic assignment
:: User should not need to change this. Instead, change _relGap_ (below)
set _maxUeIter_=1000

+: Not set transit constraint path and files
:: Current year no longer used to set the constraint

set _tcpath_=

:: UE relative gap threshold: Progressive (1@°-2 for pp-i2, 10°-3 for 13, & 16*-4 for i4)
:: Set the value below

rem ====== Pump Prime Iteration

set _iter_=pp
set _prev_=pp
set _relGap =@.91

REM call ArcPy_Walkshed_Process.bat %1

call Set_CPI.bat 41

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call
call
call
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call

PP_Highway Build.bat
PP_Highway_Skims.bat

“1
‘1

Transit _Skim_All_ Modes Parallel.bat %1

Trip_Generation. bat
Trip_Distribution. bat
PP_Auto_Drivers.bat
Time-of-Day.bat

41
1
‘1
1

Highway_Assignment_Parallel.bat 21

Highway _Skims.bat

3 rem ====== Iteration 1

set iter_=il
set _prev_=pp

1

Transit_Skim_All_ Modes _Parallel.bat %1

Transit_Fare.bat
Trip_Generation. bat
Trip_Distribution.bat

‘1

Mode_Choice_Parallel.bat 41

Auto_Driver. bat
Time-of-Day. bat

Highway_Assignment_Parallel.bat M1

Highway _Skims.bat

Iteration 2

set _iter_=i2
set _prev_=il

41

Transit_Skim_All_ Modes Parallel.bat %1

Transit_Fare.bat
Trip_Generation.bat
Trip Distribution, bat

Mode_Choice_Parallel.bat 41

Auto_Driver, bat
Time-of-Day.bat

Highway_Assignment_Parallel.bat 41

Average_Link_Speeds.bat

Highway _Skims.bat

Iteration 3

‘1
1

set _iter_=i3
set _prev_=12
set relGap =@.0@1

call Transit_Skim_All_Modes_Parallel.bat %1
call Transit_Fare.bat 41

call Trip_Generation.bat 41

call Trip Distribution. bat 41

call Mode_Choice_ Parallel.bat 41

call Auto Driver. bat %1

call Time-of-Day.bat 21

call Highway _Assignment_Parallel.bat %1
call Average Link _Speeds.bat 1

call Highway Skims.bat 41

ti rem ==s==== Iteration 4

set _iter_=i4
set _prev_=i3
set relGap_ =0.00@1

call Transit_Skim_All_ Modes Parallel.bat %1

call Transit_Fare.bat 41
call Trip_Generation.bat 1
call Trip Distribution. bat 41

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call Mode_Choice Parallel.bat ol

call Auto_Driver.bat %1

call Time-of-Day.bat hl

call Highway_Assignment_Parallel.bat %1

call Average_Link_Speeds.bat %1

call Highway _Skims.bat fo

ti rem ss=s=== Transit assignment ======= ===

@echo Starting Transit Assignment Step
@date /t & time/t

call Transit_Assignment_Parallel.bat 41
call TranSum.bat %1

@echo End of batch file
@date /t & time/t
22 POM saaeee End of batch file =sssaeeerensennennnsnse sree SSeS

REM cd 4&1

REM copy *.txt MDP_%useMDPh\*. txt
REM copy *.rpt MDP_*useMDPA\*. rpt
REM copy *.log MDP_%useMDP%\*. log
REM CD...

set _year_=

set _alt_=

set _iter_=

set prev_=

set _maxUeIter_=
set _relGap_=

6.2.1 Description of the “run model” /wrapper batch file

|”

The first three lines of the “run model” batch file shown in Figure 16 are simply comments. Comments in

batch files can be indicated using either a double colon (“::”) or the word REM at the start of the line.*”
In line #5, we define a Windows environment variable called “root” and set its value to “.”, which simply
means the current directory location (i.e., the current directory where one has opened a command
prompt). In line #6, we define an environment variable called “scenar” (scenario) and set its value to the
model scenario/year we want to run (in this case, 2019 Final, but any string may be used, such as
“2030_lowGrowth”). In line #7, we define an environment variable named “runbat” which is used to
store the name of the “run model steps” batch file that we will use for the year-2019 model run. Lines
13-20 is where one sets the environment variables that control distributed processing. Distributed

processing is covered in more detail later in this report.

Line 27 is the actual line that runs the model. The “timethis” command is used to time how long the
command takes to run. In this case, the command being timed is the entire model run. The “2>&1” and
“tee” sections of line 27 are explained next. When a program is run in a command-line interface, such as
the Windows command window, there are two streams of output information: standard output and
standard error. Standard output is information that the program supplies to a user while the program is
running, such as messages about finishing a step, or the current TAZ number that is being processed.

Standard error is information about errors that occur while running a program, for example, “file not

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* A single colon (“:”) before a word indicates a label, which is often the target of a GOTO statement.

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found.” Normally, both the standard output stream and the standard error stream are sent to the screen
(in this case, the Windows command window). However, since model run last many hours, it is not
practical for a model user to watch the screen to see what messages occur during the model run. One
solution is to redirect these two information streams to a file, instead of the screen, which allows one to
review the contents of the file after the model run is completed. The “2>&1” keyword redirects both
standard error and standard output to one file (in this case, the file ending with “_fulloutput.txt”).
However, the drawback to this approach is that the model user will not see any real-time information on
the screen, since all the information is being sent to a file. An alternate approach is to combine the use of
“2>&1”" with the “tee” command, which splits any stream of information into two streams of identical
information. The result of using these two keywords together is that the standard output and standard
error streams are sent both to the screen and to a file at the same time. Line 30 simply opens, at the
conclusion of the model run, the file containing the standard output and standard error information. The
Tee.exe utility program is part of the Windows 2000 Resource Kit.

Line 33 calls a batch file that searches reports and output files for certain errors. Line 35 simply opens
this file containing the listing of errors. It should be noted that this file was mainly used for model
development, so it contains little useful information for the average model user. For the average
model users, the key file to review is the one that combines the standard output and error
information (“_fulloutput.txt”).

Lines 38 through 40 contain commands which opens other report files, after the model run has
completed. Line 42 (which is so long that it stretches over three lines in Figure 16) contains a PowerShell
command that opens a window showing some summary convergence metrics for traffic assignment.
Lastly, line 46 runs the cleanup process, which divides model output files into two sets: files to keep and
temporary files that can be deleted. At the completion of a model run, there are about 26 GB of output
files, many of which are temporary or non-final versions of files. The move_temp_files_v6.bat batch file
creates the folder “temp_files” and moves about 16 GB of the 26 GB of files to the temp_files folder. To
save disk space, the user can then either delete the temp_files folder or the contents of the temp_files
folder (such as using Windows File Explorer). The advantage of deleting the contents of the temp_files
folder, but not the folder itself, is that, in multi-user environments, it will be apparent to other model

users that the cleanup process has already been run.

6.2.2 Description of the “run model steps” batch files

As stated earlier, there is a “run model steps” batch file for each model run scenario/year. In previous
versions of the travel model, such as Ver 2.3.70, these “run model steps” batch files were structured to

implement three special modeling procedures:

1. Metrorail constraint to and through the regional core.
2. HOT3+: HOT lanes with free access for HOV3+ (e.g., |-495 and I-95 Express Lanes).
3. HOT2+: HOT lanes with free access for HOV2+ (e.g., I-66 inside the Beltway for 2017-2020).

However, as explained in sections 1.3 and 2.4, starting with the Ver. 2.3.75 model, COG/TPB staff has
eliminated the use of the Metrorail constraint to and through the regional core and also the HOV3+ skim

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substitution technique for modeling HOT lanes. These changes simplify the development of the “run
model steps” batch files, since we now use the same batch file structure for all scenarios of Ver 2.3.75.
The setup now excludes HOV2 and HOV3+ skim replacement and the Metrorail constraint procedures (in
the past, the Metrorail constraint procedure required extra attention for modeled years after 2020,
which had been the constraint year in the past).

Table 14 shows the key changes in three scenario representatives of Ver. 2.3.70 and Ver 2.3.75. For
example, the HOV3+ skim replacement procedure, which was invoked in Ver 2.3.70 in the model run
representing year-2019 conditions (since HOT lanes existed in that scenario), is not called in Ver 2.3.75.
Similarly, the Metrorail constraint and the HOV3+ skim replacement components are not invoked in the
year-2040 model run from Ver 2.3.75. Thus, a “base” scenario is not needed; only a “final” scenario is
now needed to run any modeled year. The final scenario can be called “2019_final” or simply “2019”. In
Ver 2.3.75, the environment variable “_tcpath_” (transit constraint path) is set to blank/null for all
scenarios since the Metrorail constraint path is not needed. Also, the HOV3+ skim
substitution/replacement technique is not used in the “run model steps” batch files of all scenarios, this
means that the “ HOV3PATH_” environment variable is removed (see Figure 17). Although 2020 is nota
conformity year in Visualize 2045, Table 14 still shows the differences between 2020 final scenario

model-step batch files of these two versions.

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Table 14 Summary of differences to the “run model steps” batch files for the years 2019, 2020, and 2045 in Ver 2.3.70 and Ver 2.3.75

Year / Scenario model Metrorail constraint through regional HOV2+ skim substitution technique for HOV3+ skim substitution technique for
runs core? modeling HOT lanes? modeling HOT lanes?
V2.3.70 V2.3.75 V2.3.70 V2.3.75 V2.3.70 V2.3.75 V2.3.70 V2.3.75
2019 base | N/A Not used (2020 is N/A N/A N/A No (Base HOV3+ skims are N/A
constraining year) estimated)
i.e., “set_tcpath_=”" i.e., “set HOV3PATH_ =”
2019 : : : :
2019 final | 2019 final | Not used (2020 is Not used N/A N/A Yes (Base HOV3+ skims are Removed
constraining year) “set used from the “base” run}
_tcpath_=”
i.e., “set _tcpath_=”" ie., “set
_HOV3PATH_=..\2019_base”
2020 base | N/A 2020 is the year used to | N/A No (Base HOV2&3+ skims N/A No (Base HOV3+ skims are N/A
set the constraint, but are estimated) estimated)
no change is made to
batch file
ie., “set_HOV3PATH_ =” i.e., “set_HOV3PATH_ =”
2020 i.e., “set_tcpath_=”
2020 final | 2020 final | 2020 is the year used to | Not used Yes (Base HOV2&3+ skims Removed | Yes (Base HOV3+ skims are Removed
set the constraint, but “set are used from the “base” used from the “base” run)
no change is made to _tcpath_=” run)
batch file i.e., “set
i.e., “set _HOV3PATH_=..\2020_base”
i.e., “set _tcpath_=” _HOV3PATH_=..\2020_base”
2040 base | N/A Yes N/A N/A N/A No (Base HOV3+ skims are N/A
estimated)
e.g., “set
2040 _tepath_=..\2020_final” i.e., “set HOV3PATH_=”
2040 final | 2045 final | Yes Removed N/A N/A Yes (Base HOV3+ skims are Removed
“set used from the “base” run}
_tcpath_=”
e.g., “set i.e., “set
_tepath_=..\2020_final” _HOV3PATH_=..\2040_base”
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wwwwwwnwwe hy YN N NN NN NP eee ee ee
an oaoun fw Ne Oo DW WYN TO he nN OU mA NHN oO ew

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Regarding the 2040_final scenario, whose “run model steps” batch file is shown in Figure 18, Table 14
shows that Ver. 2.3.75 is not using the Metrorail constraint process anymore. Thus, there are four
changes to the batch file shown in Figure 18. These changes are highlighted in yellow. First, the

“ tcpath_” environment variable is no longer set to the location containing the Metrorail trips for the
constraint year, 2020 (see line 16 in Figure 18). Although we could have removed this command entirely
from the batch file, we have chosen to leave it there, but with a blank argument, in case, in the future,
there would be a need to re-apply the Metrorail constraint. Second, line 32 of Figure 18 is highlighted to
indicate that PP_Highway_Skims.bat has been modified to adding a check to ensure that no rail stations
are disconnected from the road network. Third, the lines that call the Metrorail constraint mode choice
process (“call Mode_Choice_TC_V23_Parallel.bat”) have been changed to apply the mode choice
process without constraint (“call Mode_Choice_Parallel.bat”). These changes have been highlighted in
lines 50, 65, 82, and 99 in Figure 18. Fourth, regarding the modeling of HOT lanes, Table 14 shows us
that, a “final” scenario is no longer needed to apply the HOV3+ skim substitution/replacement
technique, so we no longer need to designate the location of the HOV3+ baseline skims. Thus, the

“ HOV3PATH_” environment variable is removed and the Highway_Skims.bat is used instead of
HSR_Highway_Skims.bat (see lines 39, 54, 70, 87, and 104 in Figure 18).

Figure 18 “Run model steps” batch file for 2040_final

:1 File location
:: Version 2.3.75
i: 2@18-@9-16 Mon @3:4@ PM

:: Version 2.3 TPB Travel Model on 3722 TAZ System

set _year_=2040

set _alt_=Ver2.3.75_204@ Final

i: Maximum number of user equilibrium iterations used in traffic assignment
: User should not need to change this. Instead, change relGap_ (below)

set _maxUeIter_=1000

:: Not set transit constraint path and files
:: Current year no longer used to set the constraint

set tcpath_=

:: UE relative gap threshold: Progressive (10*-2 for pp-i2, 10*-3 for i3, & 10*-4 for i4)
: Set the value below

rem ====== Pump Prime Iteration ==

set _iter_=pp
set _prev_=pp
set _relGap_=0.01

REM call ArcPy_Walkshed_Process.bat %1

call Set_CPI.bat #1

call PP_Highway_Build.bat %1

call PP_Highway_Skims.bat ‘1

call Transit_Skim_All_Modes_ Parallel.bat 41

call Trip_Generation.bat %1

call Trip_Distribution. bat wl

call PP_Auto_Drivers.bat 1

call Time-of-Day.bat 1

call Highway_Assignment_Parallel.bat fo

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call Highway _Skims.bat ‘1

: pem ====== Iteration 1

set _iter_=il
set _prev_=pp

call Transit_Skim_All_ Modes Parallel.bat %1

call Transit_Fare.bat 1

call Trip_Generation.bat #1

call Trip_Distribution.bat el

call Mode_Choice_Parallel.bat ‘1

call Auto_Driver.bat %1

call Time-of-Day.bat %1

call Highway_Assignment_Parallel.bat wo
call Highway_Skims.bat %1

it pem ==s=s== Iteration 2

set iter _=i2
set _prev_=il

call Transit_Skim_All_Modes_Parallel.bat 41
call Transit_Fare.bat %1

call Trip_Generation. bat wl

call Trip_Distribution.bat %1

call Mode_Choice Parallel.bat %1

call Auto_Driver.bat wl

call Time-of-Day.bat %1

call Highway_Assignment_Parallel.bat %1
call Average_Link_Speeds.bat 1

call Highway_Skims.bat ‘1

set _iter_=i3
set _prev_=i2
set _relGap_=@.601

call Transit_Skim_All_ Modes Parallel.bat %1
call Transit_Fare.bat 1

call Trip_Generation. bat 1

call Trip_Distribution.bat %1

call Mode_Choice_Parallel.bat wl

call Auto_Driver.bat wl

call Time-of-Day.bat HL

call Highway_Assignment_Parallel.bat fol
call Average _Link_Speeds.bat wl

call Highway_Skims.bat %1

rt prem ===s=s== Iteration 4

set _iter_=i4
set _prev_=i3
set _relGap_=0.0001

call Transit_Skim_All_Modes_Parallel.bat %1
call Transit_Fare.bat wl

call Trip_Generation. bat 1

call Trip_Distribution.bat 1

call Mode_Choice_Parallel.bat %1

call Auto_Driver.bat %1

call Time-of-Day.bat M1

call Highway_Assignment_Parallel.bat ol
call Average_Link_Speeds.bat #1

call Highway _Skims.bat wl

== Transit assig it

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@echo Starting Transit Assignment Step
@date /t & time/t

call Transit_Assignment_Parallel.bat %1
call TranSum.bat %1

@echo End of batch file
@date /t & time/t
tt rem ====== End of batch file

REM cd %1

REM copy *.txt MDP_%useMDP%\*. txt
REM copy *.rpt MDP_XuseMDP%\*. rpt
REM copy *.log MDP_XuseMDP%\*. log
REM CD...

set _year_=

set _alt_=

set _iter_=

set _prev_=

set _maxUeIter_=
set _relGap =

All two of the “run model steps” batch files (Figure 17 and Figure 18) apply the progressive relative gap
procedure by using the “_relGap_” environment variable. For example, the relGap variable starts at a
value of 0.01 (104-2) on line 27 in Figure 18, and then changes to 0.001 (104-3) on lines 76, before
attaining the final value of 0.0001 (104-4) on line 93 in speed-feedback iteration 4. This is covered in
more detail in the text surrounding both Table 6 and Table 86.

6.3 Running the model: An example

This section provides an example of how to run the travel model for the year 2019 (named “2019 final”)
using the travel model package that is typically transmitted to external users. It is assumed that the user
has copied the transmitted model into the folder where it will be run and did not modify any input files
or folder names. The top-level folder is referred to as the “root” folder and typically has a name
referring to the travel model version and the specific modeling project (e.g. “Ver2.3. 75_aqc_ Vis2045”).
The root folder contains all the batch files and modeling folders (shown in Figure 11). The
folder/subdirectory called “2019 final” is referred to as the “outputs” folder or the “scenario-specific”
folder. It should also be noted that, to follow the steps below, one should have followed all the steps in
Chapter 5 (“Preparing to run the model”). It is also assumed that you are not making any changes to the
default parallel processing setup in the model, which requires a computer with eight cores. Otherwise,
see instructions found in Table 19 on p. 84.

1. Ensure that the root folder has the two parent batch files:
a. run_Model_2019_final.bat, which is known as the wrapper batch file or the “run mode
batch file.
b. run_ModelSteps_2019_final.bat, which is known as the “run model steps” batch file.
2. These two batch files are ready to go and should not need any editing for a normal model run.

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However, the general practice would be to open the wrapper file in a text editor (do not double

click it, since this will launch the model run) and check the following:

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a. The “root” environment variable should be set equal to “.” (which means the current
working directory, i.e., the current folder in your command window)

b. The “scenar” environment variable should be set equal to “2019 final”

c. The “runbat” environment variable should be set equal to
“run_ModelSteps_ 2019 _final.bat’ (which is the relevant “run model steps” batch file)

d. Other environment variables, such as those used for distributed processing, are
explained in the chapter on parallel processing.

3. Open acommand window and navigate to the root folder OR

Use Windows Explorer/File Explorer to navigate to the root folder using the method described in
section 6.2 (“Parent batch files”), which begins on page 57).

4. Type “run_Model_2019_final.bat” (without the quotes) and hit Enter.

The model run should begin, and the user should see numerous commands scrolling in the command
window.

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7 Summarizing model output and other utilities

7.1 Summary Scripts

In addition to the model, the user is provided with a number of summary scripts, which may be helpful

in analyzing the model output. These are listed in Table 15.

Table 15 Travel Model Summary Scripts

info, trips, and VMT.

Summary script Description Folder
COMPARE_NL_MC.S Compares estimated mode choice results summary
between two different model runs.
COMPARE_NL_MC_Cube61vsCube64.S | Compares estimated mode choice results summary
between two different model runs.
COMPARE_NL_MC_Expanded_Alt_V23_ | Compares alternative developed with summary
52_minus_Base_V23_39.S V2.3.52 and base developed with V.2.3.39.
Such a script is needed because naming
conventions for output files changed
between Build 39 and Build 52.
Compare_Trip_Distribution.s Compares estimated trip distribution to summary
observed trip distribution from HTS
Diff_Plots Rev2.s Plots volume differences between two summary
input networks
Retrieve_Pros_SubAreas.s Summarize estimated productions and summary
attractions by purpose and mode.
Screen_Analysis.s Performs analysis of traffic assignment summary
volumes by screenline
Summarize_2007_2040_Screenlines.s Compares estimated screenlines volumes in | summary
2007 and 2040
Summarize_Est_Obs_ Volume_Daily.s Compares estimated daily traffic volumes summary
on select links to observed counts. Also
compares estimated and observed daily
screenline volumes.
Summarize_Est_Obs Volume_Period.s Compares estimated AM, MD, PM, and NT summary
volumes on select links to observed counts.
view_from_space_v2.3.75.s Creates global summary of demographic summary

RMSE_Cale.s

Creates summaries of link counts and
percent root mean squared error between
estimated link volumes and observed
counts.

assignment_summary

ScreenLine_Summary.s

Merges counts on toa network.

assignment_summary

TVOLDIF_Plot.s

Plots volume differences between two
input networks

assignment_summary

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Additionally, the program LineSum.exe is used for summarizing the transit assignment (see Chapter 24
(“Transit Assignment, Including Summary Process (LineSum)”).

7.2 Utilities

The Version 2.3 Travel Model requires many input files in various file formats. One of the file formats is
dBase or DBF. Compared to space-delimited text files, DBF files have several advantages (e.g., fields do
not mistakenly run together when values become large), but DBF files can also have some drawbacks,
e.g., they can be difficult to create, and it can be difficult to compare two DBF files. On this second issue,
there are several utilities for comparing or “diffing” text files (such as the Unix/Linux diff command,
WinDiff, WinMerge, PSPad, and Notepad++), but it is more difficult to find programs that allow one to
compare DBF files. To facilitate such comparison, a member of the TPB staff, Feng Xie, has developed a
utility, known as the DBF Converter (DBF_Converter_v3.2.xls) that enables the user to convert DBF files
to text files in comma-separated variable (CSV) format. This conversion can also be done within Cube
(using File > Export). Once the files are converted to CSV format, it is easier to compare or “diff” them
using other existing utilities. TPB staff is making this DBF converter available to users of the regional
travel model to aid in checking/comparing input files.

Using the DBF converter, the user has the option of converting all DBF files in a directory or a select
subset of the files. This utility requires Microsoft Office Excel software.

To begin the process, the user double clicks on the converter file/icon (DBF_Converter_v3.2.xls), which
will open an Excel spreadsheet. In the center of the spreadsheet, there is a “Start” button. Before
clicking on this button, the user has to enable the button by clicking on the “Options...” button:

@ Security Warning Some active content has been disabled. Options...

When prompted, the user will have to click “Enable this content” and “OK”:

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Security Alert - Macros & ActiveX

Macros & ActiveX
Macros and one or more ActiveX controls have been disabled. This active content might
contain viruses or other security hazards. Do not enable this content unless you trust
the source of this file.
Warning: It is not possible to determine that this content came from a
trustworthy source. You should leave this content disabled unless the
content provides critical functionality and you trust its source.
More information

File Path: X:\modelRuns\fy 12Wer2. 3,37_conf\DBF_Converter_v3. 2.xds

Open the Trust Center ( OK ] Cancel

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Now, the user can click on the “Start” button:

Start ! |

This will result in the following pop-up window prompting the user to enter the input folder, output

folder, and the file name filter string(s):

Please Specify Input Folder

Input Folder

File Name Filter String(s)

Please Specify Output Folder

Output Folder |

The input folder must contain the DBF files that the user wishes to convert. The output folder is the
folder where the newly created CSV files will be placed. The Input/Output folders can be specified by
either by clicking the “Browse” button or by typing/pasting in the text boxes. Once the user has selected
the input and output folders, he or she may wish to specify a file name filter string. The filter string
textbox allows multiple filter strings, separated by spaces. If the user would like to convert all DBF files
in the input folder, then the “File Name Filter String(s)” field should be left blank.°? However, if the user
wishes to convert only one DBF file or only a subset of DBF files in the input folder, he or she should
specify either a full or partial file name. When the fields are filled, the user needs to press the “Convert”
button. Once the conversion process is complete, the user will see a pop-up window stating that the

DBF file(s) were converted successfully.

3 Note, however, that this can take several minutes, since there are over 100 files.

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Microsoft Excel

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1 DBF file(s) converted successfully.

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Once the converter has run, the user can find the newly created CSV file(s) in the specified output

folder.

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8 Use of parallel processing to reduce model run times

8.1 Model run times

In the period from 2008 to 2011, when COG/TPB staff had first transitioned from the Version 2.2 Travel
Model to the Version 2.3 Travel Model, we noticed that the Version 2.3 model required much longer run
times. For example, using a server bought in 2009 (such as COG’s travel model server 3, or tms3), a run
of the Ver. 2.2 Travel Model took 15-20 hours, whereas a run of the Version 2.3 Travel Model required
about 80-90 hours initially (a factor of 4.5 times or 350%), which was later reduced to about 30 hours in
2012 by using Cube Cluster, Citilabs’ implementation of distributed processing. On a newer travel model
server, such as tms8 or tms7, the model run time is about 13 - 17 hours.

There are several reasons why the Version 2.3 Travel Model, when it was first developed, had such long
run times, compared to its predecessor, the Version 2.2 Travel Model. First, the number of
transportation analysis zones (TAZs) increased from 2,191 to 3,722. This represents a 70% increase in
the number of TAZs and a 189% increase in matrix sizes used to store trip tables and travel time skims
(3,7227/2,1917). The other factors causing longer run times are associated mainly with refinements to

the Version 2.2 traffic assignment process:

e The number of time-of-day periods went from three (AM, PM, and off peak) to four (AM,
midday, PM, night/early morning)

e The number of user classes went from five to six (an explicit commercial-vehicle user class has
been added);

e The number of traffic assignments has increased. The Version 2.2 Travel Model had originally
used three traffic assignments, one for each time-of-day period (AM, PM, and off peak). Later
versions of the Version 2.2 Travel Model split the peak assignments into two groups (HOV3+ and
non-HOV3+, the so called “two step traffic assignment”), resulting in the five assignments shown
in the left-hand column of Table 16. In the Version 2.3 Travel Model, the off-peak period has
been further split into two parts: midday and night/early morning. So, the number of traffic
assignments has increased from five in Version 2.2 to six in Version 2.3.

e Higher convergence thresholds

o Inthe Version 2.2 model, all five traffic assignments were run with 60 user equilibrium
(UE) iterations. This resulted in a range of relative gaps values, from a low value of 1.10
x 107 (0.0001) for the AM HOV3+ assignment to a high of 1.19 x 107 (0.0119) for the AM
non-HOV3+ assignment.>? *

o Inthe Version 2.3 model, prior to Build 52, all six traffic assignments were run to either

a relative gap of 0.001 (1 x 10°) or 300 user equilibrium iterations, whichever came first.

*4 From a model run representing year-2002 conditions from the air quality conformity determination of the 2009
CLRP/FY 2010-2015 TIP.

°° The modeler can check the relative gap by consulting the highway assignment report file for the final speed
feedback iteration (i.e., i4 Highway _Assignment.rpt). The variable is called RELGAP.

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For travel model versions 2.3.52 through 2.3.75, we use a progressively tightening
relative gap procedure, which is described in more detail later in this chapter.

Table 16 Five traffic assignments in the Version 2.2 travel model became six in the Version 2.3 travel model

Version 2.2 model: Five assignments Version 2.3 model: Six assignments
AM Non-HOV3+ AM Non-HOV3+
AM HOV3+ AM HOV3+
PM Non-HOV3+ PM Non-HOV3+
PM HOV3+ PM HOV3+
Off peak Midday
Night and early morning

8.2 Use of parallel processing to reduce model run times

One way to reduce model run times is to buy quicker hardware. However, there are limits to this
approach, given the recent trend of chip makers, such as Intel, to focus less on increasing clock speeds
and focus more on increasing the number of cores (i.e., the capacity) of computer processors. As
evidence of this trend, one of COG’s travel model servers, tms6, has a processor whose clock speed is
16% slower than that of its predecessor (travel model server #5, or tms5). By contrast, the number of
cores has gone from 12 physical cores (24 virtual cores with Hyper-Threading) in tms5 to 16 physical
cores (32 virtual cores with Hyper-Threading) in tms6. Consequently, we have focused on achieving run
time reductions via the software side of the equation. COG’s newest travel model server, tms8, has a
clock speed of 3.2 GHz, has two processors, each with 12 physical cores, which, with Hyper-Threading

turnd on, appears to the operating system as 48 logical processors (virtual cores), as noted in Table 7.

We use the term “parallelization” to mean running two or more processes or threads in parallel. By
running two or more steps in parallel, one can reduce model run time. A common way to achieve this
parallelization is by using distributed processing, which essentially distributes the computing load across
multiple computer processors or cores. These computer processors/cores could be in separate
computers (linked by a local area network or LAN) or could be on one computer that has multiple cores.
Citilabs has its own implementation of distributed processing called Cube Cluster, which is an add-on

component of Cube Voyager. There are two forms of distributed processing available in Cube Cluster:

e “Intrastep distributed processing (IDP): This type of distributed processing works by breaking up
zone based processing in a single step into zone groups that can be processed concurrently on
multiple computing nodes. Currently only the Matrix and the Highway programs are available
for IDP.”°®

e “Multistep distributed processing (MDP): This type of distributed processing works by breaking
up blocks of one or more modeling steps and distributes them to multiple computing nodes to

process. This can be used for any program in Cube Voyager as well as user-written programs

*6 Citilabs, Inc., “Cube Voyager Reference Guide, Version 6.4.1” (Citilabs, Inc., September 30, 2015), 1124-25.

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with the caveat that the distributed blocks and the mainline process must be logically

independent of each other.”°”

The Version 2.3. Travel Model uses both IDP and MDP, and uses a third method of parallelization that is
already part of the Windows operating system: Running programs in parallel using multiple concurrent

command windows.

8.2.1 Background and terminology

A computer contains a central processing unit (CPU), which is also known as a chip or processor. Modern
CPUs are often divided into two to ten. A core functions as a separate processor, so, to an operating
system, a computer with two CPUs is the same as a computer with one CPU divided into two cores. The
two biggest chip manufacturers for computers running the Microsoft Windows operating system are
Intel and AMD. COG/TPB staff has run the Version 2.3 Travel Model on only computers with Intel chips,
but the model should run on computers with any Intel-like chip, such as AMD. Some Intel chips feature a
technology known as Hyper-Threading. When Hyper-Threading technology is enabled on the chip, the
operating system sees double the number of cores. So, if your computer has four cores and Hyper-
Threading is enabled, the operating system will see eight virtual cores (or “logical processors”), thus
doubling your CPU capacity. Thus, a computer with one CPU that contains four cores and has Hyper-
Threading enabled, should be able to run the Version 2.3 Travel Model “out of the box” without
making changes to the “run model”/wrapper batch file, since such a computer has eight virtual
cores.*= When a computer executes a task, it uses a process or “thread.” In general, one process or
thread runs on one processor or core. The operating system (Microsoft Windows) chooses the actual
physical core to use when running a process. If one opens the Resource Manager within Windows Task
Manager, one can see that the operating system appears to randomly move the task from one core to
the next until the process completes, but the user need not focus on this detail. Cube Base
documentation does briefly discuss Hyper-Threading.°°

In Cube Cluster parlance, a set of processors that can be used for a computing task, whether they exist
in one computer or a network of computers is called a “cluster.” Any individual processor or core is
called a “computing node” or simply a “node.” Cube Cluster, which is a part of Cube Voyager, allows the
nodes in the cluster to communicate, so that they can work together, essentially running in parallel, to
accomplish a computing task. Citilabs originally wrote Cube Cluster with the idea that users would want
to harness the power of multiple, run-of-the-mill PCs that were networked together using a local area
network (LAN). However, COG/TPB staff has not used Cube Cluster in that way. Instead, COG/TPB staff
has harnessed the power of Cube Cluster by running on one computer (server) at a time, by virtue of the

*? Citilabs, Inc., 1125.

*§ According to one external user who had a computer with only four cores (though it was not clear whether these
were physical cores or virtual cores), the user found that the model crashed at the mode choice step. This was likely
due to the fact that the default configuration of the model is designed to run five concurrent mode choice runs.
However, this user was able to follow the procedures listed in Table 19 to get the model to run on the four-core
computer.

°° Citilabs, Inc., “Cube Base Reference Guide, Version 6.4.1” (Citilabs, Inc., September 30, 2015), 10-11.

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fact that the computer contained multiple cores. If you are running Cube Cluster across multiple
computers, you would have a main computer, known as the “main node,” and one or more helper
computers, known as “sub-nodes” (or “subnodes”). When running Cube Cluster in a single computer
with multiple cores, the “main node” and “sub-nodes” would then exist within the same CPU. So,
continuing with the single-computer scenario, the user can think of a model run as occurring on a “main
node” (which is simply one of the cores on the CPU), and the main node can then call upon one or more
sub-nodes (other cores on the CPU) to make use of IDP or MDP.

8.2.2 Effect of Cube Cluster on modeled results

It should be noted that using Cube Cluster can result in numerical rounding which can affect model
results. For instance, COG/TPB staff found that the use of IDP resulted in a very small change in the
estimated VMT coming out of the travel model. As part of a series of test conducted in 2011, COG/TPB
staff conducted two model runs: 1) a year-2007 traffic assignment with IDP using 4 cores; and 2) a year-
2007 traffic assignment without IDP (i.e., one core). COG/TPB staff then calculated the VMT difference
between the two runs at the regional level, the jurisdiction level, and the link level. At the regional level,
the use of IDP had almost no effect on modeled results — it resulted in only a 1/100th to 3/100ths of a
percent drop in estimated VMT (slide 25). At the jurisdiction level, the use of IDP also resulted in almost
no difference in estimated VMT — the difference was as large as 9/100ths of a percent for some
jurisdictions (slide 27). At the link level, however, the use of IDP resulted in several cases where the VMT
difference was above 20% (slide 29). Fortunately, the links with the largest volume differences were the
lower-class facilities (e.g., not freeways). Both runs were done as part of the full travel model and both
were done using Cube Voyager/Cluster version 5.1.2. Newer versions of Cube Voyager/Cluster are now
available (e.g., COG is now using 6.4.1), but COG/TPB staff have not re-tried the sensitivity test with the
newer versions of Cube Voyager. COG/TPB staff shared these results with Citilabs and, in 2012, Citilabs
updated its documentation to note this rounding phenomenon. For example, in the Cube 6.4.1 Cube
Voyager Reference Guide from 2015: “Use of Cluster can have a very small effect on volumes generated
by the HIGHWAY program. During the ADJUST phase, when iteration volumes are combined, the final

assigned volumes might vary slightly over different numbers of cluster nodes.”°*

8.2.3. History of adding parallelization to the Version 2.3 Travel Model
In Build 16 of the Version 2.3 Travel Model (Ver. 2.3.16), COG/TPB staff added IDP to the highway

assignment script. Staff set the travel model up to use four cores, and, based on the findings of various
tests, staff recommended that users who wanted to replicate COG results also use four cores. In Builds
20 through 24 of the Version 2.3 Travel Model, COG/TPB staff added IDP to other modeling steps, such
as MFARE2.s, Time-of-Day.s, and the transit skimming scripts. In 2012, COG asked for AECOM’s
assistance to further reduce model run times. AECOM suggested model changes that introduced MDP to

6 See slides 25-32 of Ronald Milone and Mark S. Moran, “TPB Version 2.3 Travel Model on the 3,722-TAZ Area
System: Status Report” (May 20, 2011).
6! Citilabs, Inc., “Cube Voyager Reference Guide, Version 6.4.1,” 1129.

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the travel model.°* Now, in addition to using four cores for IDP traffic assignment, the use of MDP
allowed two traffic assignments to run in parallel (thus, 8 cores would be in use, but only 4 in each of the
two IDP sessions). COG/TPB staff incorporated these AECOM recommendations into Build 40 of the
Version 2.3 Travel Model (Ver. 2.3.40), and these same parallelization enhancements, such as the use of
both IDP and MDP, also exist in the Version 2.3.52 Travel Model and later models.

8.2.4 Implementation of parallelization in the Version 2.3.52 through 2.3.75 travel models

The Version 2.3.52 Travel Model (and later models, including Ver. 2.3.75) has three types of

parallelization to help minimize run times:

e Cube Cluster intra-step distributed processing (IDP)
e Cube Cluster multi-step distributed processing (MDP)
e Windows operating system: Running programs in parallel using multiple concurrent command

windows
IDP is used in three modeling steps:

e Highway assignment (Highway_Assignment_Parallel.s)
e Transit fare development (MFARE2.S)

e =Transit assignment (Combine_Tables_For_TrAssign_Parallel.s)

By contrast, MDP is used for only one step: Highway assignment (Highway_Assignment_Parallel.s). In
other words, highway assignment uses both IDP and MDP. The model is set up to use four cores in IDP,
and, using MDP, there are two concurrent IDP sessions: A main node, which uses four cores via IDP, and
a sub-node, which also uses four cores via IDP. This combination of IDP and MDP means that highway
assignment uses 8 cores concurrently for processing.

Lastly, running programs in parallel by using multiple concurrent command windows is used for three

modeling steps:

e = Transit skimming (command windows invoked by Transit_Skim_All_Modes_Parallel.bat)
@ Mode choice (command windows invoked by Mode_Choice_Parallel.bat)

e =©Transit assignment (command windows invoked by Transit_Assignment_Parallel. bat)

IDP, which works only for the MATRIX or HIGHWAY modules of Cube Voyager, is implemented in a Cube
Voyager script using a single line of code, such as this from the Highway_Assignment_Parallel.s script:

distributeIntrastep processId="AM', ProcessList=%AMsubnode%

© For more details, see AECOM and Stump/Hausman Partnership, “FY 2012 Draft Final Report, COG Contract 12-
006: Assistance with Development and Application of the National Capital Region Transportation Planning Board
Travel Demand Model” (National Capital Region Transportation Planning Board, Metropolitan Washington Council
of Governments, July 13, 2012), chap. 5, http:/Avwww.mwcog.org/uploads/committee-

documents/aV 1dWVhb20120720132722.pdf.

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By contrast, MDP is implemented in a Cube Voyager script using an MDP block of code. The code block
begins and ends with code such as the following (from the Highway_Assignment_Parallel.s script):

DistributeMULTISTEP ProcessID='AM', ProcessNum=1
(various lines of code)
ENDDistributeMULTISTEP

The IDP statement above can be used on its own or within an MDP block. Examples of both of these
cases can be found in the Highway_Assignment_Parallel.s script.

Table 17 shows the five modeling steps where parallelization is used, noting the method of
parallelization (e.g., IDP, MDP, or batch file); the names of the batch files that call each step; the names
of the tokens (variables) used to store the number of processing nodes/subnodes to use for IDP/MDP;
and the maximum number of simultaneous threads/cores used by the step. For example, in the case of
transit skimming, parallelization is achieved by calling multiple simultaneous batch files. The batch file
that actually initiates the multiple Windows command windows is Transit_Skim_All_Modes_Parallel.bat,
and, since this step uses neither IDP nor MDP, there are no associated IDP or MDP tokens. The transit
skimming process uses 4 cores. In the highway assignment step, both MDP and IDP are used. The tokens
used for IDP are AMsubnode and MDsubnode (more on this later in this chapter). Although MDP is used,
no tokens are used for MDP. Instead, the subnode for MDP is labeled using a fixed name, “AM1”. The
highway assignment step can use up to 8 simultaneous nodes/cores, since IDP is implemented with four
cores and there are two concurrent IDP sessions, run using MDP. As can be seen in Table 17, modeling
steps with parallelization use 4, 5, or 8 cores. Modeling steps without parallelization use only one core at
a time.

8.2.4.1 Parallel processing in the “Run model” /wrapper batch file

This section of the report describes how the code in the “run model” /wrapper batch files affects parallel
processing implemented in the Version 2.3.52 Travel Model (and used in subsequent versions of the
model, such as Ver. 2.3.75). This section uses the 2019 final “run model” batch file (Figure 16 on page
59) as an example. It also describes changes that can be made to the “run model” /wrapper batch files in
order run the model on a computer with fewer than the standard 8 cores. The next section of the
report, 8.2.4.3 on page 85, describes how parallel processing (specifically IDP and MDP} has been
implemented in one script: Highway_Assignment_Parallel.s. As noted in Table 17 (p. 81), the number of
cores used in each of the parallelized modeling steps varies fram 4 to 8 cores. Those steps that do not
contain parallelization use only one core at a time. Thus, to run the Version 2.3.52 Travel Model “out of
the box,” without making any changes, one needs a computer with eight or more cores, as was
explained in the section 3.1 of the report.

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Table 17 Modeling steps where parallelization is used, including the maximum number of threads/cores used

IDP (Combine _Tables_For_TrAssign_Parallel.s)

Tokens Max.

Method of Parallelization (batch file or script Used for No. of
Modeling Step First-Level “Child” Batch File Second-Level “Child” Batch File which calls parallel process) IDP** Cores
Transit skimming Transit_Skim_All_Modes_Parallel.bat TransitSkim_LineHaul_Parallel.bat Batch file (Transit_Skim_All_Modes_Parallel.bat) 4
Highway assignment Highway_Assignment_Parallel.bat None MDP & IDP (Highway_Assignment_Parallel.s) AMsubnode 8

MDsubnode

Transit fare Transit_Fare.bat None IDP (MFARE2.s) subnode 4
development
Mode choice Mode_Choice_Parallel.bat MC_purp.bat Batch file (Mode_Choice_Parallel.bat) 5
Transit assignment Transit_Assignment_Parallel.bat TransitAssignment_LineHaul_Parallel.bat Batch file (Transit_Assignment_Parallel.bat) subnode 4

** MDP as implemented in Highway_Assignment_Parallel.s does not use a token. Instead, the subnode name designation is done using a hard-
coded value in the script, i.e., “AM1”, as is explained later in this chapter.

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The “run model”/wrapper batch file makes use of several of user-defined Windows environment
variables. Those environment variables that do not deal with distributed processing were discussed in
section 6.2.1 (“Description of the “run model” /wrapper batch file”) on page 62. By contrast, those
environment variables that do deal with distributed processing are discussed in this chapter (Chapter 8).

it is possible to have IDP-related or MDP-related statements in a script, but not use them. Consequently,
one of the first Cube Cluster statements in any script that uses Cube Cluster will be a statement that
indicates whether Cube Cluster should be used or not. An example of such a statement is shown below:

distribute intrastep=t multistep=f

The above statement indicates that IDP will be used (since its flag has been set to a value of TRUE or T)
and MDP will not be used (since its flag has been set to a value of FALSE or F). In this example, even if
there is code for MDP in the Cube Voyager script, the MDP processing will not be executed, since it has
been set to FALSE. In our scripts and batch files, we generally use user-defined, Windows environment
variables to set these two values. Thus, the statement above appears like this, using two “tokens” or
variables to hold the true/false flags:

distribute intrastep=%useIdp% multistep=%useMdp%

in lines 13 and 14 of the “run model”/wrapper batch file (shown in Figure 16), these two “set”
statements simply set the IDP and MDP usage flags to a value of TRUE:

set useIdp=t
set useMdp=t

The statement “distribute intrastep=%useldp% multistep=%useMdp%” is used in both
Combine_Tables_For_TrAssign_Parallel.s and Highway_Assianment_Parallel.s.©? By contrast, in
MFARE2.s, which uses IDP, but not MDP, the MDP flag has been hard-coded to FALSE, instead of using
the token value set in the wrapper batch file: “distribute intrastep=%useldp% multistep=f".

The “useidp” environment variable is used in the three steps shown in Table 17 that make use of IDP. As
one would expect, the “usemdp” environment variable is used in the highway assignment step, since
this step makes used of MDP. However, the “usemdp” environment variable is also used in
Mode_Choice_Parallel. bat. Specifically, if the “usemdp” flag is set to TRUE, then parallel processing is
used in the mode choice step (via concurrent batch files, not MDP), which means that the five mode
choice models (HBW, HBS, HBO, NHW, and NHO) are run in parallel command windows. If the “usemdp”
flag is set to FALSE, then the mode choice process assumes that there is only one core available and runs

the five mode choice models in sequence.

® This same statement is also currently found in the four transit skimming scripts

(Transit_Skims AB|BM|CR|MR.s), but it is no longer being used, so it should eventually be removed. At one point,
we had used IDP in transit skimming, but, for the Ver. 2.3.40 model, when parallelization via concurrent batch files
was added, the parallelization via IDP was dropped, so that the model would not use more than 8 concurrent cores.

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The next two environment variables dealing with distributed processing can be found on in lines 16 and
17 of the “run model”/wrapper batch file (Figure 16):

set AMsubnode=1-4
set MDsubnode=2-4

As shown in Table 17, the AMsubnode and MDsubnode are used for IDP in traffic assignment. The
names AMsubnode and MDsubnode would seem to indicate a subnode for processing the AM peak
period and one for processing the midday period. Originally, when AECOM first proposed adding MDP to
various steps of the model, it was added to both highway skimming and highway assignment. In highway
skimming, there is a peak period skim, represented by the AM peak period, and an off-peak period skim,
represented by the midday (MD) period. So, for skimming, the processing of the AM skims was sent off
to a subnode, using MDP, and the AMsubnode variable/token was used to define the number of
subnodes to use in IDP for the processing of the AM skims. And for the processing of the midday (MD)
skims, this work was retained on the main processing node, with the MDsubnode variable/token used to
define the number of subnodes to use in IDP for the processing of the MD skims.™ For reasons of
expediency, the same variable names (AMsubnode and MDsubnode) were used for the MDP in the
highway assignment step. This meant that the AM peak period highway assignment was transferred, via
MDP, to a subnode called “AM1.” But, in the case of the PM traffic assignment, it was processed on the
main node, but it used the “MD” token for naming its IDP subnodes.® What’s more, the MD period was
processed on branch/sub-node delineated “AM” (from the AMsubnode, not “MD”) and the NT period
was processed by the main node, but was delineated “MD” (from MDsubnode, not “NT”). When
COG/TPB staff chose which of the AECOM suggested parallelization enhancements to implement, it
chose not to implement MDP in the highway skimming, just in highway assignment.®° The end result
was that the naming convention used in the highway assignment step is somewhat confusing, even
though, strictly speaking, the code functions normally. This is explained in more detail in the next
section of the report. Consequently, given the way that MDP is used in only the highway assignment
step, one could come up with better names for the two variables that are currently called AMsubnode
and MDsubnode, as shown in Table 18.

Table 18 Current and alternate names for the two Windows environment variables that store information about the number
of subnodes to use in IDP in the highway assignment

Current name of Alternate name for

environment variable | Usage environment variable

AMsubnode Number of IDP subnodes used within an MDP block idp_for_mdp_branch

MDsubnode Number of IDP subnodes used w/in main processing idp_for_main_branch
branch

See, for example, AECOM and Stump/Hausman Partnership, “FY 2012 Report,” figs. 5-2.

® See, for example, AECOM and Stump/Hausman Partnership, figs. 5-6.

66 See Mary Martchouk and Mark S. Moran to Ronald Milone, “Reducing Model Run Times: Results from the TPB
Staff Tests of AECOM’s Proposed Parallelization Enhancements to the Travel Model,” Memorandum, September
17, 2012, 6.

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Given that we generally have decided upon using four cores for IDP processing in the model (to maintain
constistency), one might expect that AMsubnode = MDsubnode = 1-4. In other words, one might expect

that we would provide Cube Cluster with a list of four nodes (1-4) for both the main branch of IDP

processing and the MDP branch of IDP. According to AECOM, the reason for delineating only three
subnodes (i.e., “MDsubnode=2-4”) and not four, is that “only three slave threads [sub-nodes] are

launched since the master uses itself as one of the threads to process the PM highway assignment.

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Thus, despite the appearance of 3 nodes for MD and 4 nodes for AM, both IDP sessions use 4 nodes. To

further clarify this issue, the IDP and MDP processes running in Highway_Assignment_Parallel.s have

been diagramed in Figure 19 and Figure 20 in section 8.2.4.3.

8.2.4.2 Changing the “run model” /wrapper batch file for computers with fewer than 8 cores

The Version 2.3 Travel Model (Ver. 2.3.52 and later) is designed to run on a computer that has 8 or more

cores. Table 19 shows the changes that a user should make in order to run the Version 2.3 model on

computers with fewer than 8 cores. See section 8.2.2 (“Effect of Cube Cluster on modeled results") on p.

78 for a discussion about how modeled results can change slightly with the number of cores used.

Table 19 Running the Version 2.3 Travel Model on computers with fewer than 8 cores: Changes that need to be made to the
“run model” /wrapper batch file

Number

of cores in

your Changes needed in the “run

computer | model”/wrapper batch file Result

8 or more e Nochanges need be made The model will run using between 1 and 8 cores,
depending on the modeling step. Eight cores are
used in highway assignment, due to the use of
both IDP and MDP.

4 e Change “useMdp=t” to “useMdp=f” | This change will mean that highway assignment no
longer uses MDP, only four cores with IDP. Also, in
the mode choice model, sequential processing will
be done (i.e., the five models will no longer run in
parallel).

2 e Change “useMdp=t” to “useMdp=f” | This should result in only 2 cores being used in IDP.

e Change “set AMsubnode=1-4” to
“set AMsubnode=1-2”
e Change “set MDsubnode=2-4” to
“set MDsubnode=2”
1 e Change “useMdp=t” to “useMdp=f” | This will disable IDP and MDP and will also result in
e Change “useldp=t” to “useldp=f” disabling the parallel processing in the mode
choice step.

Note that the information in Table 19 is based on testing done by COG/TPB staff using a virtual

computer with Cube 6.0.2 installed.

§7 AECOM and Stump/Hausman Partnership, “FY 2012 Report,” 5—9 to 5-10.

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8.2.4.3 Parallel processing in the highway assignment script

The previous section of the report, section 8.2.4.1, described how the code in the “run model” /wrapper
batch files affects parallel processing implemented in the Version 2.3 Travel Model (Ver. 2.3.52 and
later). This section of the report describes how parallel processing (specifically IDP and MDP) have been
implemented in one script: Highway_Assignment_Parallel.s. Figure 19 shows a schematic of how IDP
and MDP have been implemented in the highway assignment script. This figure shows the sub-node
naming conventions that are used in the Version 2.3 Travel Model, keeping in mind some of the issues
related to the naming of sub-nodes in section 8.2.4.1. Figure 20 is a revision of Figure 19, which shows a
schematic of how IDP and MDP have been implanted in the highway assignment script, but with a
proposal for more logical naming conventions (the changed sub-node names are indicated by using red
font).

The actual highway assignment script relating to Figure 19 can be found in Appendix C (Volume 2). Since
the script has over 2,000 lines of code, we have created an excerpt of the
Highway_Assignment_Parallel.s script (about 150 lines), shown in Figure 21, that focuses on the lines
that are most relevant to IDP and MDP. Locations where code has been removed are indicated in Figure
21 by a triple ampersand (“&&&”). On line 4 of Figure 21, the statement “distribute intrastep=%useldp%
multistep=%useMdp%” either turns IDP and MDP on or off, based on the value of the two tokens. The
code in Figure 21 contains two MDP blocks. Each MDP block begins with the keyword
“DistributeMULTISTEP” and ends with the keyword “ENDDistributeMULTISTEP.” The beginning and
ending of each of the two MDP blocks has been highlighted in green. IDP does not require a block of
statements — it simply uses a single statement begun with the keyword “distributelntrastep.” Lines
containing this keyword have been highlighted in yellow. For example, the first MDP block includes two
IDP statements, but the next two IDP statements occur outside of an MDP block (in other words, they
are run from the main node, not a sub-node). As shown in Figure 19, since we have two parallel streams
of processes (e.g., one for the AM period and one for the PM period), we need to use a “Wait4Files”
keyword, which ensures that the main line of processing stops until the MDP branch completes it work.
The Wait4Files keywords have been highlighted in blue in Figure 21. So, as indicated in Figure 19, when
the AM period processing is finished a file called AM1.script.end is generated. The Wait4Files tells the

main line of processing to stop until it detects that the AM1.script.end file has been generated.

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Figure 19 Schematic of IDP and MDP in the highway assignment process of the Ver. 2.3 Travel Model
(Highway_Assignment_Parallel.s): Existing naming convention for nodes

| | Main Node | | C AM period )
(}——wop——»/ Stat MDP
( PM period) gi (aut)
¥v
IDP: Highway IDP: Highway
(main) (AM1)
(Non HOV3+) HOV3+ (MD2) (AM2) (Non HOV3+) HOV3+
(MD3) (AM3)
(MD4) (AM4)
(main) (AM1)
v v
IDP: Highway IDP: Highway
(main) (AM1)
( HOV3+ ) (MD2) (AM2) ( HOV3+ )
(MD3) (AM3)
(MD4) (AM4)
|
J (AM1)
Wait4Files: v
r AM1.script.end f End MDP
no v / AM1.script.end
| <Conation satisfied? >
yes
— Restart — — —
= oa [= Main Node = GED ma aD =a = = =
;
mas ( MD period)
v /
oN / Start MDP /
\ / SR (AM1) /
( NT period ) (main) an
v v
IDP: Highway IDP: Highway
(main) (AM1)
(Non HOV3+) HOV3+ (MD2) (AM2) (Non HOV3+) HOV3+
(MD3) (AM3)
(MD4) (AM4)
|
(main) (AM1)
IDP: Highway IDP: Highway
(main) (AM1)
( HOV3+ ) (MD2) (AM2) ( HOV3+ )
(MD3) (AM3)
(MD4) (AM4)
o y ™ a v =,
(Continuation * {Continuation \
NS NS a
Ref: ver2.3.52_hwy_assign_mdp_idp.vsd
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Figure 20 Schematic of IDP and MDP in the highway assignment process of the Ver. 2.3 Travel Model
(Highway_Assignment_Parallel.s): Proposed new naming convention for nodes (changes shown in red)

ee
_ a

| | Main Node | | C AM period )
¥ i /
oN / Start MOP /
\ }— MOP ” (AM1) /
( PM period) gi (aM1)
¥
IDP: Highway IDP: Highway
(main) (AM1)
Non HOV3+ (PM2) (AM2)
(PM3) (AM3)
(PM4) (AMA4)
(main) (AM1)
v
IDP: Highway IDP: Highway
(main) (AM1)
(PM2) (AM2) HOV3+
(PM3) (AM3)
(PM4) (AMA4)
J (AM1)
Wait4Files: ‘ v ,
lr” AM1.script.end / End MDP f
no v / AM1.scriptend —/

<< Condition satisfied? —
en :

Se
yes
¥
Restart -
me HE = a + mn FF EE EP EEE EE EEE EE EE EE ES ES
Main Node
;
mas ( MD period)
oes / Start MDP /
N J Near (MD1) /
( NT period ) (main) ib}
v v
IDP: Highway IDP: Highway
(main) (MD1)
Non HOV3+ (NT2) (MD2) Non HOV3+
(NT3) (MD3)
(NT4) (MD4)
|
(main) (AM1)
IDP: Highway IDP: Highway
(main) (MD1)
HOV3+ (NT2) (MD2) HOV3+
(NT3) (MD3)
(NT4) (MD4)
( Continuation =} ( Continuation )
MN St
Ref: ver2.3.52_hwy_assign_mdp_idp.vsd
8. Use of parallel processing to reduce model run times 87

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www Ww ww we ww Ww eh NN NN NN NN RP RP RP PPP PP ee
want nn bk WNP OD mM NWN Ob WNP OD me NY On be Ne oO

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Figure 21 Excerpts from the Highway_Assignment_Parallel.s script (triple ampersand => code removed)

BK

/* **** Set up tokens in Voyager Pilot step ***** */

; useldp = t (true) or f (false); this is set in the wrapper batch file
distribute intrastep=Xuseldp% multistep=%useMdps

KKKKKKKKKKKKKKKKKKKKKKKKKKKKKAE EERE REREEE
33; Step 1: Execute peak-period traffic assignments (AM & PM)
hi AM nonHOV, HOV and PM nonHOV and HOV Assignemnts

oo oo oo

itr = ‘'%_iter_%' aa
INPNET = "ZONEHWY.NET'

DistributeMULTISTEP ProcessID='AM', ProcessNum=1

pro =‘ i ;

PCTADT = 41.7 ; *_AMPF_% AM PHF (% of traffic in pk hr of period)

CAPFAC=1/(PCTADT/ 160) 3; Capacity Factor = 1/(PCTADT/100)

BRK

in_capSpd = '..\support\hwy_assign_capSpeedLookup.s' oe FT x AT Speed & Capacity lookup
VDF_File = '..\support\hwy_assign_Conical_VOF.s' a Volume Delay Functions file

Seek oo

3); Step 1.1: Assign AM NonHOV3+ trip tables only
33a (SOV, HOV2, CV, TRUCK & AIRPORT PASSENGER TRIPS)

eae ee ee ee ee ee oe oe oe oe oe oe oe oe oe

RUN PGM=HIGHWAY ; NonHOV3+ traffic assignment
distributeIntrastep processId='H', ProcessList=%AMsubnode%

FILEI NETI = @INPNET@ ; TP+ Network
Gee
ENDRUN
B33

333 Step 1.2: Assign AM HOV3+ only

Sk koe

[RR RR ER RRR RRR EE
aa

RUN PGM=HIGHWAY ; HOV3+ traffic assignment
distributeIntrastep processId="ij', ProcessList=%AMsubnode%

FILEI NETI = TEMP1_@PRD@.NET ; TP+ Network
BRK
ENDRUN
ENDDistributeMULTISTEP
Pro =‘ 3
PCTADT = 29.4 ; %_AMPF_% AM PHF (% of traffic in pk hr of period)

&&&

phat Te eo ee fe oe oe oe oe eo oe
333 Step 1.3: Assign PM NonHOV3+ trip tables only
333 (SOV, HOV2, CV, TRUCK & AIRPORT PASSENGER TRIPS)

8s REREEEEEEEEEEEEEEEEEEEEEEEE EEE EEE EEEE EERE EEEEEEEEEE
aa3

RUN PGM=HIGHWAY ; NonHOV3+ traffic assignment
distributeIntrastep processId="(', ProcessList=%MDsubnode%

FILEI NETI = @INPNET@ 3; TP+ Network
BK
ENDRUN
yaa
ji; Step 1.4: Assign PM HOV3+ only

aa3

REE eee ee ee ee ee ee ee oe ee ee ee ee oe oe oe oe

KKKKKKKKKKKKKKKKKKKKKKKKKKKKKAE EERE REREEE

RUN PGM=HIGHWAY ; HOV3+ traffic assignment

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distributeIntrastep processId="(i', ProcessList=4MDsubnodes

FILEI NETI = TEMP1_@PRD@.NET ; TP+ Network
S&S:
ENDRUN

Wait4Files Files=AM1.script.end, CheckReturnCode=7, PrintFiles=Merge, DelDistribFiles=T

SHER RE RE RE EE Ee ee ee ee ee ee ee oe oe oe oe oe oe oe oe oo oo

333 Step 2: Execute off-peak-period traffic assignments (midday/MD & night/NT)

haa All 6 trip tables are assigned together.
KKK KRRKKKK EERE EERE

DistributeMULTISTEP ProcessID='AM', ProcessNum=1
; Off-Peak Period

pro =" i
PCTADT = 17.7 ; *_MDPF_% Midday PHF (% of traffic in pk hr of period)
CAPFAC=1/ (PCTADT/ 166) ; Capacity Factor = 1/(PCTADT/166)

} Turnpen = ‘inputs\turnpen.pen' ; Turn penalty

RUN PGM=HIGHWAY ; Off-peak (midday & evening) traffic assignment
distributeIntrastep processid='(i', ProcessList=%AMsubnode%

FILEI NETI = @INPNET@ ; TP+ Network

hk

ENDRUN

ENDDistributeMULTISTEP

PRD = ‘fi 3

PCTADT = 15.0 } %_NTPF_% NT PHF (% of traffic in pk hr of period)
CAPFAC=1/(PCTADT/10@) } Capacity Factor = 1/(PCTADT/100)

RUN PGM=HIGHWAY ; Off-peak (midday & evening) traffic assignment
distributeIntrastep processid="(ii', ProcessList=4MDsubnodes
FILEI NETI = @INPNET@ ; TP+ Network
&&&
ENDRUN

Wait4Files Files=AM1.script.end, CheckReturnCode=T, PrintFiles=Merge, DelDistribFiles=T
; END OF MIDDAY and OFF PEAK ASSIGNMENT

8s REREEEEEEEEEEEEEEEEEEEEEE EEE EE EEE TEER EERE EEE
aa3

333 Step 3: Calculate restrained final Volumes, speeds, V/Cs (No MSA)
nae KKK EEEREEEEEE

iii Step 3.1: Loop thru 1 (AM) and 2 (PM)

Se ee eo oo oe

B33
LOOP PERIOD = 1,2 ; Loop thru 1 (AM) and 2 (PM); Each pk per. includes NonHOV3+ and HOV3+

IF (PERIOD==1)

PRD = ‘AM’ ;
PCTADT = 41.7 :
ELSE
PRD == ='PM!' ;
PCTADT = 29.4 5
ENDIF
CAPFAC=1/(PCTADT/1@60) ; Capacity Factor = 1/(PCTADT/1@@)
RUN PGM=HWYNET ; Calculate restrained speed/perform MSA volume averaging
Ge
ENDRUN
ENDLOOP ; Loop thru 1 (AM) and 2 (PM); Each pk per. includes NonHOV3+ and HOV3+

8s REREEEEEEEEEEEEEEEEEEEEEE EEE EEE EEE EEE EERE EEEEEEREEE
aa3

jj) Step 3.2: Loop thru 3 (MD) and 4 (OP)
nae KKKKKKAKKKAKKKKKKKAKAKAKKKKKKKKAKAEEEEEEEEEEEE

yas

LOOP PERIOD = 3,4 ; Loop thru 1 (midday, MD) and 2 (evening/off-peak, OP)

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IF (PERIOD==3)

PRD = 'MD' 3
PCTADT = 17.7
ELSE
PRD = 'NT' :
PCTADT = 15.6
ENDIF
CAPFAC=1/ (PCTADT/108) } Capacity Factor = 1/(PCTADT/1@@)
RUN PGM=HWYNET j; Calculate restrained speed/perform MSA volume averaging
bk
ENDRUN
ENDLOOP ; Loop thru 1 (midday, MD) and 2 (evening/off-peak, OP)

23 SE Ee ee ee ee eo oe
333 Step 4: Summarize 24-hour VMT of current AM, PM, MD & NT assignments
oe KKKKKKKKKKKKKKKKKKKKKKKKKKKKKAREREREREEE

RUN PGM=HWYNET ; Summarize 24-hour VMT of current AM, PM, MD & OP assignments
S&S
ENDRUN

Ref: Highway_Assignment_Parallel_excerpt2.s

To conclude the discussion of Figure 21, we note here some cases where process sub-nodes have
somewhat misleading names. The four periods being processed are AM, PM, MD, and NT, and these are
indicated in Figure 21 by pink/purple highlighting. For the AM assignment, there are no issues with
misleading names for the sub-nodes. For example, we can see that on line 17, the AM processing starts,
and the four IDP sub-nodes for the non-HOV3+ assignment are named AM1, AM2, AM3, and AM4 (line
30 of Figure 21), since %AMsubnode% equals “1-4”. After the non-HOV3+ assignment is complete, then
HOV3+ assignment occurs, and the four IDP sub-nodes for the HOV assignment are also named AM1,
AM2, AM3, and AM4 (line 39 of Figure 21). The mislabeled naming of sub-nodes begins with the PM
period assignment, which begins on line 45. For example, for the PM non-HOV3+ assignment, the sub-
nodes are named MD2, MD3, and MD4 (line 55 of Figure 21), since %MDsubnode% equals “2-4”. It
would be less confusing if these sub-nodes had been named PM2, PM3, and PM4. The same misleading
naming convention is used for the sub-node names in the PM HOV3+ assignment: MD2, MD3, and MD4
-- instead of PM2, PM3, and PM4 (line 64 of Figure 21). A similar issue occurs for the midday assignment
(beginning on line 78 of Figure 21) and the nighttime assignment (beginning on line 91 of Figure 21). At
any rate, it should be noted that the code works correctly, despite the misleadingly named sub-nodes.
In a future version of the model, it is possible that we will clean up the sub-node naming.

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9 Debugging cases where the model run stops prematurely or crashes

If a model run stops prematurely or crashes, one can use the “full output” text file to determine:

e The speed feedback iteration (e.g., pump prime, iteration 1, ..., iteration 4) that was underway
when the model stopped

e The modeling step, within a given speed feedback iteration, that was underway when the model
stopped (e.g., network building, trip distribution, mode choice, traffic assignment).

e Possible error messages returned by any programs that crash.

An excerpt from one of the “full output” text files can be seen in Figure 22. Additionally, when
debugging a model run crash, one should find the latest print file (*.prn) to see any relevant error or

warning messages. One can search this file using regular expressions to find any warnings or errors.

In some cases, it is sufficient to review the “full output” text file and the latest print file to determine
why a model run stops. As an additional tool, however, one can also scan the “search for errors” text file
(e.g. 2019 _Final_searchForErrs.txt), which is created by the searchForErrs.bat batch file. An example of
the “search for errors” text file can be found in Figure 23.

One of the most common causes for a model run crash is a sharing violation, which typically occurs
when one launches two or more concurrent model runs in the same root directory at about the same
time. One way to protect against this happening is to ensure there is a time delay (ca. 1 hour) between
the start of two model runs that share the same root directory. Additionally, there is now a second
reason to offset model runs by about an hour: As described in Chapter 11 (“Building transit walksheds
and calculating zonal walk percent”), with the new process for generating transit walksheds and
calculating the percent of each zone within walking distance to transit, it is imperative to use a 45- to 60-
minute gap in the start times of two or more model runs on the same computer.

“8 For example, using the text editor PSPad, one can use this regular expression (regex) to find warnings or errors:
F\({0-9]*\):[W\([0-9]*\):

9. Debugging cases where the model run stops prematurely or crashes 91

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Oo oN om im Ww Ne

WWW www nn nnn nN NN PP Pee ee eee
nh wn OD MN AO ek WN eS OD mW YN Oe en eS Oo

oon non & wm

PRPePPPeE
A nb Ww Ne

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Figure 22 An excerpt from an example of the “full output” text file that is created during a model run

F:\ModelRuns\fy19\CGV2_3 75 Visualize2@45 CLRP_Xmittal>set _year_=2019

F:\ModelRuns\fy19\CGV2_3_75 Visualize2045_CLRP_Xmittal>set _alt_=Ver2.3.75_2019 Final

F:\ModelRuns\fy19\CGV2_3_75 Visualize2045_CLRP_Xmittal>set _maxUeIter_=1600

F:\ModelRuns\fy19\CGV2_3_ 75 Visualize2@45 CLRP_Xmittal>set _tcpath_=

F:\ModelRuns\fy19\CGV2_3_75_Wisualize2045_CLRP_Xmittal>rem ====== Pump Prime Iteration

F:\ModelRuns\fy19\CGV2_3 75 Visualize2@45_CLRP_Xmittal>set _iter_=pp

F:\ModelRuns\fy19\CGV2_3_75 Wisualize2045_ CLRP_Xmittal>set _prev_=pp

F:\ModelRuns\fy19\CGV2_3_75 Visualize2045_CLRP_Xmittal>set _relGap_=6.01

F:\ModelRuns\fy19\CGV2_3_ 75 Visualize2@45 CLRP_Xmittal>call ArcPy_Walkshed_Process.bat 2619_Final

Searching for Python in Path C:\Python27\ArcGIS10.5
Searching for Python in Path C:\Python27\ArcGIS1@.4
Searching for Python in Path C:\Python27\ArcGIS1@.3
Found Python in Path C:\Python27\ArcGIS10.3

Using Python from Directory = C:\Python27\ArcGIS14.3

1) Creating Subdirectories ...

2) Preparing Inputs ...
using TRNBUILD line files

3) Launching ArcPy-based Walkshed Process ...

Ref: Z:\ModelRuns\fy19\CGV2_3_75_Visualize2045_CLRP_Xmittal\2019_Final\2019_Final_fulloutput.txt

Figure 23 An excerpt from the “search for errors” file that is created during a model run

*#*EeEEEEE* Searching for errors and anomalies after a travel model run *******#*#*

Program name: searchForErrs.bat
**##**® Searching *fulloutput.txt

*** Searching for cases where a file could not be found

***** Searching report files (*.rpt)

*** Searching for evidence that TP+ (TPMAIN) is running, instead of Voyager (PILOT)
*** Searching for evidence of LINKO nodes that do not have XY values

2019_Final\il_TRANSIT_SKIMS_AB.RPT:W(693): The following LINKO nodes
2019 _Final\il_TRANSIT_SKIMS_AB.RPT:W(693): The following LINKO nodes
2019 _Final\il_TRANSIT_SKIMS_AB.RPT:W(693): The following LINKO nodes
2019_Final\il_TRANSIT_SKIMS_AB.RPT:W(693): The following LINKO nodes
2019 Final\il_TRANSIT_SKIMS_AB.RPT:W(693): The following LINKO nodes

do
do
do
do
do

not
not
not
not
not

have
have
have
have
have

XY
xY
KY
XY
XY

values:
values:
values:
values:
values:

Ref: Z:\ModelRuns\fy19\CGV2_3_75_Visualize2045_CLRP_Xmittal\2019_Final\2019_Final_searchForErrs.txt

9. Debugging cases where the model run stops prematurely or crashes

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10 Known issues related to running the model

10.1 Cube Cluster differences
When using Cube Cluster, the estimated VMT coming from the model can change slightly, depending on
how many cores/nodes are used. See section 8.2.2 (“Effect of Cube Cluster on modeled results”) on

page 78 for more details.

10.2 Model run stops before finishing

We have experienced some cases where a model run will prematurely stop (this is sometimes also
referred to as a “crash”) for no apparent reason. Sometimes the exact same model run will complete
successfully if run on a different computer. While we are still trying to determine the cause of these
stoppages, we do, however, have a pragmatic way for dealing with these events. Determine where the
model run crashed. Re-launch the model run but comment out all the steps in the “run model steps”
that have completed successfully, so that the model runs only the step that crashed and the steps that
follow it. This procedure will typically result in a normal model run, even though it requires the analyst
to intervene midstream. Please see Chapter 9 (“Debugging cases where the model run stops
prematurely or crashes”) on page 91.

10.3 Issues with traffic assignment convergence

In the past, we have identified some cases where the gap (but not relative gap) for a given user
equilibrium iteration in traffic assignment is equal to exactly zero, as opposed to a small, but non-zero
value. We have reported this issue to Citilabs, which began an investigation into the matter. However,
since the Version 2.3.75 model (like its predecessors, e.g., 2.3.57 - 2.3.70) uses the relative gap and the
number of user equilibrium iterations as stopping criteria, this issue should not affect the running of the
model. Nonetheless, a model user could experience convergence issues if they change the model to use
a tight stopping criterion. For example, in one test conducted by TPB staff, a stopping criterion of 10°
was used, but the traffic assignment continued, going past 10°’, even though 10° was specified. This
happened for a for a future-year scenario that had variably-priced facilities. At this point, we do not
have any definitive answers, but we contacted Citilabs, whose staff thought that the difficulty reaching
convergence was due to large toll values that dominate the link-cost function. Again, this should not be
an issue for standard runs of the travel model, which use progressively tightening relative gap tolerances
of 10%, 10°, and 10%.

10.4 Running multiple concurrent model runs on one computer/server

A user may wish to run two or more travel model runs on one computer or server at the same time. To
compute the maximum number of concurrent model runs that may be run on a given computer, divide
the number of cores (real or virtual, whichever is greater) by the number of cores needed per model run
(currently 8, in the traffic assignment step). For example, on a computer like COG’s travel model server
#6 (tms6), which has 16 physical cores or 32 virtual cores due to Intel’s Hyper-Threading Technology, the
calculation would be:

(32 virtual cores)/(8 cores needed per model run) = 4 concurrent model runs (maximum)

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However, based on our experience at COG, the actual number of concurrent model runs that you can
run on a given computer may be less than the maximum number, depending on factors such as the

following:

e The number of users launching the model runs: This no longer appears to be an issue. In the
past, using Cube 6.1 SP1, we had found that, if two or more users tried to launch concurrent
model runs, even if it was only two users, each with one model run, one of the two model runs
would often stop prematurely or crash. However, under Cube 6.4.1, we found that two or three
users can submit concurrent model runs.”

e Whether one runs the automated ArcPy walkshed process: This is now turned off by default in
the model transmittal package, but it can also be uncommented (turned on) by the user if the
user is making changes to the transit network and wants to recompute the transit walksheds
and their resultant walk percentages.

e Whether one introduces a time delay (lag time) between model runs: For example, two model
runs can be launched at the same time, or the modeler can choose to offset the two launch
times by a certain amount of time. Thus, “concurrent” can mean that all the runs were started
at the same time or that there was some offset between the start times of the model runs.

Finally, as noted in Section 3.3, based on recent communications with Citilabs (personal communication,
2/6/17), itis better not to overload the processor, so, although a 32-core computer should be able to
run 4 concurrent model runs (4 x 8 = 32), it would be better to limit this computer to 3 concurrent model
runs. Citilabs alludes to this issue in recent documentation: “However, when comparing two processors
from the same family, assuming the processors are otherwise identical, an 8-core processor without
Hyper-Threading will outperform a 4-core processor with Hyper-Threading, even though both

processors are making 8 threads available to the operating system.””°

® Ngo to Moran et al., “Testing the COG/TPB Travel Model Servers: 1) Need for Admin Privileges; 2) Ability to
Run Two or More Concurrent Model Runs by Two or More Users; 3) Experience with Malware,” 5.
” Citilabs, Inc., “Cube Base Reference Guide, Version 6.4.1,” 10-11.

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11 Building transit walksheds and calculating zonal walk percentages

11.1 Overview

One of the inputs to the travel demand model is the percentage of each zone that is within walking
distance to transit. Conceptually, one develops a series of transit walksheds, which are then combined
geographically with zone boundaries to calculate the percentage of each zone that is within walking
distance to transit. This procedure creates point buffers around transit stop nodes and then overlays
these point buffers with TAZ boundaries. The process is made more complicated by the fact that two
walking distances are differentiated: a short walk (0.5 miles) and a long walk (1.0 miles). See Section
21.4.3 (“Market segmentation by access to transit”) beginning on p. 167 for more details.

The model assumes that the area of each TAZ that is within a short-walk or a long-walk to transit is
stored in a text file (areawalk.txt). This file is used by the walk access script (wa/kacc.s) to calculate the
zonal walk percentages, which are then stored in a second text file (NLWalkPCT.txt).’? This second file is

then an input to both the transit fare process (prefarv23.s) and the mode choice process.

Note: For the associated Ver. 2.3.75 model transmittal package, the automated transit walkshed
process has been turned off (commented out in the run_modelSteps batch files). This is because:

1. If the user is not changing the transit network, there is no need to rerun this process, since we
supply the needed areawalk.txt file with each network scenario;

2. Based on experience, this step is one of the most likely modeling steps to cause a premature
stop or acrash, so for most users, it is better simply not to run it automatically. The reasons why
the automated transit walkshed process causes a premature stop or a crash are varied, from
incompatibilities between Cube Base and ArcGIS (see Table 20 on p. 98), to issues related to the
way that the current ArcGIS engine runtime deals with slivers in the buffering process.

11.2 Application Details

The Ver. 2.3.57 travel model continues using an automated/integrated transit walkshed process, which
was developed by AECOM. The process is automated in the sense that it is run using a Python/ArcPy
script, so it does not require manual intervention from the user. The process is integrated in the sense
that it is built into the travel model run: It is now the first step in the “run model steps” batch file (“call
ArcPy_Walkshed_Process.bat %1”). The new process was developed by AECOM in FY 2014, and is
discussed both in AECOM’s FY 2014 report.” Although this process is turned off, by default, in the

version of the model distributed with the model transmittal package, for users who would like to run the

” See the modeling flowchart in Appendix A.

® AECOM, “FY 2014 Final Report, COG Contract 12-006: Assistance with Development and Application of the
National Capital Region Transportation Planning Board Travel Demand Model” (National Capital Region
Transportation Planning Board, Metropolitan Washington Council of Governments, August 18, 2014), chap. 3,
http://www.mwcog.org/uploads/committee-documents/Y 1 1 YWFZd201409221 10646. pdf.

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process (perhaps because they have made a change to a transit network), the user can simply
uncomment (remove the “REM”) the following line in the run_modelSteps batch file:

call ArcPy_Walkshed_Process.bat 41

As noted by AECOM, “ArcPy was chosen as the basis for development because it provides convenient
and powerful access to the GIS functionalities in a (Python) programming environment that is
transparent and relatively easy to modify.””? Another advantage of the new process is that it does not
require one to have/purchase ArcGIS. One needs only to have purchased Cube, which comes with the
ArcGIS engine runtime and which is already a requirement to run the model. To run the new integrated
walkshed process, one must have the following:

e One of the following two ArcGIS software packages:

o ArcGIS, version 10.1: Available for purchase from Esri. Some modelers may already have

this software; some may not.

© ArcGIS engine runtime, version 10.3: Available for free, if you have purchased Cube. All

modelers will have purchased Cube, since it is needed to run the model. Cube version
6.4.1 comes with ArcGIS engine runtime 10.3.4959. If you do not have a full installation
of ArcGIS 10.1, you will want to install Cube, including the ArcGIS engine runtime.
e Python: This is free, open-source software. One way to get it automatically is to install Cube
“with ArcGlS engine runtime.” It may also be included when one installs the full version of
ArcGlS.

Notes:

1. As of Ver. 2.3.66, the areawalk.txt file created in the new automated walkshed process is sorted

by TAZ.

2. Intesting, if two model runs that incorporate the new transit walkshed process were started at
the same time, one of the two runs will likely stop prematurely in the walkshed process. This is
likely due to a license restriction with the ArcGIS runtime engine. Consequently, it is
recommended that multiple model runs with enabled walkshed process on the same computer
not be launched at the same time. Instead, it is recommended that the start times be
staggered/offset by 45 to 60 minutes.” Based ona series of recent “stress tests” to see how
many concurrent model runs could be completed on one server, it was also found that the 45-
60-minute time offset is useful for minimizing the chance of a model run crash (irrespective of
whether the new walkshed process is run, since a sharing violation can occur with other
modeling steps).

3 AECOM, 3-2.
™4 AECOM, 3-8.

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The new walkshed process appears to give identical results to the previous walkshed process, providing

the inputs, such as the transit line files, are identical and correctly coded.”°

In the model transmittal package, this line has been turned off (commented out), by placing “REM” at

the beginning of the line (for the reasons explained earlier in this section).

If this automated transit walkshed process is run, this step occurs at the start of the pump-prime (PP)
speed feedback loop. Once the walkshed process has been run, a new folder will be created in the
“inputs” folder, named “Transit_Walkshed_GIS,” as shown in Figure 24. Within this folder, one can find
an ArcGIS map document file (MWCOG_ArcPy_Walksheds_*.mxd) which can be used to visualize the
walkshed buffers, as shown in Figure 25.

Figure 24 Folder structure for the automated ArcPy walkshed process

€ ~ « 2016_Base > Inputs » Transit_Walksheds_GIS wi Search Transit. Walksheds GIS
~ fy 17 Name ° ze
v CGV2_3_66_Conformity2016CLRP_Xmittal input
¥ 2016_Base output
w Inputs Q) MWCOG_ArcPy_Walksheds_2016_base.mxd 2 KB
Transit_Walksheds_GIS @ TPPL.PRI eg
_} voya.VAR 1 KE

transum

vB voya0001.PRN

Note that the Transit_Walkshed_GIS folder includes two subfolders, “input” and “output”, which should
not be confused with the “inputs” folder that is stored within the scenario-specific folder (which, in this
case is called 2019 Final). The ArcPy walkshed process creates two files: areawalk.txt and
PercentWalk.txt, but only the first file is used by the travel model. If a copy of areawalk.txt already exists
in the “inputs” folder, the old copy will be renamed as AreaWalk_Old.txt, before the new areawalk.txt
file is created.’°

11.3 Known issues

Although the new automated transit walkshed generation process has been a benefit to most users of
the regional travel model, it has also been the source of many technical assistance calls to the COG/TPB
staff when the process crashes for one reason or another. To minimize the likelihood that the
automated ArcPy transit walkshed process will crash, we recommend you use versions of Cube and
ArcGIS that are compatible. Table 20 shows which versions of Cube Base are compatible with ArcGIS, in
terms of the ability to run the automated transit walkshed process. We have tested four different
versions of ArcGIS with Cube Base ver. 6.4.1. Two of these worked (ArcGIS Engine Runtime 10.3 and
ArcGIS 10.1) and two of these did not (ArcGIS 10.3.1 and ArcGIS 10.4.1). According to recent Citilabs
documentation covering Cube 6.4.2 and 6.4.1, “Cube 6.4.1 includes support for ArcGIS versions 9.3 to

5 See page 2-3 of Mark S. Moran and Dzung Ngo to David Roden and Krishna Patnam, “Comments on Your
Cube/ArcPy-Based Transit Walkshed Process and Its Associated Memo Dated March 25, 2013,” Memorandum,
May 15, 2014.

7% AECOM, “FY 2014 Final Report, COG Contract 12-006: Assistance with Development and Application of the
National Capital Region Transportation Planning Board Travel Demand Model,” 9-2.

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10.3.1.”’’ However, in our test #3, we found that the “support” was not such that it would allow the
automated ArcPy transit walkshed process to run to completion, which is why we have noted that Cube

Base 6.4.1 and ArcGIS 10.3.1 are not compatible for running the ArcPy automated walkshed process.

The table also shows two other cases, both for Cube 6.4.2. In test #5, an external user tried using Cube
6.4.2 and ArcGIS 10.4, but the two software packages were incompatible. In test #6, COG/TPB staff
tested Cube 6.4.2 with ArcGIS engine runtime 10.4. In this case, the two software packages seemed to
be compatible, but, as noted in a footnote to the table below, Cube Voyager ver. 6.4.2 appears to be less
stable than Cube 6.4.1 when running the automated ArcPy transit walkshed process. TPB staff
experienced several crashes in the ArcPy walkshed process under Cube 6.4.2. When staff upgraded Cube
6.4.1 to Cube 6.4.2 but did not upgrade ArcGIS Engine Runtime from 10.3.4959 to 10.4.1636776 (test
#7), the model runs did not crash. The success of test #7 indicates the instability of ArcGIS Engine
Runtime 10.4.1636776 coming with Cube 6.4.2 when running the automated transit walkshed process.

Staff recommend using Cube 6.4.1 and its ArcGIS Engine Runtime, Version 10.3.4959, as is shown in
bold in Table 20.

Table 20 Compatibility between Cube Base and ArcGIS, in terms of the ability to run the automated transit walkshed process

Version of Compatible? Test
Cube Base | Version of ArcGIS * Test Conducted by No.
6.4.1 10.3.4959 (ArcGIS Engine Yes COG/TPB 1
Runtime**)
10.1 (full version) Yes COG/TPB 2
10.3.1 (full version) No COG/TPB 3
10.4.1 (full version) No COG/TPB 4
6.4.2*** 10.4 (full version) No No. Va. Transportation 5
Commission
10.4.1636776 (ArcGIS Engine Unstable COG/TPB 6
Runtime**)
10.3.4959 (ArcGIS Engine Yes COG/TPB 7
Runtime****)

* “Compatible” means that the tester was able to run the automated ArcPy transit walkshed process using the noted version of
Cube and ArcGls.

** ArcGIS Engine Runtime comes with Cube.

*** Compared to Cube Voyager ver. 6.4.1, Cube Voyager ver. 6.4.2 appears to be less stable when running the automated
ArcPy transit walkshed process (TPB staff experienced several crashes in the ArcPy walkshed process under Cube 6.4.2).

**** ArcGIS Engine Runtime coming with Cube 6.4.1 is kept when updating to Cube 6.4.2.

” Citilabs, Inc., “Cube Base Release Summary, Version 6.4.2” (Tallahassee, Florida: Citilabs, Inc., September 22,
2016), 4, http://citilabs-website-resources.s3.amazonaws.com/resources/RS_CubeBase.pdf.

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Figure 25 Walkshed buffers for a typical base-year scenario

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s
& M ALLStops_op
=)  ALLStops_PkK

© M4) Outputs
& () Taz_with_Percentw
= @ MetroandLRT_Allbay
& @ MTLRTShr
@
© f] MTLRTLing
&
& © ALLStops_op
= 4 ALLoPshr
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12 Set-Up Programs and Highway Network Building

12.1 Overview
Following the generation of transit walksheds, the initial modeling steps of the Version 2.3 model are
executed to establish basic modeling parameters to construct a binary (or “built”) highway network. The

steps are executed using two batch files:

e Set_CPI.bat: The batch file calls two Cube Voyager scripts, Set_CPI.s and Set_Factors.s
e PP_Highway_Build.bat: The batch file calls two Cube Voyager scripts, AreaType_File.s and
V2.3_Highway_Build.s

The modeling steps included in these two batch files are shown on pages A-2 and A-3 of the flowchart in
Appendix A. Set_CPI.s is used to establish deflation factors that are used in subsequent toll-related and
transit fare-related steps. Set_Factors.s is used to establish K-Factors used in trip distribution and is also
used to create the file station_names.dbf (used for the transit assignment summary process), which is
developed using information pulled from station.dbf. The Area_Type.s step establishes zonal area type
codes based on land activity densities (see Table 31). The resulting area type file is subsequently used in
the highway building step, V2.3_Highway_Build.s. These steps are not implemented within the speed
feedback loop of the travel model; they are executed only once, in the “pump prime” stage of the travel
model. The principal inputs to above modeling steps are listed in Table 21 and detailed in Table 22
through Table 26. The principal outputs are listed in Table 27, and are detailed in Table 28 and Table 29.

Table 21 Inputs to the set-up and highway network building process

File description File name and location Format
CPI schedule and parameter file \Inputs\CPI_File.txt Text
Zonal land use file \Inputs\ZONE.DBF DBF
Node coordinate file \Inputs\NODE.DBF DBF
Zonal area type override file \Inputs\AT_override.txt Text
Link file \Inputs\LINK. DBF DBF
Initial AM and midday hwy. speed lookup \Support\AM_SPD_LKP.TXT, Text
files \Support\MD_SPD_LKP.TXT

Toll parameter file \lnputs\Toll_ Esc.dbf DBF

Table 22 Land Use File Format Description (zone.dbf)

Variable Description
name
TAZ TAZ (1-3722)
HH Households
HHPOP Household population
GOQPOP Group quarters population
TOTPOP Total population
TOTEMP Total employment
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Variable Description

name

INDEMP Industrial employment

RETEMP Retail employment

OFFEMP Office employment

OTHEMP Other employment

JURCODE Jurisdiction Code (0-23)
O/dc, 1/mtg, 2/pg, 3/alr/, 4/alx,5, ffx, 6/ldn, 7/ pw, 8/(unused), 9/ frd, 10/how,
11/aa, 12/chs, 13/(unused), 14/car, 15/cal, 16/stm, 17/ kg, 18/fbg, 19/stf, 20/spts,
21/fau, 22/clk, 23/jef

LANDAREA Gross land area (square miles)

HHINCIDX Ratio of zonal HH median income to regional median HH income in tenths (i.e., 10 =
1.0) per the 2007 ACS

ADISTTOX Airline distance to the nearest external station (whole miles)

TAZXCRD TAZ X-coordinate (NAD83, whole feet)

TAZYCRD TAZ Y-coordinate (NAD83, whole feet)

Table 23 Node Coordinate File Format Description (node.dbf)

Variable Description

name

N Highway node number

X X-coordinate (NAD83, whole feet)
Y Y-coordinate (NAD83, whole feet)

Table 24 Base Highway Link File Format Description (link.dbf)

File Name | Variable Name | Description
Link.dbf A _ A-Node
B _B_Node
DISTANCE Link distance (in 1/100*'s of miles)
JUR "Jurisdiction Code (0-23)
O/dc, 1/mtg, 2/pg, 3/alr/, 4/alx,5, ffx, 6/ldn, 7/
pw, 8/(unused), 9/ frd, 10/how, 11/aa, 12/chs,
13/(unused), 14/car, 15/cal, 16/stm, 17/ kg,
18/fbg, 19/stf, 20/spts, 21/fau, 22/clk, 23/jef
SCREEN " Screenline Code
FTYPE Link Facility Type Code (0-6)
| O/centroids, 1/Freeways, 2/Major Art., 3/Minor
Art, 4/Collector, 5/Expressway, 6/Ramp
TOLL Toll Value in current year dollars
TOLLGRP Toll Group Code
AMLANE _ AM Peak No. of Lanes
AMLIMIT _ AM Peak Limit Code (0-9)
PMLANE PM Peak No. of Lanes

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File Name Variable Name Description

PMLIMIT _ PM Peak Limit Code (0-9)
OPLANE Off-Peak No. of Lanes
OPLIMIT _ Off-Peak Limit Code (0-9)
EDGEID Geometric network link identifier
LINKID | Logical network link identifier
NETYEAR | Planning year of network link
SHAPE_LENG Geometric length of network link (in feet)
PROJECTID | Project identifier
TRANTIME - Unused place marker
WKTIME _ Unused place marker
MODE _ Unused place marker
SPEED _ Unused place marker

Notes:

e The mode choice model requires that all costs be in 2007 dollars, which was the calibration year.
e — Link limit codes are shown in Table 25.

Table 25 Link limit codes

Limit Code Description and Vehicles Allowed

0 All vehicles allowed
2 HOV 2+ occupant vehicles allowed
3 HOV 3+ occupant vehicles allowed
4 All vehicles allowed, except for trucks
5 Airport passenger auto driver trips allowed
9 Closed link or transit only link.
Example use cases:

a) Transit only: Link closed to all traffic other than transit vehicles. If no transit
routes traverse the link, then it is essentially closed to all vehicle traffic.

b) Directional coding of managed-lane facilities, such as HOV and HOT, where
some links are effectively closed to vehicles in some directions, during some
periods of the day.

c) Change in link directionality through time, e.g., if a road is 2-directional in some
network years, but changes to a one-way street in the future, then limit 9 is
used on the direction that is closed in the future.

d) Reversible lanes, e.g., Rock Creek Parkway has limit code 9 in the off-peak
direction, since it is closed for travel in that direction.

e) Roads that do not exist in early years of the plan but are built in later years. For
example, I-270 has future-year improvements in 2030 north of |-370. In the
early years, this links are coded as limit code 9, since they do not yet exist.

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Table 26 Toll Parameter File (Toll_esc.dbf)

File Name Variable Name

| Description

Toll_Esc.dbf Tollgrp

_ Escfac
_ Dstfac

_AM_Tftr
| PM_Tftr

OP_Tftr
-AT_MIn
AT _Max
| TollType

Toll group code

1 = Flat toll (pertains to most existing tolled facilities);

2 = Toll that varies by time of day (e.g. ICC),

3+= Tolls that change dynamically based on congestion level
_(e.g., VA HOT lanes/Express Lanes)

Deflation factor override. Can be used to group various toll
_ policies.

Distance (per mile) based toll factor in present year
_cents/dollar (optional)
_AM period Toll factor
_ PM period toll factor

Off-peak period toll factor

"Area Type minimum override (optional)

"Area Type maximum override (optional)

| Toll Type (1=operating in calibration year, 2= operating after
calibration year)

Table 27 Outputs of the set-up and highway network building process

Highway, transit deflator files Trn_Deflator.txt, Hwy_Deflator.txt Text
Summary text file of Fare CPl assumptions MFARE2_CPI.txt Text
used

Zone centroid co-ordinates TAZ_XYs.dbf DBF
1-mile floating land use Floating_LU.dbf DBF
Area type file AreaType_File.dbf DBF
Unloaded/built highway network file ZONEHWY.NET Binary
Summary text file of Fare CPl assumptions MFARE2_CPI.txt Text
used

Zonal K-factors HBW_K.MAT, HBS_K.MAT, HBO_K.MAT, Binary

NHW_K.MAT, NHO_K.MAT

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Table 28 Zonal Area Type File (AreaType_File.dbf)

Variable Name Description
TAZ TAZ Number (1-3,722)
POP_10 One-mile "floating" Population density
EMP_10 One-mile "floating" Employment density
AREA_10 One-mile "floating" Area
POPDEN One-mile "floating" Population density
EMPDEN One-mile "floating" Employment density
POPCODE Population density code (1 -7)
EMPCODE Employment density code (1 -7)
ATYPE Area Type (1-6)

Ref: "L:\ateam\docum \fy19\tpb_tdfm_gen2\ver2.3\travel_model_user_guide\AreaType_File.xlsx"

The one-mile floating density is calculated by using the TAZ centroids and a one-mile point buffer
around these centroids.

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Table 29 Unloaded binary highway network file (Zonehwy.net)

File Name

VariableName

Description

zonehwy.net

A

B
DISTANCE
SPDC
CAPC

JUR

SCREEN
FTYPE

TOLL

TOLLGRP
<Period>LANE
<Period>LIMIT
EDGEID

LINKID
NETWORKYEA
SHAPE_LENG
PROJECTID
TAZ

ATYPE
SPDCLASS
CAPCLASS
DEFLATIONFTR

<Period>TOLL

<Period>TOLL_VP

<Period> HTIME

A Node

B Node

Link Distance in miles (x.xx)
(Not used)

(Not used)

Jurisdiction Code (0-23)

O/dc, 1/mtg, 2/pg, 3/alr/, 4/alx,5, ffx, 6/ldn, 7/ pw, 8/(unused),
9 frd, 10/how, 11/aa, 12/chs, 13/(unused), 14/car, 15/cal,
16/stm, 17/ kg, 18/fbg, 19/stf, 20/spts, 21/fau, 22/clk, 23/jef
Screenline Code (1-38)

Link Facility Type Code (0-6)

O/centroids, 1/Freeways, 2/Major Art., 3/Minor Art, 4/
Collector, 5/ Expressway, 6/ Ramp

Toll value in current year dollars

Toll Group Code (1-9999)

<Period> No. of Lanes

<Period> Limit Code (0-9)

Geometry network link identifier

Logical network link identifier

Planning year of network link

Geometry length of network link (in feet)

Project identifier

TAZ (1-3,722)

Area Type (1-6)

Speed Class

Capacity Class

Deflation factor for converting existing year costs to 2007 costs
<Period>Toll value in current year cents (if applicable)
<Period>Toll of future, variably priced facility only

<Period> Highway Time (min)

Key
<Period>= AM AM Peak Period (6:00-9:00 AM)
MD Mid Day (9:00 AM - 3:00 PM)
PM PM Peak Period (3:00 - 7:00 PM)
NT All remaining hours
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won nw b&w Nw

Ww ww wwe wwe hen nN nN nN NN he PP RPP Pee Pe
an nu fF WNP OU MN ON FW NP OD ON OW bw NB Oo

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12.2 Application Details

The Set_CPI.S script is used to produce deflation factor files (Trn_Deflator.txt and Hwy_Deflator.txt)
which are used to convert present-year costs to constant-year (2007) costs. The deflation parameter
files are inputs to the V2.3_Highway_Build.s and MFARE2.S scripts. This procedure has been established
to ensure that cost deflation for highway tolls and transit fares are treated consistently.

The Set_CPI.S script reads a preexisting look-up table (\INPUTS\CPI_File.txt) containing historical
annualized CPI figures published by the U.S. Bureau of Labor Statistics beginning with the model
calibration year, 2007. The CPI figures are based on the U.S. city average of all urban consumers (100 =

1982-84). An example listing of the file appears in Figure 26.

Figure 26 Consumer price index file (CP|_File.txt)

33.07 MWCOG V2.3 Travel Model - Cost deflation Table

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3; Data from BLS / All Urban Consumers (CPI-U) US City Avg.1982-84=100.0

33 bttp://www.usinflationcalculator.com/inflation/consumer-price-index-and-annual -percent- changes -from-1913-to-2008

InflationFTR = 1.0 } Inflation Assumption (DEFAULT IS 1.6)
Defl_OverRide = 6.0 ; Deflation Override (DEFAULT IS @.@) If Non-zero it is used as deflator
; Used as deflator IF NON-ZERO
BaseCPlYear = 2007 ; Base year of the CPI Table
CurrCPlYear = 2017 ; Current year on CPI table below (Year for which complete annual CPI data is available)

2

2

; Establish historic CPI table and Deflation Factor =

LOOKUP Name=CPI_Table,

LOOKUP[1] = 1,Result = 2, 3; CPI index (from US BLS)
LOOKUP[2] = 1,Result = 3, 33 Compounded Growth Rate From Base Year
LOOKUP[3] = 1,Result = 4, 3; Deflation Factor

Interpolate = N, FAIL=0,0,0,list=Y,

i (((Y¥rCPI/BsCPI)*(1/n))-1.6)*108 BsCPI/YrCPI)

3 Annual_Ave. Historic Deflation

33 YEAR CPI Growth _Rate(%) Factor

a

R=" 2007, 207.342, 8.00, 1.9000 ', ; <--- BaseCPIYear

2008, 215.3063, 3.84, 6.9630 ', ;

' 2009, 214.537, 1.72, 4.9665 ', ;
2016, 218.056, 1.69, 6.9509 ', ;

' 2011, 224,939, 2.06, 9.9218 ', ;

' 2012, 229.594, 2.06, 9.9031 ', ;
2013, 232.957, 1.96, 6.8900 ', ;

' 2014, 236.736, 1.91, @.8758 ', ;
2015, 237.917, 1.69, @.8748 ', ;
2016, 246.007, 1.64, 6.8639 ', ;

' 2017, 245,120, 1.69, @.8459 '  ; ¢--- Curr(ent)CPI Year

poor Bnd OF CPL File -2cccccrccer

Ref: Z:\ModelRuns\fy19\CGV2_3_75_Visualize2045_CLRP_Xmittal\2019_Final\Inputs\CPI_File.txt

The script computes a cost deflation factor using the CPI table and the parameters BaseCPlYear,
CurrCPlYear, InflationFTR (all specified in the above text file), and the _Year_ environment variable
specified in the “Run_ModelSteps” batch file. These parameters are defined as:

e BaseCPlYear= the base (or calibration) year of the travel model

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e CurrCPlYear= the most recent year for which historical CPI data exists (as reflected in the CPI
table)

e _Year_= the year of the modeled scenario (as defined in the Run_ModelSteps.bat file)

e InflationFTR= Factor reflecting special CPI growth assumptions beyond CurrCPlYear that might
be considered in scenario testing. For example, a value of 1.0 indicates future cost escalation is
assumed to remain constant with the historical rate of inflation; a value of 2.0 would indicate
that the future cost escalation is assumed to be twice the historical rate of inflation; a value of
0.5 would indicate that the future cost escalation is assumed to be one half of the historical rate
of inflation, etc. The default value is 1.0.

Under default conditions, if the modeled year (_Year_) is less than or equal to CurrCPlYear, the CPI
factor will equal CPl2007/ CPI_year from values provided in the CPI table. If the modeled year (_Year_) is
greater than CurrCPlYear, the CPI factor will equal (CPl2007/ CPlcurrcpivear) from values provided in the CPI
table. The user may optionally invoke the /nflationFTR parameter to arrive at a deflation factor that
reflects something other than the “historical inflation rate” assumption. In addition to the output
deflation factor files mentioned above, the script also writes a text file (Mfare2_CPI.txt) that lists the
input and output parameter values used.

The Set_Factors.s script is used to generate a family of K-factors by modeled trip purpose, to be used
subsequently by the trip distribution process. The K-factors are jurisdiction-based and have been
formulated during the calibration and validation phase of the model development process. Separate K-
factor files are produced by purpose as Cube/Voyager binary matrix files (zone-to-zone). These files are
currently stored in the Support folder, though there has been some thought of moving these into the
inputs folder to prevent sharing violations when multiple model runs are launched concurrently. As of
the Ver. 2.3.57a model, Set_Factors.s is also used to generate the station names file
(station_names.dbf), which is stored in the INPUTS folder, used in the transit assignment summary

process, and is derived from information found in the station file (station.dbf, see Table 38).

It is useful to understand the basic elements of the highway and transit networks that are reflected in
the highway link input file (link.dbf) to the Version 2.3 model. The highway elements are shown in Table
30.

Table 30 Elements of the highway network

Highway
Network Node No.
Element What It Represents Ranges Notes
Zone centroid Center of activity for the TAZ; Start and 1-3722 3676-3722 allocated as external stations.
end point for trips 3723-5000 reserved for TAZ expansion.
Established ranges for each jurisdiction.
Some TAZs are unused
Station PNR Location of the station’s park-and-ride lot. | 5001-7999* 5001-5999 for Metrorail.
centroid Used to develop congested highway times 6000-6999 for commuter rail.
between each TAZ and each PNR lot. 7000-7999 for LRT, BRT, and streetcar.
Highway node Highway intersections or junctions, 20000-60000 | Established ranges for each jurisdiction.
including where zone centroids connect to
the highway network
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Highway
Network Node No.
Element What It Represents Ranges Notes
Zone centroid Connection from zone centroid to the Facility type (FTYPE} = 0
connectors highway network.
One zone centroid connector can
represent multiple local roads.
PNR lot Connection from PNR lot to the highway Facility type (FTYPE} = 4
connectors network
Highway links Road segments 0 = centroid connectors;

1 = freeways;

2 = major arterials;

3 = minor arterials;

4 = collectors;

5 = expressways;

6 = ramps on freeways and arterials;
9 = transit only;

Notes: * Station PNR centroids (a.k.a. dummy station centroids) are not required for Mode 5 (LRT) or Mode 10

(BRT/streetcar).”® For the sake of consistency, the current COG coding practice is to refrain from using station PNR centroids for
LRT, BRT, and streetcar. In other words, in the station file, the STAC variable is coded with a value of zero.

The network includes two types of centroids: a zonal centroid, which represents the geographic center
of land activity within a TAZ, and a park-and-ride (PNR) lot centroid (also known as a “station centroid,”
“dummy PNR centroid”), which represents PNR lot locations at Metrorail and commuter rail stations.
The PNR centroid represents a kiss-and-ride (KNR) drop-off point if no PNR lot exists at a given station.
Within the station file (station.dbf), the PNR centroid/station centroid is denoted with the variable name
STAC. Each Metrorail station and commuter rail station should have its own unique STAC. The two
centroid types are assigned specific numbering ranges. TAZ centroids are numbered 1-3722 and PNR
centroids are numbered 5001-7999. The numbering gap between the TAZ and PNR ranges, 3723-5000,
are reserved for future TAZ assignments.’? The two centroid types are employed so that highway level-
of-service (LOS) matrices may be built, not only between TAZs, but also between TAZs and PNR lots.

Highway nodes representing intersections or highway access points from TAZs or PNR lots are assigned a
number from the following range: 20000 to 60000. Network links (i.e., centroid connectors and highway
links) are assigned facility type (“Ftype”) attributes ranging from 0 to 6.

The highway network building process -- i.e., the process for creating a binary highway network file
which is used in subsequent modeling steps -- is undertaken with two scripts that are executed in
sequence: AreaType_File.s and V2.3 Highway_Build.s (page A-3). The AreaType_File.s script, which
reads a preexisting zonal land activity file (Zone.dbf) and a highway node coordinate file (Node.dbf),
computes the area type code associated with each TAZ. Area type codes range from 1 to 6 and are
based on population and employment density, as shown in Table 31.

78 Jain to Milone and Moran, “MWCOG Network Coding Guide for Nested Logit Model (First Draft: September 20,
2007; Updated February 2008 and October 2010),” 6 and 10.

” The existing Version 2.3 scripts, inputs, and support files would need to be modified if additional TAZs were
added to the highway network.

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Table 31 Area type codes, based on population and employment density

One-Mile One- mile “Floating” Employment Density (Emp/Sq mi)
“Floating”

: ., | 0-100 101-350 =| 351-1,500 | 1,501- 3,551- 13,751- 15,001+
Population Density

. 3,550 13,750 15,000

(Pop/Sq mi)
0-750 5 a a 3 2
751-1,500 5 I 3 3 2
1,501-3,500 5 3 3 2 2

3,501-6,000 4 3 2
6,001-10,000 4 2 2
10,000-15,000 4 4 4 2 2
15,001+ 2 2 2 2 2

The AreaType_File.s script produces three files which are used as inputs to the v2.3_highway_build.s
script:

e TAZ_Xys.dbf (zonal coordinates),

e Floating LU.dbf (a zonal file containing the area, population, and employment within one
mile),°°

e Areatype_file.dbf (a zonal file containing the associated area type, in accordance with the land
activity file)

The V2.3_Highway_Build.S script reads the zonal area type file, along with a node file, a link attribute
file, a zone file, and four parameter files. The parameter files include initial speed and capacity lookup
files (AMSpd.lkp, MDSpd.lkp), both arrayed by facility type and area type. The deflation file created by
the SET_CPI.s script (Hwy_Deflator.txt) is also read into the highway building script. Finally, a toll
parameter/escalation file (Toll_esc.dbf) is also used by the script. The file contains a number of toll-
related parameters that are indexed by a tolled facility code (tollgrp) which is included as a link
attribute.

The highway building process consists of the following steps:

1) Each highway link is evaluated against all TAZ centroids to determine its nearest zone (i.e., the
TAZ centroid nearest to the airline mid-point of the link a-node and b-node). The nearest zone is

then saved to a temporary link file containing the A-node, B-node, and nearest TAZ.

* TAZ-level floating density is calculated by using the TAZ centroids and creating a 1-mile point buffer around
each centroid.

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2)

3)
4)

5)

Where:

6)

7)
8)

The link file, zonal area type file, and link-TAZ (from step 1) are merged to enable the zonal area
type of the nearest TAZ to be assigned to each link. The link file contains basic link attributes,
including distance, facility code, time-of-day-period-specific (AM, PM, OP) lanes and limit codes,
coded tolls, toll group codes, jurisdiction, and screenline codes.

Toll parameters are merged to each link on the basis of the tollgrp code.

Speed and capacity classes are next defined as a two-digit integer, where the first digit is the
facility type and the second digit is the area type.

Period-specific tolls (AM, PM, and OP) are computed. The general form of the toll computation

is:

<prd>Toll = (Toll + (DstFac; * Distance * <prd>_TFtr;)) * (EscFac, if > 0.0; Otherwise: Hdefl)

<prd>Toll = period-specific toll coded on link in constant year dollars (e.g., Amtoll)

Toll = link-coded “Toll” link attribute value

DstFac, = distance factor (cents/mi) for toll group “t”, as specified in Toll_Esc.dbf
Distance = link-coded distance (miles)

<prd>_TFtr; = period-specific factor for toll group “t” as specified in Toll_Esc.dbf

Hdefl = Default highway deflation factor based on CPI assumptions (Set_CPI.s)
Esc_Fac, = Hwy. deflation factor override for toll group “t”, as specified in Toll_Esc.dbf

A period-specific toll type code (<prd>Toll_ VP) is established to distinguish whether the tolled

link existed during the model calibration year or the tolled link is a future, variably priced facility.

This information is relevant to subsequent toll skimming.
Initial AM and OP speeds are assigned, based on facility and area type codes.
Midday (MD) and Night (NT) attributes are set to off-peak (OP)-related attributes defined above

The binary network file resulting from the highway network building process is named Zonehwy.net.

Variables that are included in the zonehwy.net file are described in Table 32.

Table 32 zonehwy.net file Variables description

Variable Name Description

A A-Node

B B-Node

DISTANCE Link Distance in miles (x.xx)
SPDC Not used

CAPC Not used

JUR Jurisdiction Code (0-23)

O/dc, 1/mtg, 2/pg, 3/alr/, 4/alx,5, ffx, 6/ldn, 7/ pw, 8/(unused), 9/ frd, 10/how,
11/aa, 12/chs, 13/(unused), 14/car, 15/cal, 16/stm, 17/ kg, 18/fba, 19/stf,
20/spts, 21/fau, 22/clk, 23/jef

SCREEN Screenline Code (1-38)
FTYPE Link Facility Type Code (0-6)
O/centroids, 1/Freeways, 2/Major Art., 3/Minor Art, 4/Collector, 5/Expressway,
6/Ramp
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Variable Name

Description

TOLL

TOLLGRP
<Period>LANE
<Period>LIMIT
EDGEID

LINKID
NETWORKYEA
SHAPE LENG
PROJECTID

TAZ

ATYPE
SPDCLASS
CAPCLASS
DEFLATIONFTR
<Period>TOLL
<Period>TOLL_VP
<Period> HTIME

Toll Value in current year dollars
Toll Group Code (1-9999)
<Period> No. of Lanes

<Period> Limit Code (0-9)
Geometry network link identifier
Logical network link identifier
Planning year of network link
Geometry length of network link (in feet)
Project identifier

TAZ (1-3722)

Area Type (1-6)

Speed Class

Capacity Class

Factor for deflating current year tolls to constant year tolls

<Period> Toll Value in current year dollars

<Period> Toll Value in current year dollars - Variably priced tolled facilities only

<Period> Highway Time - based on initial highway lookup speeds

KEY

<Period>= AM
MD
PM
NT

AM Peak Period (6:00 AM - 9:00 AM)
Midday (9:00 AM - 3:00 PM)

PM Peak Period (3:00 PM - 7:00 PM)
All remaining hours (“nighttime”)

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13 Highway Skim File Development

13.1 Overview

Highway skimming begins with path building, the process of building minimum-impedance paths from
every TAZ to every other TAZ. After paths have been built, the paths can be “skimmed,” i.e., the paths
are traversed, and key variables are summed over the paths. The variables that are skimmed include
travel times, distances, and tolls. The resultant zone-to-zone sums are saved in one or more skim
matrices. The input to the skimming process is usually a loaded network with congested travel speeds,
generated from a traffic assignment process. Although traffic assignment is conducted for four time-of-
day periods (AM peak period, midday, PM peak period, and nighttime), the travel model is set up to use
skims for only two time-of-day periods: a peak period (represented by the AM peak period) and an off-
peak period (represented by the midday period). Highway skims in the Version 2.3 model are generated

after each traffic assignment step.

Highway skims are generated by time period (AM and Midday), and by highway mode (SOV, HOV 2-
occupant, HOV 3+occupant). In addition, truck skims are generated for the midday period only. Mode-
specific paths are very important in the Washington, D.C. region, due to special operating restrictions,
particularly during the AM peak period.

The TPB’s highway skimming is done twice: once to develop zone-to-zone (3722 x 3722) skim matrices
and then again to develop zone/PNR lot-to-zone/PNR lot (7999 x 7999) skim matrices. The latter set
enables restrained highway speeds and distances to be calculated between zones and PNR lots, thus
allowing transit auto-access links to be built. The entire highway skimming process is applied with the
scripts named Highway_Skims_am.s, Highway_Skims_md.s, modnet.s, Highway_Skims_mod_am.s,
Highway_Skims_mod_ma.s,** joinskims.s, and Remove_PP_Speed.s. These are invoked with the
PP_Highway_Skims.bat file in the initial or pump-prime iteration (see page A-4 of Appendix A) and the
Highway_Skims.bat file (see page A-11) in the standard iterations. The Remove_PP_Speed.s script is
executed in the pump-prime iteration only. The principal inputs and outputs are shown in Table 33 and

Table 34 , respectively.

Table 33 Inputs to the highway skim file development

Built highway network file <ITER>_HWY.NET Binary
Toll minutes equivalent support\toll_minutes.txt Text
AM toll factors by vehicle type Inputs\AM_Tfac.dbf DBF
MD toll factors by vehicle type Inputs\MD_Tfac.dbf DBF

Note: <ITER> =PP, i1...i4 <Prd>=AM and MD

8! Prior to build 37, there was one script (Highway Skims mod.s), which had a loop covering the two time periods,
AM and midday. However, it was found that this script would crash on some hardware configurations, when
running Voyager 5.1.3, resulting in the following errors: 1) Voyager.exe, APPCRASH, TPPDLIBX.DLL; and 2)
Voyager, APPCRASH, MSVCR90.DLL. The script was then split into two files (Highway Skims mod am.s and
Highway Skims mod md.s), which eliminated this problem.

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Table 34 Outputs of the highway skim file development

Total highway skims <ITER>_SKIMTOT.TXT Text
Truck skims <ITER>_MD_TRK.SKM Binary
SOV skims <ITER>_<Prd>_SOV.SKM Binary
HOV2 skims <ITER>_<Prd>_HOV2.SKM Binary
HOV3+ skims <ITER>_<Prd>_HOV3.SKM Binary
SOV skims (used by mode choice model) <ITER>_<Prd>_SOV_MC.SKM Binary
HOV2 skims (used by mode choice model) <ITER>_<Prd>_HOV2_MC.SKM Binary
HOV3+ skims (used by mode choice model) <ITER>_<Prd>_HOV3_MC.SKM Binary
AM highway skims <ITER>_HWY_AM.SKM Binary
Off peak highway skims <ITER>_HWY_OP.SKM Binary
Network with added station centroid <ITER>_HWYMOD.NET
connectors Binary
Walk access links WalkAcc_Links.dbf DBE
<ITER>_<Prd>_SOV_MOD.SKM Binary
<ITER>_<Prd>_HOV2_MOD.SKM Binary
<ITER>_<Prd>_HOV3_MOD.SKM Binary
Highway network with PP speeds removed ZoneHWY.NET Binary

Note: <ITER> =PP, i1...i4 <Prd>=AM and MD

13.2 Application Details

The highway skimming process is used to develop time, cost, and toll values between origin/destination

(i/j) pairs of zones on a minimum-impedance path. The skimming process reads a highway network input

file with preexisting restrained speeds. The restrained speeds used in the pump prime (PP) iteration

initially are table look-up values based on time period (AM, Off-peak), facility type, and area type. After

the PP iteration is completed (i.e., after the PP traffic assignment process is completed), the highway
skimming is accomplished using traffic assignment-based link speeds. The generalized impedance for

which paths are developed for highway skimming is defined as follows:
Equation 1 Converting tolls into time-equivalent minutes of impedance

(Impedance),, = (Restrained over-the-network time), + (Toll-related time),
or
(Impedance), = (Restrained over-the-network time),

+ ([Toll cost], x [Time rate],, x [Vehicle factor],¢)

where
(Impedance), = Restrained over-the-network timey + Toll-related Time y
(Restrained over-the-network time),
= Congested/restrained network travel time (min) for vehicle class “V”
[Toll cost], = Tolls (2007 dollars)paid by vehicle class “V”, if a tolled facility was used

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[Time rate], = Time valuation (min/2007 dollar) of toll costs for vehicle class “V”
[Vehicle factor],¢ = Vehicle class factor for tolled facility “F”

Note: Vehicle classes are: SOVs, HOV2-occs, HOV3+occs, Commercial Vehicles, Trucks, and airport

passenger vehicles.

The assumed time rates are provided by vehicle class and time period in toll_minutes.txt (see below),
which is located in the Support folder. The values shown are derived from average household income
levels and information from the 2007/08 HTS. The values should not be altered.

= Equivalent Toll Minutes by Time Prd & Vehicle Type =
= in minutes per 2007 dollar - rm 1/7/11 =

AM Peak Midday PM Peak Night
SVAMEQM = 2.5 SVMDEQM = 3.0 SVPMEQM = 3.0 SVNTEQM = 3.0 ; <--- SOVs
H2AMEQM = 1.5 H2MDEQM = 4.0 H2PMEQM = 2.0 H2NTEQM = 4.0 7; <--- HOVs~-2 Occ
H3AMEQM = 1.0 H3MDEQM = 4.0 H3PMEQM = 1.0 H3NTEQM = 4.0 ; <--- HOVs~-3+0cc
CVAMEQM = 2.0 CVMDEQM = 2.0 CVPMEQM = 2.0 CVNTEQM = 2.0 ; <--- Comm Veh
TKAMEQM = 2.0 TKMDEQM = 2.0 TKPMEQM = 2.0 TKNTEQM = 2.0 ; <--- Trucks
APAMEQM = 2.0 APMDEOM = 2.0 APPMEQM = 2.0 APNTEQM = 2.0 ; <--- Apaxs

The vehicle factors are provided by time period in the inputs files AM_Tfac.dbf and MD_Tfac.dbf. An
example of the AM_Tfac.dbf file is shown below. The file is available to allow for the ability to reflect a
facility-specific toll policy differential between vehicle classes. The table below specifies the default
assumption that tolls do not vary between vehicle classes, except for trucks, which are assumed to pay
2.5 times the toll that an auto would pay.

TOLLGRP AMSOVTFTR AMHV2TFTR AMHV3TFTR AMCOMTFTR AMTRKTFTR AMAPXTFTR
1 1.0000 1.0000 1.0000 1.0000 2.5000 1.0000

information about the “toll setting” process that is used to estimate reasonable toll values can be found

in two technical memos.*?

The standard zone-to-zone highway skims are developed by the scripts Highway_Skims_am.s and
Highway_Skims_md.s. The scripts produce skim files pertaining to two time periods (AM and midday)
and to four mode/path types (SOV, HOV2, HOV3+, and truck). The truck skim file contains one table

®2 Jinchul Park to Team B Modelers, “Processes Related to Toll Setting in Version 2.3 Model (Draft),”
Memorandum, October 12, 2012; Jinchul Park to Files, “HOT Lane Modeling Process of MWCOG/TPB (Draft),”
Memorandum, October 12, 2012.

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pertaining to travel time. The SOV and HOV skim files contain four tables: 1) time (min), 2) distance in
implied tenths of miles, 3) total toll (year-2007 cents), and 4} variably priced tolls (year-2007 cents).

Based on a past analysis of Version 2.2 model forecasts, TPB staff found substantial costs associated
with planned variably priced highway facilities (e.g., the Northern Virginia HOT lanes and the ICC) caused
counterintuitive mode choice model results. Essentially, the added person trips induced by the HOT
lane’s accessibility benefit tended to be allocated among non-SOV modes because of the substantial
costs for paying SOVs to use the HOT lane costs. The result was not considered reasonable since the
objective of the facility was to attract paying SOVs by selling a travel time benefit. Staff speculated that
the result may be attributed to the specification of the mode choice model: the “SOV-pay” alternative
was not included in the choice set when the model was calibrated (indeed, no such facility had ever
operated in the region). It was decided that the potentially extreme costs associated with future-year,
variably priced highway facilities should not be considered by the mode choice model as monetary
values in application. Instead, tolls on variably priced facilities are expressed as equivalent minutes
that are added to the highway time. This approach has been adopted for the Version 2.3 application.
Consequently, two sets of SOV and HOV skim files are created, one in which all toll facility costs are
skimmed (e.g., <ITER>_AM_SOV.SKM), and another set in which the toll skims reflect base-year toll
facilities only and the time skims reflect highway times and tolls converted to equivalent time
(<ITER>_AM_SOV_MC.SKM). The former is used as an input to the trip distribution model and the latter
is used as an input to mode choice.

The joinskims.s script is use to merge the six skim files used by the mode choice model into two files,
<iter>_ HWY_AM.skm and <iter>_HWY_MD.skm, which are read directly into the mode choice model.

Modnet.s reads the built highway network file and creates another modified binary network that
includes an expanded set of zone centroids, zone centroids (numbered 1 to 3722) and PNR lot centroids
(numbered 5001 to 7999). The expanded network is named <iter>_HwyMod.net. Modnet.s also
generates a list of highway links that are considered as “walk network links” in the development of
sidewalk (mode 13) links for the transit network.

The Highway_Skims_Mod_am.s and Highway_Skims_Mod_md.s scripts read the expanded network and
create an expanded set of highway skims dimensioned 7999 by 7999, which includes highway skims
between zone centroids as well as between zone and PNR lot pairs. The latter will be used subsequently
to create auto access link attributes. As explained in footnote 81, prior to build 37, there was one script
(Highway_Skims_mod.s), which had a loop covering the two time periods, AM and midday. However, it
was found that this script would crash on some hardware configurations, but not on others. The script
was then split into two files (Highway_Skims_mod_am.s and Highway_Skims_mod_md.s), which
eliminated this problem.

The Remove_PP_Speed.s script is used to remove the “PP” iteration speed attributes from the highway
network. This is necessary in the initial (PP) iteration, when table lookup speeds are to be replaced by
traffic assignment speeds in the PP iteration.

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14 Auto Driver Trip Development

14.1 Overview

The “auto drivers” step is used to convert daily auto person trip tables by occupant group (1, 2, and 3+)
into auto driver trips by occupant group. This step occurs in between the mode choice model and the
time-of-day model steps (see pages A-8 and A-14 of Appendix A). The auto driver step uses daily auto
person trips estimated by the mode choice model and computes auto driver trips by occupant groups
using matrix division. Because the mode choice file output includes only internal-to-internal movements,
total external auto person trips produced in the trip distribution step are also used as a basis for
developing external auto driver trips by occupant groups. External auto person trips produced by the
trip distribution process are not stratified by occupant groups. The auto driver step uses modeled

occupant disaggregation curves to develop external auto drivers by occupant groups.

The scripts used are PP_Auto_Drivers.s, invoked by the PP_AutoDrivers.bat file (see page A-8 of
Appendix A) and MC_Auto_Drivers.s, invoked by the Auto_Drivers. bat file (see page A-14 of Appendix A).
The inputs to this step are shown in Table 35. The outputs are shown in Table 36. The outputs consist of
five purpose-specific auto driver files, each containing three tables (one for each occupant group). The
output files contain both internal and external auto driver movements.

Note that the PP_Auto_Drivers.s script uses a pre-existing mode choice model output file that resides in
the \inputs subdirectory, while the MC_Auto_Drivers.s script reads mode choice model output that is
generated within the model execution stream. A pre-existing file must be used in the pump prime
iteration in order to provide initial zonal mode choice percentages. TPB staff uses a pre-existing file that

is as current and as reasonable for the modeled scenario as possible.

Table 35 Inputs to auto driver trip development

Pre-existing final iteration AEMS mode 2??? NL_MC.MTT Binary
choice model output modal trip tables

Pump Prime iteration person trip tables <iter>_???.PTT Binary
Current iteration AEMS mode choice model | ???_NL_MC.MTT Binary
output modal trip tables

Note: ??? = HBW, HBS, HBO, NHW, and NHO <ITER> =PP, i1...i4

14.2 Application Details

Table 36 Outputs of auto driver trip development

Auto drivers trips by trip purpose (t1= 1-occ. | <ITER>_???_ADR.MAT Binary
auto drivers, t2= 2-occ. auto drivers, t3 =3+
occ. Auto drivers

Note: ??? = HBW, HBS, HBO, NHW, and NHO <ITER> =PP, i1...i4,

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15 Pre-Transit Network Processing

15.1 Overview

Prior to transit network building (shown on page A-5), a series of Cube Voyager scripts is executed to
generate special transit-access links that are subsequently folded into the transit network, along with
highway links, transit links, and transit lines. The scripts include Parker.s (used to generate PNR-lot-to-
rail-station links), walkacc.s (used to develop zonal walk access links), Adjust_Runtime.s (to update the
RUNTIME values for local bus service to account for worsening congestion), and Autoacc5.s (used to
generate TAZ-to-station links, a.k.a., auto access links). The automated approach for generating these
links has greatly streamlined the transit network coding process. Three of these programs (Parker.s,
walkacc.s, and Autoacc5.s) were originally developed as stand-alone Fortran programs developed by
AECOM Consult. TPB staff converted these three Fortran programs to Cube Voyager scripts to facilitate

the implementation of future enhancements.

The inputs used by the above programs are list in Table 37. Specific file descriptions are shown in Table
38 through Table 41. The output files are shown in Table 42.

Table 37 Inputs to pre-transit network processing

Zonal land use file Zone.dbf DBF
Station file Station.dbf DBF
Highway node file node.dbf DBF
Supplemental walk link file xtrawalk.dbf DBF
Sidewalk network links WalkAcc_Links.dbf DBF
TAZ area that is within walking distance from transit stops | Areawalk.txt** Text
Factors used to determine the amount of speed Bus_Factor_File.dbf DBF
degradation, due to congestion, for local bus routes

Station mode-station type-max access dist. Lookup StaAcc.dbf DBF
Jurisdiction code- jurisdiction group lookup Jur.dbf DBF
List of zones connected to the Pentagon Metrorail station Pen.dbf DBF

for the purpose of creating long-distance kiss-and-ride
(KNR) links, which represent “slugging” or informal, ad-hoc

carpooling
TAZ XY co-ordinates TAZ_xys.dbf DBF
SOV AM/Off-peak highway time skims file AM_SOV_MOD.SKM, Binary

MD_SOV_MOD.SKM

** Areawalk.txt contains information needed to calculate zonal percent-walk-to-transit (PWT) values.

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Input File Descriptions and Formats

Table 38 Variables in the transit station file (Station.dbf)

Name Type | Field Description
SEQNO N Sequence Number
MM Cc Mode Code (M=Metrorail, C=Commuter rail, B=Bus, L=Light rail, N=
BRT/streetcar)
NCT N Access distance code (1, 2, 3, 0, 9, 8) (See Table 39)
STAPARK C Does the station have a park-and-ride lot? (Y=yes; blank=no)
STAUSE C Is the station in use for the given year? (Y=yes; blank=no)
SNAME C Station Name/PNR lot name
STAC N Station centroid number (5001-7999), also known as a park-and-ride (PNR) lot
centroid or a dummy PNR centroid”
STAZ N For the purposes of path building, the TAZ (1-3722) that represents the
location of the station PNR lot. Usually the closest TAZ to the PNR lot.
STAT N Station Node (8000-8999, 9000-9999, 10000-10999)
STAP N Station park-and-ride (PNR) node number (11000-13999)
STAN1 N Station bus node #1 (used to generate a station-to-bus-node connector)
STAN2 N Station bus node #2 (used to generate a station-to-bus-node connector)
STAN3 N Station bus node #3 (used to generate a station-to-bus-node connector)
STAN4 N Station bus node #4 (used to generate a station-to-bus-node connector)
STAPCAP N Parking capacity (number of spaces at the PNR lot)
STAX N X coordinate of station/PNR lot (MD State Plane, NAD83, feet)
STAY N Y coordinate of station/PNR lot (MD State Plane, NAD83, feet)
STAPKCOST | N Peak period parking cost (daily cost, cents)
STAOPCOST | N Off-peak parking cost (hourly cost, cents)
STAPKSHAD | N Peak-period shadow price (currently not used)
STAOPSHAD | N Off-peak-period shadow price (currently not used)
FIRSTYR N Year of Station/PNR lot Opening (unused by scripts, but used as metadata)
STA_CEND N Project ID (Metadata)
Cc Scenario name, or left blank (Metadata)
c Comments, if any, regarding the file, since file cannot accept comment lines
preceding the data lines

Notes: New variables are shown with bold font. The SEQNO variable does not correspond to the station

node (STAT), and, unlike the STAT, cannot be assumed to stay the same over time.

Source: Jain, M. (2010, October). MWCOG network coding guide for Nested Logit Model (First draft: September 20, 2007;
Updated February 2008 and October 2010). Memorandum.

The station file (station.dbf) is created by the create-station-file function of COGTools using transit

nodes and transfer links. The input files for this procedure® are pre-existing transit support files listed at

the top of p. A-5. STAN1, STAN2, STAN3, STAN4 represent transit stop nodes, which are used to

generate station-to-transit-node connectors. A node could be a bus bay, bus stop, a light rail stop, a light

83 Meseret Seifu to Files, “Create a Station File,” Memorandum, July 20, 2011.

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rail station, or a commuter rail station, etc. The information of these nodes is used in four scripts:
Autoacc5.s, Parker.s, Set_Factors.s, and Refine_Station_File.s. One transit station could have STAN1, or
STAN1 and STAN2, or STAN1, STAN2, and STAN3. A station with four STANs could have other station
connections beyond these four that exist in the network geodatabase, but these are not shown explicitly

in the station file.

The “access distance code,” known as NCT in the autoacc5.s script, is a newly added variable in the
station file that controls the number, extent, and directionality of PNR/KNR access links generated for
each parking lot (in the case of PNR) or each station (in the case of KNR). Table 39 describes the

meaning of each of the six access distance codes.

Table 39 Interpretation of transit access distance codes (NCT): Metrorail, light rail, and bus PNR access distance codes and
their meaning for the

Code | Interpretation

1 End-of-the-line station (e.g., Shady Grove Metro)

Intermediate station (e.g., Rockville Metro)
PNR close to a CBD (e.g., Rhode Island Ave. Metro, Fort Totten)

Metrorail sta. in use, but no PNR/KNR access (e.g., Dupont Circle, Farragut North, Metro Ctr.)

2
3
0 Only KNR-access links generated (e.g., Braddock Road, National Airport, Clarendon)
9
8

Pentagon Metro Sta., allows for very long KNR links, to represent “slugging” (informal

carpool)

The access distance code, along with the transit mode, determines the maximum link distance for the
drive-access-to-transit links generated by autoacc5.s for the TPB nested-logit mode choice model. The
maximum link distances for PNR are shown in Table 81. Although not shown in the table, the maximum
allowed link distance for KNR links is 3 miles. It is also important to note that the KNR links are
generated to Metrorail stations, light rail stations, streetcar stops, and bus stops with parking lots, but

not commuter rail stations.

Table 40 HBW zonal parking costs/terminal time file (HBWV2a1.dbf)

File Name Variable Name Description
HBWV2a1.dbf TAZ TAZ (1-3,722)
PCTWKSH Percent short walk to transit
PCTWKLG Percent long walk to transit
AREA insq. mile

For more information about short walk and long walk to transit, see section 21.4 (“Market
segmentation”) on page 164.

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Table 41 Walk Access Links (WalkAcc_Lnks.dbf)

File Name Variable Name Description
WalkAcc_Links.dbf A A-Node
B B Node
DISTANCE Link distance (in 1/1 00'"s of miles)
FTYPE Link Facility Type Code (0-6)

O/centroids, 1/Freeways, 2/Major Art., 3/Minor

Art, 4/ Collector, 5/ Expressway, 6/ Ramp

TAZ TAZ (1-3,722)

Table 42 Outputs of pre-transit network processing

Transit support files in
inputs subdirectory

met_link.tb, com_link.tb, Irt_link.tb, new_link.tb,

met_node.tb, com_node.tb, Irt_node.tb, new_node.tb,
bus_pnrn.tb, met_pnrn.tb, com_pnrn.tb, Irt_pnrn.tb, new_pnrn.tb,
met_bus.tb, com_bus.tb, Irt_bus.tb, new_bus.tb

newkram.asc, newkrop.asc, autoall.asc

Text

Transit network walk link sidewalk.asc Text
files walkacc.asc

support.asc
Percent of TAZ within HBWV2A1.dbf DBF
short/long walk from
transit

NLWalkPCT.txt Text
PNR lot to station transfer metampnr.tb, comampnr.tb, busampnr.tb, newampnr.tb, Text
links Irtampnr.tb, metoppnr.tb, comoppnr.tb, busoppnr.tb, newoppnr.tb,

Irtoppnr.tb
Transit access link files mrpram.asc, mrprop.asc, mrkram.asc, mrkrop.asc, cram.asc,

crop.asc, buspram.asc, busprop.asc, buskram.asc, buskrop.asc,

Irtam.asc, Irtop.asc, newam.asc, newop.asc, Irtkram.asc, Irtkrop.asc, | Text

15.2 Application Details

It is important to understand the various elements of the Version 2.3 transit network system. The

elements are listed in Table 43. The network consists of highway links, transit stops, PNR lots, rail

stations, rail links, and transit lines (modes 1-10). The transit network also contains access links relating

to zonal access connections including zone-to-transit-stop walking links (mode 16), and zone-to-

KNR/PNR auto links (mode 11). The network also includes other walk-related connections such as

sidewalk links used in transferring (mode 13), rail station-to-bus stop connections (mode 12), and PNR

lot-to-station connections (mode 15). The above scripts are used to develop all of these types of

“support” links, with the exception of station-to-bus transfer links which are addressed as part of pre-

network development.

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The Mode Choice Model chapter of this report addresses the how access links are developed by the

walkacc.s, Parker.s, and the Autoacc5.s programs.

Table 43 Overview of Version 2.3 Transit Network Elements

Walk access links

Auto access links

PNR lot-to station links
Station-to-bus transfer link

Transit line files

stations (non-highway transit links)

TAZ -transit stop bike/ pedestrian connections

TAZ-PNR lot driving connections

Walk transfer links from PNR lot to Station
Walk transfer links between stations & bus stops
Bus, Rail transit line data

(line characteristics, node sequence of route)

Transit Network Element Description Numbering Modes/Notes

Bus stop nodes Highway nodes that reflect bus stops 20000 - 60000 boarding/alighting locations

PNR lots Point location representing PNR lot 11001-13999 11001-11999 Metrorail
12001-12999 Commuter rail
13001-13999 LRT/BRT/Streetcar

Station Point location representing rail stop 8001-10999 8001-8999 Metrorail
9001-9999 Commuter rail
10001-10999 LRT/BRT/New

Rail links Fixed guideway segments connecting - Mode 3= Metrorail

Mode 4= Commuter rail
Mode 5 = light rail
Mode 10= BRT, Streetcar

Mode 16= TAZ-to-transit stop node
Mode 13= sidewalk links

Mode 11
Mode=15

Mode=12
Modes 1-10

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16 Transit Skim File Development

16.1 Overview

The transit skimming file process involves the development of 22 sets of level-of-service (LOS) skims

corresponding to two time-of-day period (peak and off-peak)** by four sub-mode groups (Bus only,

Metrorail only, Bus-Metrorail combination, and commuter rail) by three access mode (walk, PNR,

KNR).®° As shown on page A-5 of Appendix A, the transit network building and skimming scripts are

named Transit_Skims_CR.s, Transit_Skims_MR.s, Transit_Skims_AB.s, Transit_Skims_BM.s. These four

scripts are launched using two batch files:

e = Transit_Skim_All_Modes_Parallel.bat

e = Transit_Skim_LineHaul_Parallel.bat

Additionally, transit accessibility summaries are needed to support the vehicle ownership model. The

Transit_Accessibility.s script is used for this purpose. The inputs out outputs to transit skimming are

shown in Table 44 and Table 45, respectively.

Table 44 Inputs to transit skim file development

newkram.asc, newkrop.asc, autoall.asc

Local bus future time Bus_Factor_File.dbf Binary
degradation factors
Transit line files MODE1, MODE2AM, ... MODE10AM.TB Text
MODE1, MODE2OP, ... MODE100P.TB
Transit path tracing PATHTRACE.S Script
selection criteria block
Binary highway network ZONEHWY.NET Binary
Transit support files in met_link.tb, com_link.tb, Irt_link.tb, new_link.tb,
inputs subdirectory met_node.tb, com_node.tb, Irt_node.tb, new_node.tb,
bus_pnrn.tb, met_pnrn.tb, com_pnrn.tb, Irt_pnrn.tb, new_pnrn.tb,
met_bus.tb, com_bus.tb, Irt_bus.tb, new_bus.tb Text
Transit network walk link sidewalk.asc Text
files walkacc.asc
support.asc
PNR lot to station transfer | metampnr.tb, comampnr.tb, busampnr.tb, newampnr.tb, Irtampnr.tb, | Text
links metoppnr.tb, comoppnr.tb, busoppnr.tb, newoppnr.tb, Irtoppnr.tb
Transit access link files mrpram.asc, mrprop.asc, mrkram.asc, mrkrop.asc, cram.asc, crop.asc,
buspram.asc, busprop.asc, buskram.asc, buskrop.asc, Irtam.asc,
Irtop.asc, newam.asc, newop.asc, Irtkram.asc, Irtkrop.asc, Text

*4 For the calculation of average headways and run times, the peak period is represented by the AM peak hour and
the off-peak period is represented by the five-hour midday period.
85 This should equal 24 (2x3x4), but KNR access to commuter rail mode is not considered by the mode choice
model, and so the total number of required path sets equals 22.

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Table 45 Outputs of transit skim file development

Commuter rail skim files SUPL_<Prd>_<AA>_CR.ASC Text
SUPN_<Prd>_<AA>_CR.DBF DBF
TRNL_<Prd>_<AA>_CR.DBF DBF
<ITER>_<Prd>_<AA>_CR.STA Binary
<ITER>_<Prd>_<AA>_CR.SKM Binary
<ITER>_<Prd>_<AA>_CR.TTT Binary
Metrorail support skim files SUPL_<Prd>_<AA>_MR.ASC Text
SUPN_<Prd>_<AA>_MR.DBF DBF
TRNL_<Prd>_<AA>_MR.DBF DBF
<ITER>_<Prd>_<AA>_MR.STA Binary
<ITER>_<Prd>_<AA>_MR.SKM Binary
<ITER>_<Prd>_<AA>_MR.TTT Binary
All Bus support skim files SUPL_<Prd>_<AA>_AB.ASC Text
SUPN_<Prd>_<AA>_AB.DBF DBF
TRNL_<Prd>_<AA>_AB.DBF DBF
<ITER>_<Prd>_<AA>_AB.STA Binary
<ITER>_<Prd>_<AA>_AB.SKM Binary
<ITER>_<Prd>_<AA>_AB.TTT Binary
Bus/Metrorail support skim files SUPL_<Prd>_<AA>_BM.ASC Text
SUPN_<Prd>_<AA>_BM.DBF DBF
TRNL_<Prd>_<AA>_BM.DBF DBF
<ITER>_<Prd>_<AA>_BM.STA Binary
<ITER>_<Prd>_<AA>_BM.SKM Binary
<ITER>_<Prd>_<AA>_BM.TTT Binary
Job accessibility by transit <ITER>_<Prd>_<AA>_[BM|MR]_JobAcc.dbf DBF

16.2 Application Details

Note: <Prd>=AMand OP <AA>= WK, DR, KR

16.2.1 Skim file names and list of transit skim tables in the skim files

<ITER> =PP, i1...i4

The skim files developed by the transit skimming process in the Ver. 2.3 travel demand model are shown

in Table 46. Each filename is preceded by the speed feedback iteration: pp (pump prime), i1, i2, i3, i4.

Each skim file contains 16 tables of information, as shown in Table 47.

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Table 46 Skim files developed by the transit skimming process

Submode

Time Period

AM Peak Skim Files

Off-Peak Skim Files

Commuter Rail

Metrorail Only

Bus Only

Metrorail and Bus

<iter>_AM_WK_CR.SKM
<iter>_AM_DR_CR.SKM
(no CR KNR file is created)

<iter>_AM_WK_MR.SKM
<iter>_AM_DR_MR.SKM
<iter>_AM_KR_MR.SKM

<iter>_AM_WK_AB.SKM
<iter>_AM_DR_AB.SKM
<iter>_AM_KR_AB.SKM

<iter>_AM_WK_BM.SKM
<iter>_AM_DR_BM.SKM
<iter>_AM_KR_BM.SKM

<iter>_OP_WK_CR.SKM
<iter>_OP_DR_CR.SKM
(no CR KNR file is created)

<iter>_OP_WK_MR.SKM
<iter>_OP_DR_MR.SKM
<iter>_OP_KR_MR.SKM

<iter>_OP_WK_AB.SKM
<iter>_OP_DR_AB.SKM
<iter>_OP_KR_AB.SKM

<iter>_OP_WK_BM.SKM
<iter>_OP_DR_BM.SKM
<iter>_OP_KR_BM.SKM

Table 47 Skim tables contained in each transit skim file

Table No. Table Description
1 In-Vehicle Time-Local Bus (0.01 min)
2 In-Vehicle Time-Express Bus (0.01 min)
3 In-Vehicle Time-Metrorail (0.01 min)
4 In-Vehicle Time-commuter rail (0.01 min)
5 In-Vehicle Time-new rail mode (0.01 min)
6 In-Vehicle Time-new bus mode (0.01 min)
7 Initial wait time (0.01 min)
8 Transfer wait time (0.01 min)
9 Walk access time (0.01 min)
10 Other walk time (0.01 min)
11 Added Transfer time (0.01 min)
12 No. of transfers (0 to N)
13 Drive-access time (0.01 min)
14 Drive-access distance (0.01 mile)
15 PNR-to-Station time (0.01 min)
16 PNR Cost (2007 cents)

Ref: Transit_Skim_Specs_2.xlsx

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16.2.2 Description of local bus, future time degradation factors
Transit service is represented in the transit network using a series of transit routes, which are stored in
transit “line” or “mode” files. There is one set of transit routes for the peak period (represented by AM

peak period service) and one set of transit routes for the off-peak period (represented by the midday
period). For each of the two time-of-day periods, each transit route has the following:

e Name (such as “WMO4AI,” or WMATA bus 4A, inbound),

e Flag indicating whether the route is one-way or two-way,

e Mode code (e.g., 1 = local bus),

e Average headway (FREQ(1]= 30, which means the bus comes every 30 minutes), and

e Average run time (i.e., the number of minutes from the start of the route to the end of the
route, e.g., RUNTIME= 42 min.).

When developing the transit networks for a base year (i.e., a year close to the current year, such as
2016), the average headways and average run times come directly from the published schedules from
the transit providers. These schedules can be in paper format or electronic format, such as GTFS. Fora
future-year transit network (such as 2040), however, the average headway and run time are unknown,
so we use information from the latest published schedule (e.g., 2016). However, simply using the
published schedules would likely result in bus speeds that are too fast, since they don’t account for the
added roadway congestion that is likely to occur in the future, i.e., it is likely that worsening road
congestion over time would result in slower bus speeds. In particular, local bus service, which travels on
local roads, might be slowed more than express bus service, which makes use of freeways and
expressways for all or part of its routes. Thus, it would be good to have a relationship that relates future-
year, congested road/link speeds to bus speeds. Before 2004, the COG/TPB travel model had no such
relationship. In 2004, AECOM recommended that COG develop a relationship between link speeds and
bus speeds, but cautioned against developing overly sensitive relationships.*° For example, if one
develops a direct relationship between the link speed and the bus travel times over that link, and if one
road link becomes hyper congested, due, say, to excessive traffic or a network coding error, then the
bus speed will drop to near zero. Consequently, COG/TPB staff developed a proposed solution that
followed what was proposed in the Bruggeman/Woodford memo. The solution was what is known as
the local bus, future time degradation factors, which are used to represent the fact that, as the highway
network becomes more congested, there will be a slight degradation in local bus speeds over time. This
technique was first used in the Version 2.1/D Travel Model,®’ and has been retained in the Version 2.2
and 2.3 travel models. In 2015, the local bus speed degradation factors were re-estimated,*® and those

re-estimated factors were part of the Ver. 2.3.57a travel demand model.

%6 Jeff Bruggeman and Bill Woodford to Ronald Milone, “Comments on MWCOG Modeling Procedures,”
Memorandum, June 30, 2004.

87 Ronald Milone to Files, “Methodology for Linking Future Bus Speeds to Highway Congestion in the Version
2.1/D Model,” Memorandum, July 14, 2004.

88 Meseret Seifu and Ronald Milone, “Update of Local Bus Speed Degradation Model,” Memorandum, March 19,
2015.

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For the Ver. 2.3.66 model, the process was significantly updated, as was described in section 1.3.4 of the

Ver. 2.3.66 user’s guide®’ and a technical memo.” The major changes are as follows:

1. The text file Lous_TimFTRS.asc has been replaced with the dBase file Bus_Factor_File.dbf.

2. Anew script has been added (Adjust_Runtime.s). This script reads in the transit line files
associated with the local bus routes (mode codes 1, 6, and 8), adjusts the RUNTIME values by
the factors contained in Bus_Factor_File.dbf, and writes out revised mode 1, 6, and 8 files with
the revised RUNTIME values. The script Adjust_Runtime.s is called from
Transit_Skim_All_Modes_Parallel.bat.

An example of a local bus route before the adjustment of its RUNTIME variable is shown in Figure 27. An
example of a local bus route after the adjustment of its RUNTIME variable is shown in Figure 28.

LINE NAME="ART43N",
OWNER="ART Bus;Crystal City Bay A, 5 Bell St, SB @ S Hayes St S;Crystal City Bay A, S Bell St, SB @ S Hayes St $;2014;base",
ONEWAY= Y,MODE= 61,FREQ[1]= 2@,RUNTIME= 40,
N= 30247 30666 30279 -30246 -30280 -30243 -30244 -30207 30206,
30204 -30286 -30316 -30315 -30211 36115 30128 -30115 30116,
38520 30117 -38122 36123

Figure 27 A local bus route before its RUNTIME value is updated

LINE NAME="ART43N",
OWNER="ART Bus;Crystal City Bay A, 5 Bell St, SB @ 5S Hayes St $;Crystal City Bay| A, S Bell St, SB @S Hayes St $;2014;base",
ONEWAY= ¥,MODE= 61,FREQ([1]= 28,RUNTIME=43.9, 3 Base RUNTIME= 40.00 Time Factor: 1.098 Year: 2046
N= 30247 30666 30279 -30246 -30280 -30243 -30244 -30207 30206,
36204 -30286 -30316 -30315 -38211 30115 30120 -30115 30116,
30526 30117 -30122 30123

Figure 28 A local bus route after its RUNTIME value is updated to reflect road congestion predicted to occur in future years

Transit accessibility outputs are listed on Table 48.

® Ronald Milone, Mark Moran, and Meseret Seifu, “User’s Guide for the COG/TPB Travel Demand Forecasting
Model, Version 2.3.66: Volume | of 2: Main Report and Appendix A (Flowcharts)” (Washington, D.C.:
Metropolitan Washington Council of Governments, National Capital Region Transportation Planning Board,
February 13, 2017), 7, https:/www.mwcog.org/transportation/data-and-tools/modeling/model-documentation/.

°° Ronald Milone to Feng Xie et al., “Update to the V2.3.57a Model’s Treatment of Bus Speed Factors,”
Memorandum, March 17, 2016.

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Table 48 Job accessibility by transit file format description (<ITER>_<Prd>_<AA>_[BM]|MR]_JobAcc.dbf)

Variable Name _ | Description

TAZ TAZ (1-3722)

EMP35 Number of jobs accessible, from a given zone, within 35 minutes’ travel time
EMP40 Number of jobs accessible, from a given zone, within 40 minutes’ travel time
EMP45** Number of jobs accessible, from a given zone, within 45 minutes’ travel time
EMP50 Number of jobs accessible, from a given zone, within 50 minutes’ travel time
EMPTOT Total number of jobs accessible, from a given zone

** Only EMP4S5 is used from this file.

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17 Transit Fare Development

17.1 Overview

Zone-to-zone transit fares are developed for the 22 paths sets described in the transit skimming section

(section 16). As shown on page A-12 of Appendix A, the fares are developed using the scripts named

Prefarv23.s, Metrorail_Skims.S, Mfare1.s, and Mfare2.s. The inputs to the fare process are shown in

Table 49 and the outputs are shown in Table 50. After the fare process is executed, four scripts are used

to combine transit skims and fares into consolidated submode files: Assemble_Skims_CR.s,

Assemble_Skims_MR.s, Assemble_Skims_AB.s, and Assemble_Skims_BM.s.

Table 49 Inputs to transit fare development

Zonal transit walk percent Inputs\NLwalkPct.txt Text
Zonal TAZ-to-bus fare zone equivalence Inputs\TAZFRZN.ASC Text
Zonal Area Type file AreaType_File.dbf DBF
Zonal land use file zone.dbf DBF
Zonal TAZ-Mode choice district equivalency | areadef3722.prn Text
Metro Station Link File METLNKM1.TB** Text
Metro Station XY File METNODM1.TB** Text
Metrorail turn penalty file Inputs\trnpen.dat Text
MFARE1 AJ (Coordinate) File MFARE1.A1 Text
Metrorail station discount file Inputs\MFARE1_STA_DISC.ASC Text
WMATA tariff parameters Inputs\tarriff.txt Text
Transit fare deflation factor file Trn_deflator.txt Text
<ITER>_<Prd>_<AA>_CR.STA Binary
<ITER>_<Prd>_<AA>_CR.SKM
<ITER>_<Prd>_<AA>_MR.STA
<ITER>_<Prd>_<AA>_MR.SKM
<ITER>_<Prd>_<AA>_AB.STA
<ITER>_<Prd>_<AA>_AB.SKM
<ITER>_<Prd>_<AA>_BM.STA
<ITER>_<Prd>_<AA>_BM.SKM
<ITER>_<Prd>_<AA>_CR.FAR
<ITER>_<Prd>_<AA>_MR.FAR
<ITER>_<Prd>_<AA>_AB.FAR
<ITER>_<Prd>_<AA>_BM.FAR
Peak / Off-Peak MFARE2 Bus Fare Matrix Inputs\busfaram.asc Text
Inputs\busfarop.asc
Peak /Off-Peak MFARE2 A2 File FARE_A2.ASC Text
Notes: <Prd>= AM and OP <AA>= WK, DR, KR <ITER> =PP, i1...i4
** These two files are originally in the Inputs folder, and then are copied to the Output folder in
Transit_Skim_All_Modes_Parallel.bat
Table 50 Outputs of transit fare development
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Summary of walkshed area and walkshed Prepare_MC_Zfile.txt Text

percentage

Output Zone file for the NL mode choice ZONEV2.A2F Text

model

A “complete” A? file for the MFARE2.S Fare_a2.asc

Metrorail distance skims RLDIST.SKM Binary

Metrorail station to station fares AM_Metrorail_Fares.TXT Text
OP_Metrorail_Fares. TXT

Zonal fares <ITER>_<Prd>_<AA>_CR.FAR
<ITER>_<Prd>_<AA>_CR.FR5
<ITER>_<Prd>_<AA>_CR.TXT
<ITER>_<Prd>_<AA>_MR.FAR
<ITER>_<Prd>_<AA>_MR.FR5
<ITER>_<Prd>_<AA>_MR.TXT
<ITER>_<Prd>_<AA>_AB.FAR
<ITER>_<Prd>_<AA>_AB.FR5
<ITER>_<Prd>_<AA>_AB.TXT
<ITER>_<Prd>_<AA>_BM.FAR
<ITER>_<Prd>_<AA>_BM.FRS
<ITER>_<Prd>_<AA>_BM.TXT

Combined time and fare commuter rail <ITER>_TRNAM_CR.SKM Binary

skims <ITER>_TRNOP_CR.SKM

Combined time and fare Metrorail skims <ITER>_TRNAM_MR.SKM Binary
<ITER>_TRNOP_MR.SKM

Combined time and fare all bus skims <ITER>_TRNAM_AB.SKM Binary
<ITER>_TRNOP_AB.SKM

Combined time and fare bus/Metrorail <ITER>_TRNAM_BM.SKM Binary

skims <ITER>_TRNOP_BM.SKM

Table 51 TAZ/Bus Fare Zone Equivalency File Format Description (TAZFRZN.ASC)
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Columns Format | Field Description
Zonal data (All lines in the file)
1-8 14 TAZ Number (1-3,675)
9-16 14 1* Bus fare zone 1 (currently numbered 1 to 21)
17-24 14 2" Bus fare zone 2 (currently numbered 1 to 21)
57-64 18 Jurisdiction code
65-72 18 P discount
73-80 18 A discount
Station data (first 150 lines of the file only)
1-8 14 Metrorail Station No. (1-150)
41-48 14 1* Bus Fare Zone associated with Metro Station
(currently numbered 1 to 21)
49-56 14 2"¢ Bus Fare Zone associated with Metro Station
(currently numbered 1 to 21)

As shown in Table 51 above, the TAZ/Bus Fare Zone Equivalency File (TAZFRZN.ASC) essentially contains
two look-up tables: the zonal data table includes all lines in the file, while the station data table includes
only the first 150 lines of the file. Both look-up tables use Columns 1-8 as the index column, which
represents TAZ Number (1-3675) for the zonal data and represents Station Number (1-150) for the
station data. Station information contained in Columns 41-48 and 49-56 are populated in only the first
150 lines of the file (zeros are used as placeholders for Lines 151-3675).

17.2 Application Details

The purpose of transit fare process is to develop a zonal matrix containing total transit costs as
expressed in 2007 cents. The core components of the transit fare process are two scripts: MFARE1.S
which develops Metrorail station-to-station fares and MFARE2.S which develops zone-to-zone transit
fares using the MFARE1.S output. Twenty-two fare matrices are developed sub-mode, time period, and
access type, specifically:

e Four sub-modes (Bus Only Metrorail only, Metrorail/ Bus, and Commuter Rail) by;
e Two time periods (AM, off-peak), by;
e Three access types (Walk, PNR, and KNR)

Since commuter rail access is distinguished by walk and auto access only, 22 matrices are developed
(instead of 24 which is implied above).

The fare process is executed with a batch file named Transit_Fare.bat. The batch file calls four scripts
that are used to formulate the zone-to-zone transit fares for each market:

e PrefarV23.s: This script reads a zonal transit walk area file (NLWalkPct.txt) which includes walk
areas pertaining to Metrorail stations only. It also reads an equivalency file (TAZFRZN.ASC) that

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equates TAZs to bus fare zones and Metrorail station numbers to bus fare zones. The program
essentially merges the Metrorail walk percent information into the zonal equivalency file. The
resulting file is named fare_a2.asc. This file is called by the MFARE2.S script and is needed for
the zonal transit fare calculation. This script is also used to develop the zonal parking costs that
are input into the mode choice model.

e Metrorail_skims.s: This script reads a Metrorail link and node file, and then develops Metrorail
station-to-station distance skims. The file is need for the Metrorail station-to-station fare
calculation.

e MFARE1.S: This script calculates the Metrorail station-to-station fares for AM and off-peak
periods. The script reads in a fare parameter file that is consistent with WMATA’s Metrorail fare
policy (tariff.txt), station coordinates (MFARE1.A1), and a station discount file
(MFARE1 STA_DISC.ASC). The script writes two text files containing Metrorail fares:
AM_Metrorail_Fares.txt and OP_Metrorail_ Fares.txt.

e MFARE2.S: This script calculates the total transit fare between TAZs for AM and off-peak
periods. The script reads in several files:

o The Metrorail station-to-station fares developed by MFARE1.s,

tarrif.txt (transit fare policy parameters contain rail-to-bus discounts)

TRN_Deflator.txt (the transit deflation factor)

Fare_a2.asc (file containing zonal walk percentages to Metrorail stations

BUSFAREAM/OP.ASC: AM and off-peak bus and commuter rail fares between bus fare

policy zones. TPB currently uses 21 bus fare zones for the region. While most TAZs fall

into a single bus policy zone, the fare calculation also accounts for the possibility that a

single TAZ may be straddle 2 bus policy zones

o Zonal skim files containing Metrorail on/off stations (*.STA) and in-vehicle travel times
by transit mode (*.SKM). A set of transit skims must exist for each of the 22 transit
paths.

o
oO
oO
o

The transit fare files are written to 22 binary file (*.FAR) each containing one table (total transit fare in
2007 cents). The batch file calls four additional scripts (Assemble_Skims_??.S) which are used to
consolidate the 22 binary fare files into four files associated with each sub-mode. The consolidated files
are subsequently used as inputs to the mode choice model.

The fare construction process between zonal pairs essentially consists of blending the Metrorail station-
to-station fares with the bus-zone-to-bus-zone fares. The consideration of Metrorail fares is dependent
upon individual path characteristics, i.e., whether or not the Metrorail in-vehicle time is greater than
zero. If the path is not Metrorail-related, then the fare is developed from the bus fare matrix input. If the
path is Metrorail-related, then the transit fare is based on the Metrorail station-to-station fare (from
MFARE1), bus access and/or egress fares developed from the bus fare matrix, zonal Metrorail walk
potential, and the Rail-to-Bus policy discount. The MFARE2 computation may be explained as a series of
four discrete conditions.

Condition 1: Non-Metrorail related path / Single bus fare zone origin to Single bus fare destination
zone

Transit fare = Bus Fare(bi1/bj1)

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Condition 2: Non-Metrorail related path / Single bus fare zone origin to Double bus fare destination
zone

Transit fare = [(Bus Fare( bi1/bj1) + Bus Fare( bi1/bj2)] / 2.0

Condition 3: Non-Metrorail related path / Double bus fare zone origin to Double bus fare destination
zone

Transit fare = [(Bus Fare( bi1/bj1) + Bus Fare(b i1/bj2) + (Bus Fare(b i2/bj1) + Bus Fare(b i2/bj2}] / 4.0

Condition 4: Metrorail related paths

Transit Fare = (Bus Access fare * (1.0-Origin Metrorail walk Pct.)) + Metrorail fare(si/sj) +
(Bus Egress fare * (1.0-Destin. Metrorail walk Pct.})

Bus Access Fare Single bus fare zone to Single Metrorail bus fare zone =

Bus Fare(bi1/mi1) — 0.5 Rail-Bus Discount

Bus Access Fare Single bus fare zone to Double Metrorail bus fare zone =

Min[Bus Fare(bi1/mi1) , Bus Fare(bi1/mi2) ] — 0.5 Rail-Bus Discount

Bus Access Fare Double bus fare zone to Single Metrorail bus fare zone =

{Bus Fare(bi1/mi1) + Bus Fare(bi2/mi1) ]/2.0 — 0.5 Rail-Bus Discount

Bus Access Fare Double bus fare zone to Double Metrorail bus fare zone =

{Min[Bus Fare(bi1/mi1) , Bus Fare(bi1/mi2) ] + Min[Bus Fare(bi2/mi1) , Bus Fare(bi2/mi2} ]]/2.0 — 0.5
Rail-Bus Discount

Bus egress fares are calculated in the same way that bus access fares are calculated. A fare discount is
applied to the fare calculation before it is written out to the binary output.

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18 Demographic Submodels

Demographic submodels are applied within the Trip_Generation.bat batch file using the Demo_Models.s
Cube Voyager script (see page A-6 of Appendix A). This script applies the three demographic submodels
that are run prior to trip generation: household size, household income, and vehicle availability (see
Chapter 3 of the calibration report for more details). The inputs to the model are zonal land use data
(zone.dbf), data about area types (areaType_File.dbf), and information about the accessibility to jobs via
transit. The zone.dbf file contains zonal households, population, jurisdiction code, and income index, as
well as the household size and household income submodels (in the form of lookup tables). The
households in each TAZ are then allocated to a household size group (1, 2, 3, or 4+) and an income
group (<50K, 5OK-100K, 100K-150K, or 150+K).

Next, the Demo_Models.s reads in the number of jobs accessible by AM Metrorail and Bus/Metrorail
service within 45 minutes for each TAZ (see Table 48). This information along with household size,
household income, area type, and the DC dummy variable are used to allocate households to the four

vehicle ownership categories (0, 1, 2, or 3+).

Then, a file is produced, for each of the four income levels, which contains the number of households by
household size and vehicle availability. These files are later used in trip generation. Lastly, the script
accumulates the households by area type and prints out the following summaries located in the
<ITER>_Demo_Models.txt:

e Regional Households by Size and Income Summary

e Jurisdictional Households by Size

e Jurisdictional Households by Income

e Regional Households by Vehicles Available and Size Summary

e Regional Households by Vehicles Available and Income Summary
e Jurisdictional Households by Vehicles Available

e Estimated Households by Size Level by Area Type

e Estimated Households by Income Level by Area Type

e Estimated Households by Vehicle Availability Level by Area Type

Process inputs and outputs are shown in Table 52 and Table 53.

Table 52 Inputs to the Demographic Models

Zonal Land Use File Inputs\zone.dbf DBF
Zonal Area Type File AreaType_File.dbf DBF
Transit Accessibility File (Metrorail only and | <ITER>_AM_WK_MR_JOBACC.dbf DBF
Bus & Metrorail service) <ITER>_AM_DR_MR_JOBACC.dbf
<ITER>_AM_WK_BM_JOBACC.dbf
<ITER>_AM_DR_BM_JOBACC.dbf

Note: <ITER> =PP, i1...i4

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Table 53 Outputs of the Demographic Models

Zonal HHs of Income Level 1, Stratified by HHI1_SV.txt Text
Size and Vehicle Avail.
Zonal HHs of Income Level 2, Stratified by HHI2_SV.txt Text
Size and Vehicle Avail.
Zonal HHs of Income Level 3, Stratified by HHI3_SV.txt Text
Size and Vehicle Avail.
Zonal HHs of Income Level 4, Stratified by HHI4_SV.txt Text
Size and Vehicle Avail.
Interim Output: Zonal Households stratified | <iter>_Demo_Models_HHbylSV.dbf DBF
by Income Level, household Size, and
vehicle available (64 cross-classes)

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19 Trip Generation

19.1 Control/Support File(s):

Trip_Generation.s, Trip_Generation_Summary.s, Truck_Com_Trip_Generation.s

19.2 Application Details:
Trip generation is executed within the Trip_Generation.bat batch file using three Cube Voyager scripts:
Trip_Generation.s, Trip_Generation_Summary.s, and Truck_Com_Trip_Generation.s (as shown on page

A-6 of Appendix A). The inputs to the Trip_Generation.bat batch file are shown in Table 54.

Table 54 Inputs to trip generation

Zonal land use file zone.dbf DBF
Zonal Area Type File AreaType_File.dbf DBF
Zonal HHs stratified by income level, HH size, & vehs available | <iter>_Demo_Models_HHbyISV.dbf DBF
Zonal GIS variable file GIS_variables.dbf DBF
Trip production rates weighted_trip_rates.dbf DBF
External Production and Attraction File Ext_PsAs.dbf DBF
Non-motorized trip production share model coefficients NMPrates.dbf DBF
Non-motorized trips Attraction share model coefficients NMaArates.dbf DBF
Trip attraction rates AttrRates.dbf DBF
HB income shares HBINCRAT.dbf DBF
Consolidated zonal land use file TripGen_LUFile.dbf DBF
Truck and commercial vehicles trip rates support\truck_com_trip_rates.dbf DBF
Zonal access verification file Skimtot<ITER>.txt Text

JurCore.dbf DBF

The Trip_Generation.s script calculates zonal trip productions and attractions. The
Trip_Generation_Summary.s summarizes the demographic information and the trip ends by jurisdiction.

The Truck_Com_Trip_Generation.s produces trip ends for commercial vehicles and trucks.

The Trip_Generation.s script is very long (almost 1,500 lines). Figure 29 presents an outline or pseudo
code of the steps in the trip generation script. The script has three phases, as indicated in the figure.
There are a few points to note: First, the program is applied to compute zonal initial trip productions
and (unscaled) zonal trip attractions. Attraction scaling is performed later, in the
“Prepare_Internal_Ends.s” script. Second, the program makes sparing use of two sets of adjustments:
jurisdiction level adjustments (end of phase 1) and area-type level adjustments (phases 1 and 2). The
model does not make use of any “special generators” (other than the truck trip generation phase, where

special generator TAZs are identified) and the model does not make use of zone-level adjustments,

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which are used in some models and are usually referred to production modification factors (“p-mods”)
and attraction modification factors (“a-mods”).74

1 See, for example, William W. Mann, “TRIMS - Four Steps: One Execution,” /TE Journal 52, no. 12 (December
1982): 16.

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Phase 1: Read in input data and trip rates and establish parameters

5.

Read input files into arrays. The inputs include: zonal land activity, external Ps/As, zonal area types, zonal
HHs stratified by Inc./Size/ VA., zonal GIS variables, trip production rates, trip attraction rates, and income
attraction shares by HB purpose area type
Establish output files:

a. Report file (%_iter_%_Trip_Generation.txt')

b. Computed Zonal trip productions ('%_iter_%_Trip_Gen_Productions_Comp.dbf')

c. Computed Zonal trip Attractions ( '%_iter_%_Trip_Gen_Attractions_Comp.dbf')
Establish Area-Type trip end (motorized, non-motorized) factors by purpose and area type
Establish External trip parameters (Share of ext. NHB travel that is NHW and NHO, auto occupancies of
external autos, by purpose)
Establish Jurisdictional trip end factors by purpose

Phase 2: Compute Initial Trip Productions and Attractions

t

2.
3

Loop through each internal zone
a. Apply trip production rates to stratified HHs by income, size, vehav. To arrive at total Ps
Computed non-motorized production shares by purpose and area type
Apply non-motorized shares and adjustment parameters to total Ps to arrive at final motorized &
non-motorized Ps
d. Summarize and write out internal computed trip Ps stratified by income
e. Apply trip attraction rates to land activity
f. Computed non-motorized attraction shares by purpose and area type
g. Apply non-motorized shares and adjustment parameters to total As to arrive at final motorized &
non-motorized As
Disaggregate total final attractions to income strata, by purpose and area type

>

>

End internal zone loop

Loop through each internal zone: Summarize and write out internal computed attractions by income
Loop through each external zone

Read external auto driver trip Ps and As

Convert external vehicle Ps and As to auto person trips based on car occ. parameters
Disaggregate total external NHB auto persons among NHW and NHO based on parameters
Write out external Ps and As

aooe

End external zone loop

Phase 3: Print out regional totals of computed trip productions/attractions

Figure 29 Outline/pseudo code for trip_generation.s

Trip_generation.s begins, in phase 1, by reading the zonal land use (Zone.dbf); the area type file
(AreaType_File.dbf); external trip productions and attractions (EXT_PsAs.dbf, described in Table 55);

zonal households stratified by income, size, and vehicles available (<iter>_Demo_Models_HHbyISV.dbf);

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zonal walkability factors (GIS_variables.dbf); trip production rates (weighted_trip_rates.dbf); non-
motorized production model coefficients (NMPrates.dbf); non-motorized attraction model coefficients
(NMArates.dbf); trip attraction model coefficients (AttrRates.dbf); and income shares for home-based
trips (HBINCRAT.dbf).

The zonal GIS variable file (GIS_variables.dbf} contains a number of built-environment variables that
describe the walkability of an area, such as the number of 3-legged intersections per TAZ, the number of
cul-de-sacs per TAZ, the number of street blocks per TAZ, and the number of Census blocks per TAZ.
Although the GIS file contains a number of variables, the trip generation process uses only one: the
number of street blocks per TAZ (“BLOCKS”).°* Since these built-environment variables are intended to
deal with issues of walkability, it is best to use a detailed street network when calculating these metrics
(as opposed to simply using the highway network itself, which is quite coarse). In our case, we used
NAVTEQ’s NAVSTREETS Street Data®? (for which COG pays a license fee) and the work was performed in
2010 by COG/TPB staff.°* Note that NAVTEQ is now known as HERE. A block is defined as a 2-
dimensional area (polygon) that is completely enclosed by a series of NAVTEQ street segments. Prior to
forming blocks, the following segments were removed from the NAVTEQ street network:

e Street segments with no name (ST_NAME=blank), since these are not actually street segments;
e “Major highways” (NAVTEQ functional class [FUNC_CLASS] equal to 1 or 2).
e Ramps (RAMP = Y)

Figure 30 shows an example of the seven blocks that are contained within TAZ 283 (Union Station), as
defined by NAVTEQ street segments (omitting major highways and ramps, as discussed above).

* Tt has been found that areas with a higher density of street blocks are more walkable.

° NAVTEQ, “NAVTEQ’s NAVSTREETS Street Data, Reference Manual v3.2,” Proprietary and Confidential
(Chicago, Illinois: NAVTEQ, April 1, 2009).

** Mary Martchouk to Mark S. Moran, “Developing GIS Walkability Measures,” Memorandum, June 2, 2010, 6-7.
> NAVTEQ, “NAVTEQ’s NAVSTREETS Street Data, Reference Manual v3.2”, p. 4-5.

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5
4 / 6 il TAZ 283 includes blocks 1-7
3
2
7

Figure 30 Example of seven NAVTEQ street blocks within TAZ 283 (Union Station)

In the trip generation script (Trip_Generation.s), the number of blocks per TAZ is then converted to a
density measure, specifically the floating 0.5-mile block density for each TAZ (BLOCKSO5, lines 180-215
of Trip_Generation.s). In the travel model, it is assumed that the block density has an effect on non-
motorized trip productions and attractions only for area types 1 and 2 (See, for example, Tables 27-29
of the calibration report for non-motorized productions and Tables 30-32 for non-motorized attractions,
where the floating 0.5-mile block density is called BLKDENOS).°°

It is assumed that the model user will rarely change the value of BLOCKS (or its derivative, BLKDENO5)
when running the model (i.e., the modeler will freeze the base-year levels of block density). This is
analogous to the way that household income distributions are generally frozen in the model. The
exception to this rule is if the modeler believes that the street network in an area will become denser or

sparser, then the modeler can make appropriate manual adjustments to the zonal BLOCK variable.

The trip generation process also reads external trip ends from a file (Ext_PsAs.dbf) that is developed
exogenously. The data items are shown in Table 55. The Trip_Generation.s script writes out an
intermediate dBase file containing land activity, one-mile “floating” land use density, one-half mile
“floating” block density, and jurisdictional and area type codes. The file is a consolidation of input data
from various zone files and derived variables.*’ The specific data elements are shown on Table 56. Note
that, in the file Ext_PsAs.dbf (Table 55), the last two variables are medium truck external-internal (X-I)
trip ends (MTK_XI) and heavy truck external-internal (X-I) trip ends (HTK_XI), but there are no

°6 Milone et al., “Calibration Report for the TPB Travel Forecasting Model, Version 2.3,” 4-17 to 4-20.
°’ Floating densities are calculated using the centroids of the TAZs and street blocks, with a point buffer around the
centroid with the given radius (0.5 mile or 1.0 mile).

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corresponding variables for the internal-external movements (e.g., MTK_IX and HTK_IX). This is because

it is assumed that the two movements (XI and IX) are the same.

Table 55 External Production and Attraction File (Ext_PsAs.dbf)

Variable Description

TAZ External station no. (3676-3722)

FACILITY Facility route no./name

AAWT_CTL Average annual weekday traffic count (observed or forecasted)
CNTFTR (unused)

AUTO_XI Auto driver external-internal (X-I) trip ends

AUTO_IX Auto driver internal-external (I-X) trip ends

AUTO_XX Auto driver through (X-X) trip ends

CV_XX Commercial vehicle through (X-X) trip ends

HBW_XI HBW external-internal (X-l) trip ends

HBS_XI HBS external-internal (X-I) trip ends

HBO_XI HBO external-internal (X-1) trip ends

NHB_XI NHB external-internal (X-I) trip ends

CV_XI Commercial vehicle external-internal (X-l) trip ends

HBW_IX HBW internal-external (I-X) trip ends

HBS_IX HBS internal-external (I-X) trip ends

HBO_IX HBO internal-external (I-X) trip ends

NHB_IX NHB internal-external (I-X) trip ends

CV_IX Commercial vehicle internal-external (I-X) trip ends

TRCK_XX Truck through (X-X) tip ends (medium and heavy truck)
TRCK_XI Truck external-internal (X-l) trip ends (medium and heavy truck)
TRCK_IX Truck internal-external (I-X) trip ends (medium and heavy truck)
MTK_XI Medium truck external-internal (X-I) trip ends

HTK_XI Heavy truck external-internal (X-I) trip ends

Source: Milone, R. (2011, July 1). Version 2.3 Exogenous Trip Files. Memorandum.

The one-mile floating density is then calculated for population and employment and a half-mile floating

density is calculated for street blocks. These are saved in an intermediate file named TripGen_LUFile.dbf

(Table 56). Then, the script calculates zonal trip productions based on demographic data and applies the

non-motorized production model to the results. Motorized internal trips productions are then obtained

by subtracting the estimated non-motorized trips. The output production file data items are shown on

Table 57.

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Table 56 Consolidated Zonal Land Use File

File Name

Variable Name

Description

TripGen_LUFile.dbf

TAZ
HH
TOTPOP
TOTEMP
RETEMP
NRETEMP
OFFEMP
OTHEMP
INDEMP
HHPOP
GQPOP
LANDAREA
POP_10
EMP_10
AREA_10
POPDEN10
EMPDEN10
ADISTTOX
BLOCKS05
AREAOS

BLOCKDENOS5

JURCODE
ATYPE

TAZ Number (1-3,722)

Number of house holds

Total Population

Total employment

Retail employment

Non-retail employment

Office employment

Other employment

Industrial employment

House hold population

Group quarter population

Land area (sq. mi.)

Number of population within one "floating" mile
Number of employment within one "floating" mile
Zonal Area within one “floating” mile
Population density within one "floating" mile
Employment density within one "floating" mile
Distance to the nearest external station
Blocks within 0.5 mile "floating" blocks

Area within 0.5 mile "floating" blocks

Block density within 0.5 mile "floating" blocks
Jurisdiction code (0-23)

Area Type (1-6)

Table 57 Computed zonal trip productions file (<iter>_Trip_Gen_Productions_Comp.dbf)

Variable Name Description

TAZ TAZ Number (1-3,722)
HBW_MTR_PS Home-Based-Work motorized person trip productions

HBW_NMT_PS Home-Based-Work non-motorized person trip productions

HBW_ALL_PS Home-Based-Work motorized and non-motorized person trip productions
HBWMTRP_I1 Home-Based-Work Motorized person trip productions, Income level 1
HBWMTRP_1I2 Home-Based-Work Motorized person trip productions, Income level 2
HBWMTRP_I3 Home-Based-Work Motorized person trip productions, Income level 3
HBWMTRP_Il4 Home-Based-Work Motorized person trip productions, Income level 4
HBS_MTR_PS Home-Based-Shop motorized person trip productions

HBS_NMT_PS Home-Based-Shop non-motorized person trip productions

HBS_ALL_PS Home-Based-Shop motorized and non-motorized person trip productions
HBSMTRP_I1 Home-Based-Shop Motorized person trip productions, Income level 1
HBSMTRP_1|2 Home-Based-Shop Motorized person trip productions, Income level 2
HBSMTRP_1|3 Home-Based-Shop Motorized person trip productions, Income level 3
HBSMTRP_l4 Home-Based-Shop Motorized person trip productions, Income level 4
HBO_MTR_PS  Home-Based-Other motorized person trip productions

HBO_NMT_PS  Home-Based-Other non-motorized person trip productions

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HBO_ALL PS Home-Based-Other motorized and non-motorized person trip productions
HBOMTRP_I1L Home-Based-Other Motorized person trip productions, Income level 1

HBOMTRP_|2 Home-Based-Other Motorized person trip productions, Income level 2

HBOMTRP_|I3 Home-Based-Other Motorized person trip productions, Income level 3

HBOMTRP_|4 Home-Based-Other Motorized person trip productions, Income level 4
NHW_MTR_PS Non-Home-Based Work-Related motorized person trip productions

NHW_NMT_PS Non-Home-Based Work-Related non-motorized person trip productions
NHW_ALL_PS Non-Home-Based Work-Related motorized & non-motorized person trip productions
NHO_MTR_PS Non-Home-Based Non-Work-Related motorized person trip productions
NHO_NMT_PS Non-Home-Based Non-Work-Related non-motorized person trip productions
NHO_ALL PS Non-Home-Based Non-Work-Related motorized & non-motorized person trip productions

Next, the zonal trip attractions are calculated by applying the attraction trip models to the land use file.

Non-motorized trip attractions are then determined and subtracted from the total trip attractions.

Similar to productions, attractions are multiplied by an adjustment factor (Appendix A of the Calibration

Report) and disaggregated by income level. The computed trip attractions are then written out to

<ITER>_Trip_Gen_Attractions_Comp.dbf file. The final trip attractions are saved in the
<ITER>_Trip_Gen_Attractions_Final.dbf described in Table 58.

Table 58 Computed zone trip attractions file (<iter>_Trip_Gen_Attractions_Comp.dbf)

Variable Name

Description

TAZ TAZ Number (1-3,722)

HBW_MTR_AS  Home-Based-Work motorized person trip Attractions

HBW_NMT_AS Home-Based-Work non-motorized person trip Attractions

HBW_ALL_AS Home-Based-Work motorized and non-motorized person trip Attractions
HBWMTRA_I1 Home-Based-Work motorized person trip Attractions, Income level 1
HBWMTRA_I2. Home-Based-Work motorized person trip Attractions, Income level 2
HBWMTRA_I3. Home-Based-Work motorized person trip Attractions, Income level 3
HBWMTRA_l4 Home-Based-Work motorized person trip Attractions, Income level 4
HBS_MTR_AS Home-Based-Shop motorized person trip Attractions

HBS_NMT_AS Home-Based-Shop non-motorized person trip Attractions

HBS_ALL_AS Home-Based-Shop motorized and non-motorized person trip Attractions
HBSMTRA_I1 Home-Based-Shop motorized person trip Attractions, Income level 1
HBSMTRA_|2 Home-Based-Shop motorized person trip Attractions, Income level 2
HBSMTRA_I3 Home-Based-Shop motorized person trip Attractions, Income level 3
HBSMTRA_I4 Home-Based-Shop motorized person trip Attractions, Income level 4
HBO_MTR_AS  Home-Based-Other motorized person trip Attractions

HBO_NMT_AS  Home-Based-Other non-motorized person trip Attractions

HBO_ALL_AS Home-Based-Other motorized and non-motorized person trip Attractions

19. Trip Generation

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